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                                   EXHIBIT 9

    2/26/2024 Lloyd’s Response to Plaintiff’s Motion for Approval of Settlement and
    Entry of Consent Judgment (Civil Rights Dkt. 76)
              o A- Policy (Dkt. 76-1)
                  (Exhibits B-C, Civil Rights Dkt. 76-2 – 76-3 omitted as duplicative of
                  other documents in record)
              o D- Koury Declaration (Civil Rights Dkt. 76-4)
                      o 1- 2/16/2023 DiDonato email to Koury cc W. Bridges, J. Abo, R.
                        Williams, C. Simmons, M. Board, E. Frink, L. Shaw
                      o 2- 7/17/2023 DiDonato email to Koury cc Wesley Bridges
                         (Exhibit D-3 of Civil Rights Dkt. 76-4 omitted as duplicative of
                         other documents in record)
              o E- 4/7/2020 news article: Hamilton Township settles wrongful arrest
                lawsuit for almost $1 million (Civil Rights Dkt. 76-5)
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 TYSHON EDWARDS,                                  )
                                                  )
                                     Plaintiff,   )   Case No. 3:20-CV-13552
                                                  )
                       v.                         )
                                                  )
 CITY OF TRENTON, MICHAEL                         )
 TILTON, JOHNATHON CINCILLA,                      )   INTERVENOR, CERTAIN
 NICHOLAS MAHAN, ERIC AVALOS,                     )   UNDERWRITERS OF LLOYD’S
 ANTHONY KUBISH, and JOHN DOES 1-                 )   LONDON’S RESPONSE TO
 8,                                               )   PLAINTIFF’S MOTION FOR
                                                  )   APPROVAL OF SETTLEMENT AND
                                  Defendants.     )   ENTRY OF CONSENT JUDGMENT

       Intervenor, Certain Underwriters of Lloyd’s London (“Underwriters”), by and through

their attorneys, MacMain Leinhauser PC and BatesCarey, LLP, respectfully submit this Brief in

Response to Plaintiff’s Motion for Approval of Settlement Agreement and Entry of Consent

Judgment (Doc. 62).

I.     INTRODUCTION

       Given that this Court will conduct a hearing with respect to both Plaintiff’s Motion for

Approval of Settlement Agreement and Entry of Consent Judgment (the “Motion to Approve”) and

Underwriters’ Motion to Intervene on February 28, 2024, Underwriters have filed its objections in

relation to the proposed Consent Judgement in advance of the Court’s consideration of the issues.

       Underwriters subscribe to a Public Entity Package Policy, Policy No. PK1021618 (the

“Policy”), issued to the City of Trenton, NJ (the “City”) for the period of March 1, 2018 to July 1,

2019 (pursuant to Endorsement No. 10). A true and correct copy of the Policy is attached hereto
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as Exhibit A. 1 The Policy does not impose a duty to defend on Underwriters, only a duty to

indemnify.

        After the City and Plaintiff reached an apparent agreement to resolve this matter for $5

million, Plaintiff’s filed the Motion to Approve, which requested in part that this Court enter

proposed findings that the Consent Judgment was “reasonable” and entered into by the parties in

“good faith” under Griggs v. Bertram, 443 A.2d 163 (N.J. 1982). Plaintiff’s request for a Griggs

finding is an effort to circumvent and overtly leap-frog the significant procedural prerequisites that

a potential future enforcement action against Underwriters would entail with respect to actually

enforcing the Consent Judgment. This is especially troublesome where Underwriters is not a party

to the case before this Court, and Plaintiff has specifically objected to Underwriters’ request to

intervene, yet Plaintiff has filed a 9-page Motion supported by 2 stipulations that discuss in detail

what the parties describe as Underwriters’ allegedly improper conduct during the settlement

discussions to justify a Griggs finding.

II.     ARGUMENT

        A.     The Consent Judgment requested is improper in light of the Policy’s terms

        Any settlement reached by the parties does not actually require that this Court: (1) analyze

Underwriters’ conduct during the settlement negotiations; (2) agree to Plaintiff’s and the City’s

self-serving summarization and characterization of the facts at issue; or (3) resolve the issues of

reasonableness and good faith under Griggs. In other words, the Court is being asked to do much

more than simply enter a Consent Judgment for a specific monetary amount as a matter of record




1
  The Policy’s limit of liability for the Law Enforcement Liability Coverage Section (Section VIII)
is $3,000,000 each OCCURRENCE and $6,000,000 Annual Aggregate of Liability, subject to a
$500,000 SELF INSURED RETENTION, and a $500,000 Corridor Retention pursuant to
Endorsement No. 6 to the Policy. Terms in bold are defined in the Policy.
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and dismiss the case, and instead is being asked to essentially make coverage determination as to

what Underwriters’ duties were here.

               1.      The City breached the Policy’s Consent to Settle Provision

        Initially, while Plaintiff and the City contend that they should be free to settle this Lawsuit

pursuant to Griggs given what they characterize as Underwriters’ denial of coverage, Underwriters

again note that it never denied coverage. Underwriters instead issued coverage position letters on

September 30, 2020 and on January 13, 2023 (attached hereto as Exhibit B and Exhibit C,

respectively), which outlined that: “there is no duty to defend the City or any ASSURED in

connection with the Lawsuit under the Policy. Moreover, any duty of Underwriters to indemnify

the City for the ULTIMATE NET LOSS, if at all, may arise only upon resolution of the

litigation.”

        In light of the allegations, Underwriters did reserve rights to deny coverage for the Lawsuit

pursuant to Exclusion B. of the Law Enforcement Liability Coverage Section, which generally

precludes coverage under the Policy for any “knowing and intentional violation” of §1983. But,

again, Underwriters made clear in its January 13, 2023 that the actual duty to indemnify the City

could not be determined until the resolution of the Lawsuit, and that no obligation to indemnify

any ASSURED existed until the $500,000 SELF INSURED RETENTION and the $500,000

Corridor Retention had been satisfied.        Underwriters additionally asked the City to keep

Underwriters’ apprised of all developments in the Lawsuit, which is entirely inconsistent with

simply denying coverage and walking away, as the City and Plaintiff contend. Underwriters also

specifically reserved rights in its January 13, 2023 letter to an appropriate allocation to the extent

it was later determined that the Lawsuit involved both covered and uncovered matters, or covered

and uncovered parties.



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        Paragraph 7 of the General Policy Conditions, as amended by Endorsement No. 7, makes

clear that:

        Underwriters shall have the right, but not the obligation, to be associated with the
        ASSURED in, an/or assume charge of, the investigation, handling, defense or
        settlement of any claims, SUIT or proceedings relative to an OCCURRENCE or
        CLAIM where in the opinion of the Underwriters, their liability under this Policy
        is likely to be involved or when the SELF INSURED RETENTION has been
        exhausted; in which case the ASSURED and Underwriters shall co-operate to the
        mutual advantage of both. In all other circumstances, Underwriters have the right,
        but not the obligation, to assume charge of the defense of any claim or suit relative
        to an OCCURRENCE or CLAIM at its own expense.

        The ASSURED shall make no commitment to pay or settle any CLAIMS,
        OCCURRENCES or SUITS where Underwriters liability under this Policy is
        involved without the prior written agreement of Underwriters. Underwriters shall
        not withhold agreement without just cause. ****.

        Despite the clear language of Paragraph 7 requiring that the City “make no commitment to

pay or settle *** where Underwriters liability under this Policy is involved without the prior

written agreement of Underwriters,” the City attempted to do exactly that, and entered into a

settlement agreement dated January 26, 2024 without ever seeking Underwriters’ consent to do

so.

        Likewise, Paragraph 11 of the General Policy Conditions further makes clear that:

        DUTIES: Underwriters have no duty to investigate, handle, adjust, settle or defend
        any CLAIM, OCCURRENCE, proceeding or SUIT against the NAMED
        ASSURED, any ASSURED, or against any other person or organization for whom
        the NAMED ASSURED is, or may be found to be, legally liable; or whom asserts
        or claims a right of coverage under the policy. These duties shall be the
        responsibility of the NAMED ASSURED.

        Underwriters’ duty under the policy shall be to indemnify the NAMED ASSURED
        for ULTIMATE NET LOSS in excess of the applicable SELF INSURED
        RETENTION, MAINTENANCE DEDUCTIBLE, or any other applicable
        deductible or deduction; and not more than the Specific Excess Limit of
        Insurance.

        J. Brooks DiDonato, as counsel for “the Officers” named in the Lawsuit, specifically

admits in his February 16, 2024 letter (Doc. 70) to the Court---which again raises several factual

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contentions as to Underwriters’ alleged conduct---that he took the position that Underwriters

would need to “immediately reach out to plaintiff’s counsel if Lloyd’s wished to participate in the

settlement discussions.” As noted above, Paragraph 11 requires that the City handle, adjust, settle

and defend the Lawsuit---not Underwriters---and Mr. DiDonato’s approach to settlement was

entirely unreasonable. The City, and by extension Mr. DiDonato---who appears to have been

handling settlement discussions on the City’s behalf---had the duty to engage in settlement

discussions with the Plaintiff, while Underwriters had the right to associate in those discussions

and approve any settlement proposed by the City and Plaintiff. In fact, Mr. DiDonato goes as far

in his letter as asserting in his letter to this Court that “I was not obligated to inform [Underwriters]

of the status of settlement,” despite the fact that Paragraph 11 makes clear the City (and Mr.

DiDonato in acting as the apparent representative of the City and as counsel for City employees)

had exactly that duty. 2

        Though the City and Plaintiff have only provided select communications between

Underwriters and the City in order to attempt to paint a narrative to support a Griggs finding of

“good faith,” several other emails exchanged between Underwriters and Mr. DiDonato tell a

different story. After Underwriters issued its January 13, 2023 coverage position letter, Mr.

DiDonato sent Underwriters’ coverage counsel an email dated February 16, 2023 wherein Mr.

DiDonato stated that: “I understand that all discussions of settlement are subject to a reservation

of rights. I also understand that there is a 500K SIR and a 500K corridor SIR, meaning there is




2
  Paragraph 21 of the General Policy Conditions, as amended by Endorsement No. 8, also requires
the City to contract with, and utilize the services of, a duly qualified and competent THIRD
PARTY ADMINISTRATOR. Paragraph 21 further evidences that it is not Underwriters’ duty
to handle, adjust, settle and/or defend the Lawsuit, it is the City’s duty to do so working in
conjunction with its qualified and competent THIRD PARTY ADMINISTRATOR.
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essentially a $1,000,000 SIR for this case.” See Exhibit 1 to Declaration of David Koury, attached

hereto as Exhibit D. It wasn’t until July 17, 2023, on the eve of the settlement conference, that

Mr. DiDonato first asserted (incorrectly) that the Corridor Retention did not apply, and that

Underwriters had “denied coverage” in “bad faith” (it had not). See Exhibit 2 to Declaration of

David Koury.

       Moreover, Mr. DiDonato also admits in his February 16, 2024 letter to the Court that

“Lloyd’s was not advised of the settlement number prior to the Motion to Settle, but it was advised

that a settlement was being discussed, including one that included an assignment of the defendants’

rights under the policy to the plaintiff.” (Emphasis in original.) Underwriters was never asked to

consent to this proposed settlement, and Mr. DiDonato’s “effort” outlined above fails to satisfy

Paragraph 7. See Declaration of David Koury. The City had a duty to disclose the proposed

settlement to Underwriters and ask for its consent before it was agreed to. See Benecard Services,

Inc. v. Allied World Specialty Ins. Co., 2021 WL 4077047 (3rd Cir. Sep. 8, 2021) (finding insured

breached consent to settle provision where no notice of settlement was given to insurer).

Underwriters were in turn required under that same paragraph to not withhold agreement to any

settlement proposed “without just cause” once a settlement was proposed. The City, by Mr.

DiDonato’s own admission, simply chose not to do so. That conclusion does not align with the




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Policy language at issue or New Jersey law, especially where a duty to defend policy is not at

issue. 3

                  2.     Plaintiff and the City are attempting to end-run the Policy’s Anti-
                         Assignment and Arbitration Provisions

           Plaintiff’s efforts to secure a “good faith” finding under Griggs is an attempt to “pre-

litigate” certain coverage issues by asking this Court to make stipulated factual findings on various

topics which will prove integral to the Plaintiff’s hopes of a prevailing in any future enforcement

action. The request are squarely aimed at being used against Underwriters in a potential future

coverage action, and appear to be little more than an inappropriate attempt to avoid the Policy’s

Anti-Assignment and Arbitration Provisions.

           The Assignment Provision, which is found in Paragraph 3 of the General Policy

Conditions, provides that “[a]ssignment of interest under this Policy does not bind Underwriters’

[sic] unless Underwriters consent is endorsed herein.”          While Plaintiff and the City will



3
 Mr. DiDonato also states in his February 16, 2024 letter to this Court that: “Despite my repeatedly
imploring both Mr. Koury and Mr. Board to contribute towards the settlement of the case, neither
ever offered a single cent towards settlement, by way of direct payment or reimbursement.” Mr.
DiDonato’s exhibits attached to his own certification (Doc. 70-1) establish this statement is false.

        Exhibit B is an email from David Koury to Mr. DiDonato wherein Mr. Koury references
and discusses a “framework by which they would be willing to contribute towards a settlement”
of the matter up to $1 million, evidencing that Underwriters did attempt to work with Mr. DiDonato
and the City to resolve this matter. Exhibit C to the certification is the January 13, 2023 settlement
communication letter referenced in Exhibit B, which makes clear that in relation to a proposed
settlement of $1 million, Underwriters outlined its proposed resolution of any dispute over
coverage. Exhibit B also makes clear that Plaintiff had demanded $1.2 million, this Court had
opined that the settlement value of this case was approximately $1.5 million, and Mr. DiDonato
had indicated he believed it would take between $900,000 and $1,000,000 to settle the Lawsuit.
As this Court is aware, Mr. Koury also attended the July 18, 2023, settlement conference in the
Lawsuit on behalf of Underwriters, and participated in those discussions in good faith in an attempt
to resolve the Lawsuit. See Declaration of David Koury. Exhibit B further highlights the collusive
nature of the settlement agreement where a Consent Judgment is now being proposed for $5
million, despite also including factual stipulations that even further undercut the City’s liability to
Plaintiff from the case Plaintiff had presented in its Complaint.
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undoubtably suggest Underwriters cannot enforce the Anti-Assignment provision where it has

denied coverage, as explained above Underwriters never denied coverage, and instead simply

reserved rights. The City nevertheless failed to seek Underwriters’ consent to settle the Lawsuit

before it entered into the collusive and unreasonable settlement agreement at issue here, and

likewise violated the Policy’s Anti-Assignment Provision by assigning all of its rights under the

Policy to Plaintiff without Underwriters’ consent.

       Similarly, the Motion to Approve is a clear effort by the City and Plaintiff to avoid the

impact of the Policy’s Arbitration Provision, which is found in Paragraph 2 of the General Policy

Conditions. Plaintiff attempts to use this Court’s approval of a Consent Judgment to determine

the issue of “good faith” is especially troublesome given the actual analysis of when a good faith

finding is appropriate in the Griggs decision itself. There, the New Jersey Supreme Court

specifically recognized that:

       We therefore hold that a settlement may be enforced against an insurer in this
       situation only if it is reasonable in amount and entered into in good faith. The initial
       burden of going forward with proofs of these elements rests upon the insured and
       the ultimate burden of persuasion as to these elements is the responsibility of the
       insurer. This rule reasonably accommodates and compromises the competing
       interests of the parties and considerations of public policy. It will discourage
       collusive or overreaching impositions upon insurance carriers and, at the same time,
       will be conducive toward encouraging settlement and protecting an insured in its
       efforts amicably to resolve a claim against it after having been abandoned by its
       carrier. Id. at 367-68.

       Again, Underwriters are not asking this Court to actually resolve any of the complex

coverage issues that are present here. But, Underwriters do assert that Plaintiff asking this Court

to enter a finding that the Consent Judgment is “reasonable” and entered into by the City and

Plaintiff in “good faith” under Griggs (based almost entirely on the incorrect factual assertions

Plaintiff raises in the Motion to Approve as to Underwriters’ actions during the settlement

discussions) is itself a blatant attempt by Plaintiff and the City to have this Court resolve portions

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of the coverage dispute. Such an attempt is especially troublesome where Plaintiff objected to any

attempt by Underwriters to even intervene in this matter, arguing Underwriters’ interest is “too

contingent and remote to support intervention” (Doc. 71, pg. 3), despite almost the entire Motion

to Approve being framed as an indictment of Underwriters’ handling of the Lawsuit. Griggs

recognizes the need to “discourage collusive or overreaching impositions upon insurance carriers,”

and Plaintiff’s and the City’s attempt to have this Court enter a good faith finding based upon the

sort of questionable factual assertions contained in the Motion to Approve is entirely improper.

               3.      The factual stipulations in the Consent Judgment are legally
                       incongruent with a §1983 Monell liability claim

       The collusive nature of the Consent Judgment is apparent from the very way it is structured.

Exclusion B Law in the Enforcement Liability Coverage Section provides in relevant part that

there is no coverage for:

       (a)     Any knowing and intentional violation of any subsection of Title 42 of the
               U.S. Code, including but not limited to 42 U.S.C § 1981 thru 42 U.S.C.
               §1989 and 42 U.S.C. §1997; or
       (b)     Any knowing and intentional deprivation of any rights protected under the
               United States Constitution or the Constitution of any State, Territory, or
               Protectorate of the United States; or
       (c)     Any act which is not reasonably related to the execution and/or enforcement
               of the law; or
       (d)     Any act committed with the knowledge and intent to cause BODILY
               INJURY, PROPERTY DAMAGE, or PERSONAL INJURY, or which
               could reasonably be expected to cause BODILY INJURY, PROPERTY
               DAMAGE, or PERSONAL INJURY unless the act of the ASSURED was
               reasonably necessary to lawfully prevent injury to persons or damage to
               property.

       In what is more than just a coincidence, Plaintiff and the City make specific factual

stipulations in the Consent Judgment that:

       Plaintiff and Defendant City of Trenton stipulate that $0.00 of this judgment is
       attributable to punitive damages, statutory penalties, or fines, and that Defendant
       City of Trenton and its agents did not knowingly or intentionally violate or deprive
       Plaintiff of any rights protected by any federal, state, or local laws, or commit any
       acts not reasonably related to the execution and/or enforcement of the law, or


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       commit any acts with knowledge and intent to cause injury or damage or which
       could reasonably be expected to cause injury or damage. (Doc. 62-1, Ex. A).

       The above “stipulations” are clearly designed to address any argument that Exclusion B

precludes coverage. Such findings amount to a collusive attempt to justify an award of $5 million

based off of the City’s alleged Monell liability while entering factual stipulations that undercut any

actual Monell liability.

       The U.S. Supreme Court, the 3rd Circuit, and New Jersey federal courts have all clearly

recognized that in order to prevail on a Monell claim, a plaintiff must show that the municipality,

through one of its policymakers, affirmatively proclaimed the policy, or acquiesced in the

widespread custom, that caused the violation. See, e.g., Watson v. Abington Twp., 478 F.3d 144,

155–156 (3d Cir.2007). Once a § 1983 plaintiff identifies a municipal policy or custom, a plaintiff

must “demonstrate that, through its deliberate conduct, the municipality was the ‘moving force’

behind the injury alleged.” Board of County Comm'rs of Bryan County v. Brown, 520 U.S. 397,

404, 117 S.Ct. 1382, 137 L.Ed.2d 626 (1997). If the policy or custom does not facially violate

federal law, causation can be established only by “demonstrat[ing] that the municipal action was

taken with ‘deliberate indifference’ as to its known or obvious consequences. A showing of simple

or even heightened negligence will not suffice.” Id. at 407; Berg v. Cnty. of Allegheny, 219 F.3d

261, 276 (3d Cir.2000). For a § 1983 claim of failure to train or supervise municipal employees,

as Plaintiff alleged here, the plaintiff must show that the failure to provide training or supervision

amounted to “ ‘deliberate indifference’ to the rights of persons with whom the employee will come

into contact.” Thomas v. Cumberland Cnty., 749 F.3d 217, 222 (3d Cir.2014). Deliberate

indifference may be demonstrated by showing a pattern of violations which puts the municipal

employee on notice that a new program is necessary; or a single incident violation where the need

for training was patently obvious. Id. at 223. “Deliberate indifference” at a minimum encompasses

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“knowledge of a risk, recognition of the harm posed by the risk, and a conscious decision to take

no action or manifestly inadequate action to avoid the risk.” Simmons v. City of Philadelphia, 947

F.2d 1042, 1089 (3d Cir.1991). See also S.H. v. Lower Merion Sch. Dist., 729 F.3d 248, 266 n.26

(3d Cir. 2013) (recognizing in the Title IX context that “[d]eliberate indifference requires actual

knowledge; allegations that one would have or ‘should have known’ will not satisfy the knowledge

prong of deliberate indifference.”)

         Plaintiff and the City seek to settle Plaintiff’s Monell claim, yet do so in a way that

contradicts the sort of “deliberate indifference” that must be shown to actually prevail on a Monell

claim. Underwriters question why the City would consent to a $5 million judgment where Plaintiff

is apparently willing to stipulate that the City’s and the individual Officers’ actions were not

knowing or intentional. Again, the above stipulations are nothing more than an attempt to preclude

Underwriters from evaluating whether any Monell liability would actually be covered under the

Policy in light of Exclusion B, and in turn illustrate the settlement is collusive.

         B.      The amount of the Consent Judgment at issue compared to the facts known
                 through discovery to date also suggests the settlement reached between the
                 City and Plaintiff is collusive

         Plaintiff and the City have purported to provide a basis for asserting that the settlement in

this matter is reasonable. The main case they point to is a settlement in a matter involving

Hamilton Township Police Department. The case cited has a factual recitation that does not square

with this matter. Michael Lionelli was arrested by the Hamilton Police Department and accused

of robbing a local CVS. The summary of the case from CommunityNews.org (an online news

organization for New Jersey news) is as follows 4:



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    A copy of the News Article is attached hereto as Exhibit E.



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       •   Lionelli was arrested by the Hamilton Police and charged with robbing a CVS;
       •   The eye witness could not identify Lionelli as the perpetrator. The police
           received and did not share evidence that exonerated Lionelli;
       •   Charges were unresolved for more than 25 months after spending 11 days in
           jail. His college career was delayed by 2 years while the charges were pending;
           and
       •   The Hamilton Police publicized the arrest of Lionelli, and damaged his
           reputation.

       The City’s and Plaintiff’s allegation that this case is an exemplar of the case before this

Court is absurd. The City and Plaintiff apparently ignore the fact that the Hamilton Police

Department withheld evidence, arrested an individual that was actually innocent of the crime, and

continue to drag out a prosecution for over two (2) years, depriving an innocent young man of his

opportunity to go to college in a timely manner or complete his senior year of high school.

       As indicated above, this case is not on all fours with the factual foundation of the present

matter and the comparison presented is inapposite. Assuming the factual foundation of Plaintiff’s

case is true, and the City of Trenton police officers fabricated their police reports, Plaintiff in this

case was in possession of 1,000 bags of heroin partitioned for distribution. While the Officers’

conduct may have been found in an adjudication to be improper in causing the stop, effectuating

the arrest, and inaccurately reporting on the matter, there can be no claim of reputational harm to

an individual caught in possession of the very drugs he was intending to distribute. The claim that

these cases are similar, or that the value of the Hamilton litigation somehow informs the value of

this litigation does not comport with the facts. While both Plaintiff here and in Hamilton allege

that the police fabricated evidence or engage in misconduct, the similarities end there. The

measure of the loss of reputation by any individual has to be compared to their status at the outset

of the interaction with the defendants.

       It is believed that Plaintiff will point to other flawed comparator cases of actually innocent

individuals detained by the police or wrongfully charged with criminal conduct. These cases, of

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course, do not actually compare to the settlement here and, to the extent the City relied upon these

representations as a means of resolving the case, the $5 million settlement cannot be determined

to be fair or reasonable, especially where Mr. DiDonato analyzed the City’s exposure as under the

$1 million mark up to the point where Plaintiff presented the theory that he could collect up to $18

million in damages under a tortured analysis of what an applicable “per diem rate” would be based

on Plaintiff’s 212 days in jail given the Hamilton Township settlement for $950,000 based on 11

days in jail. Despite Plaintiff’s contention in the Motion to Approve, the Hamilton Township

settlement is far from an “apples-to-apples comparison for value,” and as explained above no

deeper analysis of why this Lawsuit would result in an $18 million potential verdict is provided

outside of the fact that both this Lawsuit and the Hamilton Township matter involve an alleged

“pre-conviction, wrongful detentions without any major physical injuries.”

III.   CONCLUSION

       Underwriters are not seeking to litigate the issue of whether coverage exists under the

Policy. Instead, Underwriters respectfully requests that this Court not analyze or issue findings

relative to whether the proposed Consent Judgment was reasonable and entered into good faith

under Griggs, and not enter the Consent Judgment, as the requested findings in the Consent

Judgment are merely a precursor to Plaintiff later using this Court’s rulings in potential future

coverage litigation between Plaintiff (as an assignee of the City, which again stands in direct

contradiction of the Policy’s Anti-Assignment Provision where Underwriters never consented to

an assignment) and Underwriters.




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                                          Respectfully submitted,

                                          MacMAIN LEINHAUSER PC

Dated: February 26, 2024           By:    /s/ Brian H. Leinhauser
                                          Brian H. Leinhauser
                                          Brian C. Conley
                                          Attorney I.D. Nos. 59320 / 311372
                                          433 W. Market Street, Suite 200
                                          West Chester, PA 19382

                                          Adrian T. Rohrer (admitted Pro Hac Vice)
                                          BatesCarey LLP
                                          191 N Wacker Suite 2400
                                          Chicago, IL 60606




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           EXHIBIT A
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                             Lloyd’s Certificate
                          This Insurance is effected with certain Underwriters at Lloyd’s,
                          London.



                          This Certificate is issued in accordance with the limited
                          authorization granted to the Correspondent by certain Underwriters at
                          Lloyd's, London whose syndicate numbers and the proportions
                          underwritten by them can be ascertained from the office of the
                          Correspondent (such Underwriters being hereinafter called "Underwriters")
                          and in consideration of the premium specified herein, Underwriters hereby
                          bind themselves severally and not jointly, each for his own part and not one
                          for another, their Executors and Administrators.



                          The Assured is requested to read this Certificate, and if it is not
                          correct, return it immediately to the Correspondent for appropriate
                          alteration.


                          All inquiries regarding this Certificate should be addressed to the following
                          Correspondent:

                                                  Brit Global Specialty USA
                                              161 North Clark Street, Suite 3200
                                                       Chicago, IL 60601
                                                             USA




                          SLC-3 (USA) NMA2868 (4/22/13)




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       Certificate Provisions


       1.   Signature Required. This Certificate shall not be valid unless signed by the Correspondent
            on the attached Declarations.

       2.   Correspondent Not Insurer. The Correspondent is not an Insurer hereunder and neither
            is nor shall be liable for any loss or claim whatsoever. The Insurers hereunder are those
            Underwriters at Lloyd's, London whose syndicate numbers can be ascertained as set forth
            in this Certificate. As used in this Certificate "Underwriters" shall be deemed to include
            incorporated as well as unincorporated persons or entities that are Underwriters at Lloyd's,
            London.

       3.   Cancellation. If this Certificate provides for cancellation and this Certificate is cancelled
            after the inception date, earned premium must be paid for the time the insurance has been
            in force.

       4.   Service of Suit. It is agreed that in the event of the failure of Underwriters to pay any
            amount claimed to be due hereunder, Underwriters, at the request of the Assured, will
            submit to the jurisdiction of a Court of competent jurisdiction within the United States.
            Nothing in this Clause constitutes or should be understood to constitute a waiver of
            Underwriters rights to commence an action in any Court of competent jurisdiction in the
            United States, to remove an action to a United States District Court, or to seek a transfer of
            a case to another Court as permitted by the laws of the United States or of any State in the
            United States. It is further agreed that service of process in such suit may be made upon
            the firm or person named in item 1 of the attached Declarations, and that in any suit
            instituted against any one of them upon this Certificate, Underwriters will abide by the final
            decision of such Court or of any Appellate Court in the event of an appeal.

            The Correspondent is authorized and directed to accept service of process on behalf of
            Underwriters in any such suit and/or upon request of the Assured to give a written
            undertaking to the Assured that they will enter a general appearance on behalf of
            Underwriters in the event such a suit shall be instituted.

            Further, pursuant to any statute of any state, territory or district of the United States which
            makes provision therefor, Underwriters hereby designate the Superintendent,
            Commissioner or Director of Insurance or other officer specified for that purpose in the
            statute, or his successor or successors in office, as their true and lawful attorney upon
            whom may be served any lawful process in any action, suit or proceeding instituted by or
            on behalf of the Assured or any beneficiary hereunder arising out of this Certificate, and
            hereby designate the above-mentioned as the person to whom the said officer is authorized
            to mail such process or a true copy thereof.
            LMA5020
            14/09/2005

       5.   Assignment. This Certificate shall not be assigned either in whole or in part without the
            written consent of the Correspondent endorsed hereon.

       6.   Attached Conditions Incorporated. This Certificate is made and accepted subject to all
            the provisions, conditions and warranties set forth herein, attached or endorsed, all of
            which are to be considered as incorporated herein.

       7.   Short Rate Cancellation. If the attached provisions provide for cancellation, the table
            below will be used to calculate the short rate proportion of the premium when applicable
            under the terms of cancellation.

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       Short Rate Cancellation Table For Term of One Year.


                                                                                                                                                                             Per Cent of
            Days Insurance           Per Cent of one      Days Insurance          Per Cent of one     Days Insurance           Per Cent of one     Days Insurance
                                                                                                                                                                             one year
            in Force                 year Premium         in Force                year Premium        in Force                 year Premium        in Force
                                                                                                                                                                             Premium

                     1 ............................. 5%    66 - 69 ............................ 29%   154 - 156 ............................ 53%   256 - 260 ............................. 77%
                     2 ............................. 6     70 - 73 ............................ 30    157 - 160 ............................ 54    261 - 264 ............................. 78
              3-     4 ............................. 7     74 - 76 ............................ 31    161 - 164 ............................ 55    265 - 269 ............................. 79
              5-     6 ............................. 8     77 - 80 ............................ 32    165 - 167 ............................ 56    270 - 273 ( 9 mos ) ............ 80
              7-     8 ............................. 9     81 - 83 ............................ 33    168 - 171 ............................ 57    274 - 278 ............................. 81
              9-    10 ............................. 10    84 - 87 ............................ 34    172 - 175 ............................ 58    279 - 282 ............................. 82
             11 -   12 ............................. 11    88 - 91 ( 3 mos ) ............ 35          176 - 178 ............................ 59    283 - 287 ............................. 83
             13 -   14 ............................. 12    92 - 94 ............................ 36    179 - 182 ( 6 mos ) ............ 60          288 - 291 ............................. 84
             15 -   16 ............................. 13    95 - 98 ............................ 37    183 - 187 ............................ 61    292 - 296 ............................. 85
             17 -   18 ............................. 14    99 - 102 ............................ 38   188 - 191 ............................ 62    297 - 301 ............................. 86
             19 -   20 ............................. 15   103 - 105 ............................ 39   192 - 196 ............................ 63    302 - 305 ( 10 mos ) ........... 87
             21 -   22 ............................. 16   106 - 109 ............................ 40   197 - 200 ............................ 64    306 - 310 ............................. 88
             23 -   25 ............................. 17   110 - 113 ............................ 41   201 - 205 ............................ 65    311 - 314 ............................. 89
             26 -   29 ............................. 18   114 - 116 ............................ 42   206 - 209 ............................ 66    315 - 319 ............................. 90
             30 -   32 ( 1 mos ) ............ 19          117 - 120 ............................ 43   210 - 214 ( 7 mos ) ............ 67          320 - 323 ............................. 91
             33 -   36 ............................. 20   121 - 124 ( 4 mos ) ............ 44         215 - 218 ............................ 68    324 - 328 ............................. 92
             37 -   40 ............................. 21   125 - 127 ............................ 45   219 - 223 ............................ 69    329 - 332 ............................. 93
             41 -   43 ............................. 22   128 - 131 ............................ 46   224 - 228 ............................ 70    333 - 337 ( 11 mos ) ........... 94
             44 -   47 ............................. 23   132 - 135 ............................ 47   229 - 232 ............................ 71    338 - 342 ............................. 95
             48 -   51 ............................. 24   136 - 138 ............................ 48   233 - 237 ............................ 72    343 - 346 ............................. 96
             52 -   54 ............................. 25   139 - 142 ............................ 49   238 - 241 ............................ 73    347 - 351 ............................. 97
             55 -   58 ............................. 26   143 - 146 ............................ 50   242 - 246 ( 8 mos ) ............ 74          352 - 355 ............................. 98
             59 -   62 ( 2 mos ) ............ 27          147 - 149 ............................ 51   247 - 250 ............................ 75    356 - 360 ............................. 99
             63 -   65 ............................. 28   150 - 153 ( 5 mos ) ............ 52         251 - 255 ............................ 76    361 - 365 ( 12 mos ) ........... 100


       Rules applicable to insurance with terms less than or more than one year:

       A.     If insurance has been in force for one year or less, apply the short rate table for annual
              insurance to the full annual premium determined as for insurance written for a term of one
              year.

       B.     If insurance has been in force for more than one year:

              1. Determine full annual premium as for insurance written for a term of one year.

              2. Deduct such premium from the full insurance premium, and on the remainder calculate
                 the pro rata earned premium on the basis of the ratio of the length of time beyond one
                 year the insurance has been in force to the length of time beyond one year for which
                 the Policy was originally written.

              3. Add premium produced in accordance with items (1) and (2) to obtain earned premium
                 during full period insurance has been in force.




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                                                   Declarations

     This Policy (and any documents referred to in it) contains the whole agreement between
     Underwriters and the NAMED ASSURED relating to the insurance provided by this Policy; and
     supersedes all previous understandings and agreements between Underwriters and the NAMED
     ASSURED relating to the terms and conditions of this Policy.

     Please note that words or terms that appear in bold and capitalized are defined within the Policy.

     Previous Policy No:       PK1021617

     Authority Ref. No:        B0356JA281N18

     Policy No:                PK1021618

     1.   NAMED ASSURED:

          City of Trenton NJ

     2.   NAMED ASSURED Address:

          319 East State
          Trenton, NJ 08608

     3.   Effective date: March 1, 2018
          Expiration date: March 1, 2019
                           both days at 12:01 a.m. local standard time.

     4.   Insurance is effective with certain Underwriters at Lloyd’s, London (Brit Syndicate 2987).

          Percentage: 100.00%

     5.   Coverage:

          GENERAL LIABILITY, AUTOMOBILE LIABILITY, PUBLIC OFFICIALS MISCELLANEOUS
          LIABILITY, EXCESS WORKERS’ COMPENSATION AND EMPLOYERS LIABILITY, EMPLOYEE
          BENEFITS LIABILITY, LAW ENFORCEMENT LIABILITY, and as more fully defined in the
          attached wording which is understood to be incorporated in and form part of this Certificate.

     6.   Forms attached hereto and special conditions:

          The Public Entity Package Wording and agreed Endorsements as per Schedule of Endorsements
          attached.

          Wherever the attached wordings refer to this ‘Policy’ it is deemed to mean this ‘Certificate’.

          Territorial Limits: Worldwide as more fully defined in the attached wording.

          Choice of Law: New Jersey

          Jurisdiction: United States of America




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            Limits of Liability: Underwriters’ Limits of Liability shall not exceed the limits as indicated for each
            coverage section on the attached wording or Declarations and apply only to those coverages for
            which a limit is shown. Underwriters Limits of Liability are excess over a SELF INSURED
            RETENTION and a LOSS FUND (if applicable) as specified in the attached wording.


      7.    Service of Suit may be made upon:

            Walker Wilcox Matousek LLP, One North Franklin Street, Suite 3200, Chicago, IL 60606.

      8.    In the event of a reportable claim as per General Policy Condition 7, the THIRD PARTY
            CLAIMS ADMINISTRATOR must notify the following:

            By email (Preferred method):
             USA.Claims@britinsurance.com

            By mail:
             Brit Global Specialty USA, 161 North Clark Street, Suite 3200
             Chicago, IL 60601 USA

            By telephone:
             +1 (312) 577-9450

      9.    Currency Clause:

            All premiums, limits, deductibles, claims and other amounts under this Policy are expressed and
            payable in United States Dollars.

            The dollar symbol ($) used within this Policy represents United States Dollars.

      10.   Policy Premium:

            Gross Premium      $615,949

      11.   Minimum Earned Premium:

            $307,974.50

            The minimum earned premium is 50% of the annual Policy Premium. If the Policy is cancelled at
            the NAMED ASSURED’S request, or by Underwriters for non-payment of premium, the minimum
            earned premium will be the greater of either the Minimum Earned Premium above or the premium
            as calculated by the Short Rate Cancellation Table in this Policy.




                                                        ____________________
      Authorized Correspondent signatory:               Brit Global Specialty USA.



      Dated:   10-MAY-2018




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                                                Several Liability Notice


      The subscribing insurers' obligations under contracts of insurance to which they subscribe are several
      and not joint and are limited solely to the extent of their individual subscriptions. The subscribing insurers
      are not responsible for the subscription of any co-subscribing insurer who for any reason does not satisfy
      all or part of its obligations.


      08/94
      LSW1001 (Insurance)




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   Complaints Procedure

   We strive to provide an excellent service to all Our customers but occasionally things can go
   wrong. We take all concerns seriously and endeavour to resolve all customers’ problems
   promptly. If You have a question or concern about Your policy You should, in the first instance
   follow the guidance notes or instructions in the insurance documentation You have been sent.
   Your broker will also be able to advise You and provide assistance in this regard.


   Alternatively, if You wish to contact Us directly You should either write or telephone:


           The Complaints Department
           Brit Syndicates Limited
           122 Leadenhall Street
           London
           EC3V 4AB
           Telephone: 020 3857 0000
           Email: BGS.Complaints@britinsurance.com


   In the unlikely event that You remain dissatisfied and wish to make a complaint You can do so at
   any time by referring the matter to Us at the above stated address or the Complaints Team at
   Lloyd’s at the following address:


           Complaints Team
           Lloyd’s
           Fidentia House
           Walter Burke Way
           Chatham Maritime
           Chatham, Kent ME4 4RN
           Telephone: 020 7327 5693
           Facsimile: 020 7327 5225
           E-mail: complaints@lloyds.com


   Details of Lloyd’s complaints procedure are set out in a leaflet “Your Complaint - How We Can
   Help” available at www.lloyd’s.com/complaints and are also available from the above address.


   Should You remain dissatisfied after Lloyd’s has considered your complaint and You are NOT a
   policyholder in the UK, You should, in the first instance, seek advice from Your broker as to whom
   You should direct your complaint.




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                                      SCHEDULE OF ENDORSEMENTS


   The following Endorsements attach to and form part of the terms and conditions of this Policy:


   Endorsement No.                    Title
            1           Loss Fund Exclusion
            2           Failure to Supply Exclusion (Except Water & Sewer)
            3           TRIA Rejected
            4           Non Waiver of Governmental Immunity
            5           Nursing Home Exclusion
            6           Coverage Section II, III, IV, V, VI and VIII – Corridor Deductible
            7           General Policy Conditions Notification of Claims, Occurrences or Suits
            8           Procedures for Third Party Claims Administrators




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                                  Schedule of SELF INSURED RETENTIONS

This Policy has the following underlying SELF INSURED RETENTIONS, which apply to a covered loss for each
OCCURRENCE or CLAIM.

MAINTENANCE DEDUCTIBLES are payable by the ASSURED and only apply when an amount is filled in.
MAINTENANCE DEDUCTIBLES do not apply to the erosion of the LOSS FUND.


       Coverage Section                             SELF INSURED RETENTION      MAINTENANCE DEDUCTIBLE

I      Property unless listed below:                        I COVERED
                                                          NOT                         NOT APPLICABLE
       AUTOMOBILE Physical Damage:                        NOT COVERED                 NOT APPLICABLE
       FLOOD AND SURFACE WATER:                           NOT COVERED                 NOT APPLICABLE
       EARTHQUAKE:                                        NOT COVERED                 NOT APPLICABLE
       NAMED WINDSTORM:                                   NOT COVERED                 NOT APPLICABLE


II     General Liability:                                 $500,000
       SEXUAL HARASSMENT Liability:                       $500,000
       SEXUAL ABUSE Liability:                            $500,000


III    AUTOMOBILE Liability:                              $500,000


IV     Public Officials Miscellaneous Liability:          $500,000
       unless listed below:
       Errors & Omissions:                                $500,000
       Employment Practice Liability:                     $500,000
       SEXUAL HARASSMENT Liability:                       $500,000
       SEXUAL ABUSE Liability:                            $500,000


V      Excess Workers’ Compensation and Employers’
       Liability for a qualified self-insurer:
       Coverage A Excess Workers’ Compensation:    $750,000
       Coverage B Excess Employers’ Liability:     $750,000


VI     Employee Benefits Liability:                       $500,000


VII    Crime:
       MONEY and SECURITIES:                              NOT COVERED                 NOT APPLICABLE
       Forgery or Alteration:                             NOT COVERED                 NOT APPLICABLE
       EMPLOYEE Dishonesty:                               NOT COVERED                 NOT APPLICABLE


VIII   Law Enforcement Liability:                         $500,000
       SEXUAL HARASSMENT Liability:                       $500,000
       SEXUAL ABUSE Liability:                            $500,000




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 IX Terrorism:                                           NOT COVERED
    Property Terrorism:                                  NOT COVERED
    Liability Terrorism:                                 NOT COVERED
    Employers Liability Terrorism:                       NOT COVERED


      LOSS FUND:                                        «NOT COVERED


                                          Specific Excess Insurance

1.     This Policy contains various SELF INSURED RETENTIONS as listed in the Schedule of SELF INSURED
       RETENTIONS of this Policy. The ASSURED is responsible for payment of each applicable SELF INSURED
       RETENTION except as otherwise stated in Clash Coverage and Excess LOSS FUND Protection.

2.     This Policy contains various Specific Excess Limits of Insurance above the SELF INSURED
       RETENTIONS as listed in the Schedule of Specific Excess Limits of Insurance.

3.     This Policy contains various Annual Aggregate Excess Limits of Insurance as listed in the Schedule of
       Specific Excess Limits of Insurance. Underwriters’ duty to indemnify under this Policy ends when the
       applicable Annual Aggregate Excess Limit of Insurance has been exhausted by payments to the
       ASSURED.

4.    This Policy provides coverage in accordance with all of the terms of each Coverage Section attached to and
      forming part of this Policy. For Coverage Section IV Public Officials Miscellaneous Liability, and
      Coverage Section VI Employee Benefits Liability, coverage is provided on a Claims Made basis. Claims
      Made coverage applies only to claims made against the ASSURED during the PERIOD OF INSURANCE or
      Extended Reporting Periods, if applicable.

5.    It is understood and agreed that if more than one Insuring Agreement under any Coverage Section
      hereunder is involved in one CLAIM or OCCURRENCE, then the highest SELF INSURED RETENTION and
      Specific Excess Limit of Insurance for each CLAIM or OCCURRENCE, in respect to that Coverage
      Section, shall apply.

                               Schedule of Specific Excess Limits of Insurance

Coverage Section I Property:
Specific Excess Limit of Insurance for each OCCURRENCE:
     All coverages under Section I combined:                      NOT COVERED
     Subject to the following SUBLIMITS/Annual aggregates:
     AUTOMOBILE Physical Damage Only:                             NOT COVERED
     FLOOD AND SURFACE WATER:                                     NOT COVERED                     N/A Annual Aggregate
     EARTHQUAKE:                                                  NOT COVERED                     N/A Annual Aggregate
     NAMED WINDSTORM:                                             NOT COVERED
     DATA PROCESSING EXTRA EXPENSE:                               NOT COVERED
     DATA PROCESSING SYSTEMS EQUIPMENT:                           NOT COVERED
     DATA PROCESSING MEDIA:                                       NOT COVERED
     VALUABLE PAPERS:                                             NOT COVERED
     FINE ARTS:                                                   NOT COVERED
     ACCOUNTS RECEIVABLE:                                         NOT COVERED
     EXTRA EXPENSE:                                               NOT COVERED
     MOBILE EQUIPMENT:                                            NOT COVERED
     Transit:                                                     NOT COVERED
     BUSINESS INCOME including RENTAL VALUE:                      NOT COVERED
     BUSINESS INCOME other than RENTAL VALUE:                     NOT COVERED
     RENTAL VALUE:                                                NOT COVERED
     Tuition And Fees:                                            NOT COVERED

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     Newly Acquired Property Reporting Limit as provided in
     Coverage Section I Conditions, Automatic Acquisition
     Clause:                                                          NOT APPLICABLE

Coverage Section II General Liability:
     Specific Excess Limit of Insurance for each OCCURRENCE:
     All coverages under Coverage Section II combined: $3,000,000                $6,000,000 Annual Aggregate

Subject to the following SUBLIMITS/Annual Aggregates which are part of, and not in addition to, the Coverage
Section II General Liability Specific Excess Limit of Insurance and Annual Aggregate Limit above:

      SEXUAL HARASSMENT Liability:                                 $3,000,000    $6,000,000 Annual Aggregate
      SEXUAL ABUSE Liability:                                      $3,000,000    $3,000,000 Annual Aggregate
      Damage to the Premises Rented to the ASSURED                 NOT COVERED
      Premises Medical Payments:                                   NOT COVERED


Coverage Section III AUTOMOBILE Liability:
     Specific Excess Limit of Insurance for each OCCURRENCE:
     All Coverages under Coverage Section III combined: $3,000,000               N/A Annual Aggregate

Subject to the following SUBLIMITS/Annual Aggregates which are part of, and not in addition to, the Coverage
Section III AUTOMOBILE Liability Specific Excess Limit of Insurance and Annual Aggregate Limit above:

     AUTOMOBILE MEDICAL PAYMENTS:                                   NOT COVERED Ground Up Any One Person
                                                                          $15,000 Ground Up Any One OCCURRENCE
     Uninsured Motorists/Underinsured Motorists:                          $30,000 Ground Up Any One OCCURRENCE
     No Fault Insurance:                                                  $35,000 Ground Up Any One OCCURRENCE
     Garagekeeper’s Legal Liability:                                NOT COVERED


Coverage Section IV Public Officials Miscellaneous Liability:
     Specific Excess Limit of Insurance for each CLAIM:
     All Coverages under Coverage Section IV combined:     $3,000,000            $6,000,000 Annual Aggregate

Subject to the following SUBLIMITS/Annual Aggregates which are part of, and not in addition to, the Coverage
Section IV Public Officials Miscellaneous Liability – Specific Excess Limit of Insurance and Annual
Aggregate Limit above:

      Errors & Omissions:                                          $3,000,000    $6,000,000 Annual Aggregate
      Retroactive Date: January 01, 2014

      Employment Practice Liability:                               $3,000,000    $6,000,000 Annual Aggregate
      Retroactive Date: January 01, 2014

      SEXUAL HARASSMENT Liability:                                 $3,000,000    $6,000,000 Annual Aggregate
      Retroactive Date: January 01, 2014

      SEXUAL ABUSE Liability:                                      $3,000,000    $3,000,000 Annual Aggregate
      Retroactive Date: January 01, 2014


Coverage Section V Excess Workers’ Compensation and Employers’ Liability for a Qualified Self-Insurer:
     Specific Excess Limit of Insurance for each OCCURRENCE:

     Coverage A Excess Workers’ Compensation:                      $250,000
     Coverage B Excess Employers’ Liability:                       $250,000

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Coverage Section VI Employee Benefits Liability:
     Specific Excess Limit of Insurance for each CLAIM:

       All Coverages under Coverage Section VI Combined:          $3,000,000     $6,000,000 Annual Aggregate
       Retroactive Date: January 01, 2014


Coverage Section VII Crime:
     Specific Excess Limit of Insurance for each OCCURRENCE:

       MONEY & SECURITIES:                                        NOT COVERED
       Forgery or Alteration:                                     NOT COVERED
       EMPLOYEE Dishonesty:                                       NOT COVERED

Coverage Section VIII Law Enforcement Liability:
     Specific Excess Limit of Insurance for each OCCURRENCE:
      All coverages under Coverage Section VIII combined: $3,000,000            $6,000,000 Annual Aggregate

Subject to the following SUBLIMITS/Annual Aggregates which are part of, and not in addition to, the Coverage
Section VIII Specific Excess Limit of Insurance and Aggregate Limit above:

        SEXUAL HARASSMENT Liability:                              $3,000,000    $6,000,000 Annual Aggregate
        SEXUAL ABUSE Liability:                                   $3,000,000    $3,000,000 Annual Aggregate


Coverage Section IX Terrorism:
Specific Excess Limit of Insurance for each OCCURRENCE:

       Property Terrorism:                                NOT COVERED            N/A Annual Aggregate
       Liability Terrorism:                               NOT COVERED            N/A Annual Aggregate
       Employers’ Liability Terrorism:                    NOT COVERED            N/A Annual Aggregate


                                               Clash Coverage

1.     In the event of a covered loss involving more than one Coverage Section, the ASSURED will only be liable
       for one SELF INSURED RETENTION. This will be the SELF INSURED RETENTION for the Coverage
       Section that results in the largest ULTIMATE NET LOSS.

2.     Underwriters will indemnify the ASSURED for ULTIMATE NET LOSS arising within each SELF INSURED
       RETENTION applicable to the Coverage Section involved in the loss, less the SELF INSURED
       RETENTION determined in Paragraph 1. above.

3.     Indemnity paid under Clash Coverage is in addition to amounts payable under the Schedule of Specific
       Excess Limits of Insurance.

Clash Coverage does not apply to Coverage Section IX – Terrorism.




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                                     Excess LOSS FUND Protection

Excess Loss Fund Protection Annual Aggregate Limit:       NOT COVERED

 1.   This Policy contains various SELF INSURED RETENTIONS as listed in the Schedule of SELF INSURED
      RETENTIONS of this Policy. The ASSURED is responsible for the payment of applicable SELF INSURED
      RETENTIONS in accordance with the terms and conditions of this Policy.

 2.   The ASSURED’S LOSS FUND is the aggregate amount stated in the Schedule of SELF INSURED
      RETENTIONS to be paid by the ASSURED for covered loss amounts incurred during the PERIOD OF
      INSURANCE within the ASSURED’S SELF INSURED RETENTION. This coverage applies only if an
      Excess Loss Fund Protection Limit is stated above and a corresponding LOSS FUND amount stated in
      the SCHEDULE OF SELF INSURED RETENTIONS.

 3.   If there is an applicable MAINTENANCE DEDUCTIBLE underlying the SELF INSURED RETENTION, this
      MAINTENANCE DEDUCTIBLE is not considered part of the SELF INSURED RETENTION, and does not
      accrue to the exhaustion of the LOSS FUND.

 4.   Each payment made by the ASSURED for covered loss amounts within the applicable SELF INSURED
      RETENTION shall reduce the outstanding LOSS FUND by the amount of such payment until the LOSS
      FUND is exhausted. Upon exhaustion of the LOSS FUND stated in the Schedule of SELF INSURED
      RETENTIONS, Underwriters obligation to indemnify the ASSURED begins for covered loss amounts within
      the SELF INSURED RETENTION.

 5.   The amount of Excess LOSS FUND Protection payment(s) made by Underwriters to the ASSURED:

 (a) Shall not be for more than the applicable SELF INSURED RETENTION; and

 (b) Shall not be greater than the Excess LOSS FUND Protection Annual Aggregate Limit, as stated under
     Excess LOSS FUND Protection.

 6.   Each Excess LOSS FUND Protection payment made reduces Underwriters’ Excess LOSS FUND
      Protection Annual Aggregate Limit by the amount of such payment.

 7.   Underwriters’ duty to indemnify under Excess LOSS FUND Protection ends when the Excess LOSS
      FUND Protection Annual Aggregate Limit has been exhausted by payments to the ASSURED.




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                                              General Policy Conditions

   Underwriters assume no other obligation or liability to the ASSURED to indemnify sums or perform acts
   or services unless explicitly provided under this Policy.

   These conditions shall survive the termination of this Policy without regard to whether said termination is
   due to cancellation or natural expiration of this Policy.

   1.    Abandonment: There shall be no abandonment to Underwriters of any property.

   2.    Arbitration: In the event the ASSURED and Underwriters are unable to agree as to the amount
         recoverable by the ASSURED from Underwriters under the terms and conditions of this Policy,
         each party shall name a competent and disinterested arbitrator, and the two so chosen shall, before
         proceeding further, appoint a competent and disinterested umpire. The arbitrators together shall
         calculate the indemnity due, and failing to agree, shall submit their differences to the umpire.

         The award in writing, duly verified by any two, shall determine the points in question. Both parties
         shall pay the cost of their arbitrators and equally pro rate the cost of the umpire. The ASSURED’S
         portion of such fee does not accrue to the ULTIMATE NET LOSS.

         The decision by the arbitrators shall be binding on Underwriters and the ASSURED, and that
         judgment may be entered in any court of competent jurisdiction.

   3.    Assignment: Assignment of interest under this Policy does not bind                Underwriters’    unless
         Underwriters consent is endorsed hereon.

   4.    Bankruptcy and Insolvency: In the event of the bankruptcy or insolvency of the ASSURED or any
         entity comprising the ASSURED, Underwriters shall not be relieved of the payment of any covered
         loss amounts hereunder because of such bankruptcy or insolvency, but Underwriters shall be liable
         only to the same extent had there been no bankruptcy or insolvency.

   5.    Cancellation and Non-Renewal: In the event of non-payment of premium by the NAMED
         ASSURED, Underwriters will give ten (10) days’ notice of cancellation in writing to the NAMED
         ASSURED and all coverage will terminate ten (10) days after the mailing of such notice. If
         Underwriters cancel, the earned premium is calculated pro rata, and the NAMED ASSURED is
         responsible for the full annual amount of the LOSS FUND as stipulated in Excess Loss Fund
         Protection.

         The NAMED ASSURED shown on the Declarations may cancel this Policy by giving thirty (30)
         days’ notice of cancellation in writing. If the NAMED ASSURED cancels, the earned premium is
         calculated in accordance with the short rate table and procedure subject to the minimum earned
         premium. The NAMED ASSURED is responsible for the full annual amount of the LOSS FUND as
         stipulated in Excess Loss Fund Protection.

         If the period of limitation relating to the giving of notice is prohibited or made void by any law, such
         period is amended to provide the minimum period of limitation permitted by such law.

         Non-Renewal: Either the NAMED ASSURED or Underwriters may elect to non-renew this Policy at
         its expiration date for any reason.

   6.    Changes: By acceptance of this Policy the ASSURED agrees that it embodies all agreements
         existing between the ASSURED and Underwriters or any of their agents relating to this Policy.
         None of the provisions, conditions or other terms of this Policy shall be waived or altered except by
         endorsement; nor shall notice to any agent or knowledge possessed by any agent or by any other
         person be held in effect a waiver or change to any part of this Policy.

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   7.    CLAIMS, OCCURRENCES or SUITS: The ASSURED shall as soon as practical notify Underwriters
         through the ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR of any CLAIM, OCCURRENCE
         or SUIT meeting the following criteria:


   (a)      The cost of which is likely to result in payment by Underwriters under this Policy;

   (b)      All claims reserved at 75% or more of SELF INSURED RETENTION;

   (c)      Catastrophic losses (including Paraplegia, Quadriplegia, Severe Burns, Fatalities, Significant
            Brain Injury, Amputation of Major Extremity);

   (d)      SEXUAL ABUSE claims;

   (e)      Discrimination or Violation of Civil Rights where the claim is reserved at 50% or more of the SELF
            INSURED RETENTION or within ninety (90) days of a trial date, whichever is sooner;

   (f)      Third-party claims involving LAW ENFORCEMENT ACTIVITIES;

   (g)      Act or series of ACTS OF TERRORISM;

   (h)      Any claims where there is a question as to whether there will be coverage under this Policy.


         Underwriters shall have the right but not the duty to be associated with the ASSURED in the
         investigation, handling, defense or settlement of any claims, SUIT or proceedings relative to an
         OCCURRENCE or CLAIM where in the opinion of the Underwriters, their liability under this Policy is
         likely to be involved; in which case the ASSURED and Underwriters shall co-operate to the mutual
         advantage of both.

         The ASSURED shall make no commitment to pay or settle any CLAIMS, OCCURRENCES or
         SUITS where Underwriters liability under this Policy is involved without the prior agreement of
         Underwriters. Underwriters shall not withhold agreement without just cause. Neither shall the
         ASSURED refuse any reasonable opportunity to pay or settle a claim that will result in Underwriters
         having liability under this Policy without the prior agreement of Underwriters. Underwriters shall not
         withhold agreement without just cause. If the ASSURED refuses to consent to settlement of any
         CLAIMS, OCCURRENCES or SUITS where Underwriters liability under this Policy is potentially
         involved, and settlement or compromise is recommended by Underwriters and acceptable to the
         claimant, then calculation of, and Underwriters obligation under ULTIMATE NET LOSS with respect
         to the CLAIMS, OCCURRENCES or SUITS shall be limited to the amount of damages or payments
         for which the CLAIMS, OCCURRENCES or SUITS could have been settled for, plus any expenses
         payable under ULTIMATE NET LOSS incurred until the date of the ASSURED’S refusal to settle or
         compromise the CLAIMS, OCCURRENCES or SUITS as recommended by Underwriters.




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   8.    Conflicting Statutes: If any terms of this Policy conflict with the statutes of the state in which this
         Policy is issued, those terms are amended to conform to such statutes.

   9.    Currency: The premium and losses under this Policy are payable in United States currency.
         Payment of premium shall be made to Underwriters or via the NAMED ASSURED’s intermediary.

   10.   Due Diligence: The ASSURED shall use due diligence and concur in doing all things reasonably
         practical to avoid or diminish any loss of or damage to the property insured.

   11.   Duties: Underwriters have no duty to investigate, handle, adjust, settle or defend any CLAIM,
         OCCURRENCE, proceeding or SUIT against the NAMED ASSURED, any ASSURED, or against
         any other person or organization for whom the NAMED ASSURED is, or may be found to be,
         legally liable, or whom asserts or claims a right of coverage under the Policy. These duties shall be
         the responsibility of the NAMED ASSURED.

         Underwriters’ duty under the Policy shall be to indemnify the NAMED ASSURED for ULTIMATE
         NET LOSS in excess of the applicable SELF INSURED RETENTION, MAINTENANCE
         DEDUCTIBLE, or any other applicable deductible or deduction; and not more than the Specific
         Excess Limit of Insurance.

         Underwriters’ duty to indemnify ends when the applicable Specific Excess Limit of Insurance is
         exhausted by the payment of the ULTIMATE NET LOSS.

         Underwriters may, at their sole discretion, tender periodic advance payments of amounts in excess
         of the SELF INSURED RETENTION, before ULTIMATE NET LOSS as defined in the Policy is
         reached; provided that:

         (a) Only amounts where coverage is not in dispute will be used to compute the partial ULTIMATE
             NET LOSS; and

         (b) Only payments made by the NAMED ASSURED and not disputed by Underwriters will be used
             to compute the partial ULTIMATE NET LOSS; and

         (c) Any potential RECOVERY source has been identified; has been put on notice if appropriate;
             and RECOVERY is being aggressively pursued; and

         (d) Delaying payment until the final ULTIMATE NET LOSS is determined will result in financial
             hardship to the Assured; and

         (e) All payments are without prejudice.

         Further, and in regard to advance payments under SECTION I – PROPERTY; advance payments
         will be based upon ACTUAL CASH VALUE for property that is not being actively repaired or
         replaced.

         This condition shall survive the termination of this Policy without regard to whether said termination
         is due to cancellation or natural expiration of this Policy.

   12.   False or Fraudulent Claims: If the ASSURED shall make any claim knowing the same to be false
         or fraudulent, as regards amount or otherwise, this Policy shall become void and all claims
         hereunder shall be forfeited.

   13.   Inspections / Audits / Verification of Values: Underwriters or their duly authorized
         representatives may inspect the premises used by the ASSURED and audit the ASSURED’S
         books or records at any time during the PERIOD OF INSURANCE or within three (3) years after its


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            expiration or termination. Underwriters assume no liability and will not be made liable for their right
            to make inspections or audit or not make inspections or not audit, or for their results, findings or
            reports, nor shall any inspection warranty the safety of a premises or an audit confirm the accuracy
            of books or records.

    14.     Mortgage: Underwriters will pay for covered losses of or damage to property to each mortgage
            holder, lienholder or creditor to the extent of their interest as of the date of loss or damage subject
            to the limits of insurance as states in the Declarations and subject to all terms and conditions of
            this Policy.

    15.     Other Insurance: If the ASSURED has other insurance against loss or damage covered under this
            Policy, Underwriters are liable, under the terms of this Policy, only as excess of coverage provided
            by such other insurance. No monies payable or collectible from such other insurance shall accrue
            to the LOSS FUND. However, this clause does not apply to the purchase of excess insurance
            above the Specific Excess Limits of Insurance stated in the Schedule of Specific Excess
            Limits of Insurance of this Policy.

    16.     Representations: By accepting this Policy and as a condition precedent to coverage, the
            ASSURED agrees that:

            (a) The information contained within the Declarations is complete and accurate and is based upon
                representations made by the ASSURED to Underwriters in the submission and/or application(s)
                for this Policy;

            (b) Underwriters have issued this Policy in reliance upon the ASSURED’S representations in the
                submission and/or application(s);

            (c) Except as otherwise provided in this Policy or by law, this Policy is void in any case of fraud; or,
                if the ASSURED conceals or misrepresents any material facts in the ASSURED’S submission
                and/or application(s) for this Policy. If the Policy is wholly voidable due to fraud,
                misrepresentation or concealment by the ASSURED as aforementioned, Underwriters, at their
                sole discretion, may elect to void coverage only for the particular loss or claim which is affected
                by such concealment and/or misrepresentation and/or fraud.

    17.     Risk Control Services: Underwriters assume no liability for, nor will it be made liable by any
            person or organization for risk control or consulting services, including the results or failure of
            results, findings or failure of findings, performance or failure of performance of said services.

    18.     Separation of ASSUREDs: With the exception of the Specific Excess Limits of Insurance,
            SELF INSURED RETENTIONS and any rights or duties specifically assigned in this Policy to the
            NAMED ASSURED, this insurance applies:

            (a) As if each ASSURED were the only ASSURED; and

            (b) Separately to each ASSURED against whom a claim is made or a SUIT is brought.

    19.     Subrogation, Salvage and RECOVERY: As a condition precedent to the issuance of this Policy, it
            is agreed that Underwriters shall be subrogated, at their sole discretion, to all rights which any
            ASSURED may have against any person or other entity in respect to any claim or payment made
            under this Policy; including any person or organization hired to investigate, handle, settle or defend
            any OCCURRENCE, CLAIM, proceeding or SUIT resulting in the aforementioned payment. The
            ASSURED shall execute all papers required by Underwriters and must cooperate with Underwriters
            to secure and prosecute Underwriters rights; to include the filing and prosecution of any CLAIM or
            SUIT for any right or cause of action which the ASSURED cannot legally or contractually assign to
            Underwriters. If any reimbursement is obtained, or salvage or RECOVERY made by the ASSURED
            or Underwriters on account of any loss covered by this Policy, the net amount of such



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         reimbursement, salvage or RECOVERY, after deducting the actual cost of obtaining or making the
         same, shall be applied in the following order:

         1.   Amount of loss which exceeds the applicable Specific Excess Limits of Insurance;

         2. To reduce Underwriters loss until Underwriters are fully reimbursed;

         3. To reduce the ASSURED’S loss because of the application of the SELF INSURED
            RETENTION, and then any applicable MAINTENANCE DEDUCTIBLE.

         In the event Underwriters decline to be subrogated to the rights which the ASSURED may have
         against any person or other entity in respect to any claim or payment made under this Policy, the
         ASSURED shall regain its rights and may pursue RECOVERY against said parties at its discretion.
         If any reimbursement is obtained, or salvage or RECOVERY made by the ASSURED on account of
         any loss covered by this Policy, the net amount of such reimbursement, salvage or RECOVERY,
         after deducting the actual cost of obtaining or making the same, shall be applied in the following
         order:

         1. Amount of loss which exceeds the applicable Specific Excess Limit of Insurance;

         2. To reduce the ASSURED’S loss because of the application of the SELF INSURED
            RETENTION, but not any applicable MAINTENANCE DEDUCTIBLE;

         3. To reduce the Underwriters loss until Underwriters are fully reimbursed;

         4. To reduce the ASSURED’S loss because of the application of any MAINTENANCE
            DEDUCTIBLE.

   20.   Territory: This Policy applies worldwide; however, indemnity by Underwriters shall be made only if
         the original SUIT and any related legal actions is brought in the United States of America, its
         territories or possessions, or transferred to the United States of America, its territories or
         possessions from a foreign jurisdiction.

   21.   THIRD PARTY CLAIM ADMINISTRATOR: It is a condition precedent that this Policy of insurance
         is issued by Underwriters on the express condition that:

         (a) The NAMED ASSURED must contract with, and utilize the services of, a duly qualified and
             competent THIRD PARTY CLAIM ADMINISTRATOR, as agreed upon by Underwriters prior to
             the PERIOD OF INSURANCE; and

         (b) All CLAIMS, SUITS or OCCURRENCES for which coverage is sought under this Policy must
             be adjusted and handled by the contracted THIRD PARTY CLAIM ADMINISTRATOR; and

         (c) The duties involved in adjusting and handling CLAIMS, SUITS or OCCURRENCES by the
             THIRD PARTY CLAIM ADMINISTRATOR include but are not limited to, timely investigations,
             setting ground-up case reserves, documenting case reserve rationale, pursuing settlement and
             recording financials; and

         (d) All CLAIMS, SUITS or OCCURRENCES for which coverage is sought under this Policy are
             adjusted and handled by the THIRD PARTY CLAIM ADMINISTRATOR in accordance with all
             statutory and regulatory standards; and in accordance with all accepted industry standards and
             practices.

         Underwriters or their representative shall have the right but not the duty to conduct audits and
         inspections of the CLAIMS, SUITS or OCCURRENCES reported to the NAMED ASSURED’S
         THIRD PARTY CLAIMS ADMINISTRATOR to better inform Underwriters of the potential liability

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           under this Policy. The THIRD PARTY CLAIMS ADMINISTRATOR will cooperate should the audit
           or inspection be requested.

           The NAMED ASSURED, through its THIRD PARTY CLAIM ADMINISTRATOR, may utilize the
           services of an attorney or lawyer or other specialized party to assist the THIRD PARTY CLAIM
           ADMINISTRATOR in the disposition of its duties, and defend an ASSURED; but only provided that:

               (a) the THIRD PARTY CLAIM ADMINISTRATOR retains control of the adjusting process,
                   reserving, settlement activity and documentation of the claims financials including erosion
                   of the NAMED ASSUREDS SELF INSURED RETENTION and;
               (b) The THIRD PARTY CLAIMS ADMINISTRATOR continues to monitor and direct the
                   actions of these other parties; and
               (c) Any control of the adjusting process designated to parties other than the NAMED
                   ASSUREDS THIRD PARTY CLAIM ADMINISTRATOR or an attorney or lawyer hired or
                   employed by the NAMED ASSURED must be approved by Underwriters in writing; and
               (d) Any control of the adjusting process retained by the NAMED ASSURED (i.e. “self-
                   administering CLAIMS”) must be approved by Underwriters in writing; and
               (e) Payment to these other parties shall be subject to all other terms and conditions of the
                   Policy; specifically, but not limited to, General Policy Condition 11. Duties and General
                   Policy Definition 30. ULTIMATE NET LOSS.
               (f) Further, this Policy of insurance is issued by Underwriters on the express condition that all
                   CLAIMS, SUITS or OCCURRENCES, for which coverage is sought under this Policy and
                   which are being defended by the THIRD PARTY CLAIMS ADMINISTRATOR or an
                   attorney or lawyer hired or employed by the NAMED ASSURED, are defended by the
                   attorney or lawyer in accordance with all statutory and regulatory standards; and in
                   accordance with all accepted professional standards and practices

           In the event of cancellation, expiration or revision of the agreement between the NAMED
           ASSURED and the designated THIRD PARTY CLAIM ADMINISTRATOR, the NAMED ASSURED
           must notify Underwriters ninety (90) days prior to the effective date of such cancellation, expiration
           or material revision, and the NAMED ASSURED and Underwriters must agree upon the
           specifications for the new THIRD PARTY CLAIM ADMINISTRATOR or the material revision of the
           incumbent THIRD PARTY ADMINISTRATOR’S agreement with the NAMED ASSURED.


   22.     Waiver of Subrogation: This Policy shall not be invalidated if the ASSURED, by written
           agreement, has waived or shall waive its right of RECOVERY from any party for loss or damage
           covered hereunder; provided that any such waiver is made prior to the OCCURRENCE of said loss
           or damage.



                                            General Policy Exclusions


        This Policy does not insure against:

   A.      Loss or damage caused by, or resulting from fraudulent or dishonest acts committed by the
           ASSURED, whether working alone or with others, except as covered in Coverage Section VII
           Crime;




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   B.   Expenses from any cost, civil fine, penalty or expense against any ASSURED for any compliance
        or enforcement action from any Federal, State or local governmental regulatory or administrative
        agency; except as provided in Coverage Section I Property – Conditions 7. Ordinance
        Deficiency Clause and Coverage Section VI Employee Benefits Liability – Exclusions D;

   C.   Any liability arising out of the operation of the principles of eminent domain, condemnation
        proceedings, adverse possession or inverse condemnation proceedings by whatever name called,
        whether such liability accrues directly against the ASSURED or by virtue of any agreement entered
        into by or on behalf of the ASSURED;

   D.   BODILY INJURY, PERSONAL INJURY, PROPERTY DAMAGE or loss or damage to the
        PROPERTY OF THE ASSURED, either directly or indirectly occasioned by, happening through, or
        in consequence of: war (including undeclared or civil war), warlike action by a military force
        (including action in hindering or defending against an actual or expected attack, by any
        government, sovereign or other authority using military personnel or other agents), insurrection,
        rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
        defending against any of these; or confiscation or nationalization or requisition or destruction of or
        damage to property by or under the order of any government or public or local authority, except as
        provided in Coverage Section I Property – Conditions 6. Civil Authority Clause. This Exclusion
        does not apply to loss or damage to the PROPERTY OF THE ASSURED caused secretly by a
        foreign enemy or agent of any government or sovereign power, when not in connection with the
        operations of armed forces in or against the country where the described location is situated;

   E.   The investigation, defense, loss or damage, including loss of use, BODILY INJURY, PERSONAL
        INJURY or PROPERTY DAMAGE caused by the release, discharge, dispersal, seepage or
        migration of POLLUTANTS anywhere, anytime, in any way, whether accidental or intentional,
        sudden or intermittent or continuous:

        (a)   At or from any premises, site or location which is or was at any time owned or occupied by, or
              rented or loaned to, any ASSURED;

        (b)   At or from any premises, site or location which is or was at any time used by or for any
              ASSURED or others for the handling, storage, disposal, processing or treatment of waste;

        (c)   Which are or were at any time transported, handled, stored, treated, disposed of, or processed
              as waste by or for any ASSURED or any person or organization for whom any ASSURED
              may be legally responsible; or

        (d)   At or from any premises, site or location on which any ASSURED or any contractor or
              subcontractor working directly or indirectly on any ASSURED’S behalf are performing
              operations:

              (i) If the POLLUTANTS are brought on or to the premises, site or location in connection with
                  such operations by such ASSURED, contractor or subcontractor; or

              (ii) If the operations are to test for, monitor, clean up, remove, contain, treat, detoxify or
                   neutralize, or in any way respond to, or assess the effects of POLLUTANTS.

        (e)   That are, or that are contained in any property that is:

              (i) Being transported or towed by, handled, or handled for movement into, onto or from, an
                  AUTOMOBILE covered under Coverage Section III AUTOMOBILE Liability; or

              (ii) Otherwise in the course of transit by or on behalf of the ASSURED; or




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               (iii) Being stored, disposed of, treated or processed in or upon an AUTOMOBILE covered
                     under Coverage Section III AUTOMOBILE Liability; or

        (f)    Before the POLLUTANTS or any property in which the POLLUTANTS are contained are
               moved from the place where they are accepted by the ASSURED for movement into or onto
               an AUTOMOBILE covered under Coverage Section III AUTOMOBILE Liability; or

        (g)    After the POLLUTANTS or any property in which the POLLUTANTS are contained are moved
               from an AUTOMOBILE covered under Coverage Section III AUTOMOBILE Liability to the
               place where they are finally delivered, disposed of or abandoned by the ASSURED.

    (1) The investigation, defense, loss or damage, including loss of use, caused by the release, discharge
         or dispersal of POLLUTANTS anywhere, anytime, in any way, whether accidental or intentional,
         sudden or intermittent or continuous for any loss, cost or expense arising out of any:

        (a)    Request, demand, or other order that any ASSURED or others test for, monitor, clean up,
               remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of
               POLLUTANTS; or

        (b)    Claim or SUIT by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any
               way responding to, or assessing the effects of POLLUTANTS;

    Except:

        1. This exclusion does not apply to the reverse of flow of sewage into any building from a sewage
           facility, fixed conduit or sanitary sewer that the ASSURED owns, operates or maintains; and


    As respects Coverage Section II General Liability only:

        2.    Subparagraph E.(a) only of this exclusion does not apply to BODILY INJURY, PERSONAL
              INJURY or PROPERTY DAMAGE arising out of heat, smoke or fumes from a “hostile fire” as
              defined below;

              As used in this Extension, the definition of PROPERTY DAMAGE excludes loss of use.

              As used in this Extension, a “hostile fire” means one which becomes uncontrollable or breaks
              out from where it was intended to be.

        3. This exclusion does not apply to BODILY INJURY, PERSONAL INJURY or PROPERTY
           DAMAGE arising out of the use, handling, storage, discharge, dispersal, release or escape of
           chemicals when introduced by an ASSURED into such ASSURED’S drinking water system
           solely for the purpose of purifying or treating such drinking water; provided that the chemicals’
           generally accepted use is for the purification or treatment of drinking water.

        4. This exclusion does not apply to BODILY INJURY, PERSONAL INJURY or PROPERTY
           DAMAGE arising out of the use, handling, storage, discharge, dispersal, release or escape of
           chemicals when used in the day-to-day operation and/or maintenance of swimming pools owned
           or operated by an ASSURED; provided that the chemicals’ generally accepted use is for the
           operation/maintenance of swimming pools.

        5. This exclusion does not apply to BODILY INJURY, PERSONAL INJURY or PROPERTY
           DAMAGE arising out of the application of pesticides, or herbicides provided such application is
           performed by employees of the NAMED ASSURED who are properly licensed or certified by a
           federal or state agency to apply those chemicals, pesticides or herbicides; and where the


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             application or use is in strict compliance with all federal, state, and local laws, statutes,
             regulations, ordinances, or the like; and where the application or use is in compliance with
             industry standards for application or use.

    As respects Coverage Section III AUTOMOBILE Liability only:

        6. Subparagraph (e) of this exclusion does not apply to fuels, lubricants, fluids, exhaust gases or
           other similar POLLUTANTS that are needed for, or result from the normal electrical, hydraulic or
           mechanical functioning of an AUTOMOBILE covered under Coverage Section                        III
           AUTOMOBILE Liability or its parts, if:

             (a) The POLLUTANTS escape, seep, migrate, or are discharged, dispersed or released directly
                 from an AUTOMOBILE part designed by its manufacturer to hold, store, receive or dispose
                 of such POLLUTANTS; and

             (b) The BODILY INJURY, PERSONAL INJURY or PROPERTY DAMAGE does not arise out of
                 the operation of any equipment defined as MOBILE EQUIPMENT.

        7. Paragraphs 7(c) and 7(d) of this exclusion do not apply to accidents that occur away from
            premises owned by or rented to an ASSURED with respect to POLLUTANTS not in or upon an
            AUTOMOBILE covered under Coverage Section III AUTOMOBILE Liability if:

             (c) The POLLUTANTS or any property in which the POLLUTANTS are contained are upset,
                 overturned or damaged as a result of the maintenance or use of an AUTOMOBILE covered
                 under Coverage Section III AUTOMOBILE Liability; and

             (d) The discharge, dispersal, seepage, migration, release or escape of the POLLUTANTS is
                 caused directly by such upset, overturn or damage.

    As respects Coverage Section VIII Law Enforcement Liability only:

        8. This exclusion does not apply to BODILY INJURY, PERSONAL INJURY, or PROPERTY
            DAMAGE resulting from LAW ENFORCEMENT ACTIVITIES and due to the use of teargas,
            mace or similar substances by an ASSURED within the scope of their employment by the
            NAMED ASSURED. This coverage extension applies only if the NAMED ASSURED’S
            operations meet all the standards of any statute, ordinance, regulation or license requirement of
            any federal, state or local government which apply to those operations.

   F.   Loss of, damage to, or loss of use of PROPERTY OF THE ASSURED, BODILY INJURY,
        PERSONAL INJURY or PROPERTY DAMAGE, directly or indirectly caused by the presence of
        asbestos or lead in any form, except as covered in Coverage Section I Property – Insuring
        Agreements and Coverage Section V Part A Workers’ Compensation for a Qualified Self-
        Insured – Insuring Agreements;

   G.   Any claim based upon the ASSURED’S failure to comply with the Federal Employee Retirement
        Income Security Act of 1974 (ERISA), including subsequent amendments or any similar federal,
        state or local law or regulations;

   H.   Any claim arising out of investment activities, or the administration of self-insurance funds, except
        as covered in Coverage Section VII Crime;

   I.   Nuclear Incident:

            (a) Loss or damage to PROPERTY OF THE ASSURED, or liability from PROPERTY DAMAGE,
                BODILY INJURY or PERSONAL INJURY accruing to the ASSURED directly or indirectly
                from, any and all forms of radioactive CONTAMINATION;



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            (b) Any loss or damage to PROPERTY OF THE ASSURED, or liability from PROPERTY
                DAMAGE, BODILY INJURY or PERSONAL INJURY accruing to the ASSURED directly or
                indirectly, from any Pool of Insurers or Reinsurers formed for the purpose of covering atomic
                or Nuclear Energy risks;

            (c) Any loss or liability accruing to the ASSURED, directly or indirectly, for physical damage of
                PROPERTY OF THE ASSURED including BUSINESS INTERRUPTION or consequential loss
                arising out of such physical damage, in addition to PROPERTY DAMAGE, BODILY INJURY,
                or PERSONAL INJURY, due to:

                (i)    NUCLEAR REACTOR power plants including all auxiliary property on this site, or

                (ii)   Any NUCLEAR MATERIALS, or the dispersal or discharge of NUCLEAR MATERIALS,
                       at any NUCLEAR FACILITY owned by, or operated by or on behalf of, any ASSURED;

                (iii) Any other NUCLEAR REACTOR installation, including laboratories handling radioactive
                      materials in connection with reactor installations, and critical facilities as such;

                (iv) Installations for fabricating complete fuel elements or for processing substantial quantities
                     of, NUCLEAR MATERIALS and for reprocessing, salvaging, chemically separating,
                     storing or disposing of SPENT NUCLEAR FUEL or WASTE materials, or

                (v)    Installations other than those listed above using substantial quantities of radioactive
                       isotopes or other products of nuclear fission;

                (vi) Any NUCLEAR MATERIALS contained in spent fuel or WASTE and at any time
                      possessed, handled, used, processed, stored, transported or disposed of by or on behalf
                      of an ASSURED; or
                (vii) Loss which arises out of the furnishing by an Assured of services, materials, parts or
                      equipment in connection with the planning, construction, maintenance, operation or use
                      of any NUCLEAR FACILITY;

            (d) Any loss or damage or liability resulting from the HAZARDOUS PROPERTIES of NUCLEAR
                MATERIALS and with respect to which:

                (i)    Any person or organization is required to maintain financial protection pursuant to the
                       Atomic Energy Act of 1954, or any law amendatory thereof; or

                (ii) The ASSURED is, or had this Policy not been issued, would be entitled to indemnity from
                      the United States of America, or any agency thereof, under any agreement entered into
                      by the United States of America, or any agency thereof, with any person or organization;

            (e) Any loss relating to expenses incurred with respect to:

                (i)    Immediate medical or surgical relief or first aid;

                (ii)   BODILY INJURY, PERSONAL INJURY, PROPERTY DAMAGE, or PROPERTY OF
                       THE ASSURED resulting from the HAZARDOUS            PROPERTIES of NUCLEAR
                       MATERIALS and arising out of the operation of NUCLEAR FACILITY by any person or
                       organization.

   DEFINITIONS as used in this Exclusion:

     (1)    CONTAMINATION means any unclean or unsafe or damaging or injurious or unhealthful condition
            arising out of the presence of NUCLEAR MATERIALS, SPENT NUCLEAR FUEL or WASTE,
            whether permanent or transient in any ENVIRONMENT.

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        (2)     ENVIRONMENT includes any person, any real or personal property, animals, crops and
                vegetation, land including land under the building, bodies of water, underground water or water
                table supplies, air and any other feature of the earth or its atmosphere, whether or not altered,
                developed or cultivated, including, but not limited to, any of the above owned, or controlled, or
                occupied by any ASSURED.

        (3)     HAZARDOUS PROPERTIES include radioactive, toxic or explosive properties.

        (4)     NUCLEAR FACILITY means:

               (a)   Any NUCLEAR REACTOR;

               (b)   Any equipment or device designed or used for separating the isotopes of uranium or
                     plutonium, or processing or utilizing spent fuel, or handling, processing or packaging WASTE;

               (c)   Any equipment or device used for the processing, fabricating or alloying of NUCLEAR
                     MATERIALS in the custody of the ASSURED at the premises where such equipment or
                     device is located;

               (d)   Any structure, basin, excavation, premises or place prepared or used for the storage of
                     WASTE, and includes the site on which any of the foregoing is located, all operations
                     conducted on such site and all premises used for such operations.

        (5)    NUCLEAR MATERIALS means, source material, special nuclear material, byproduct material and
               have the meanings given them in the Atomic Energy Act of 1954 or in any law amendatory thereof.

        (6)    NUCLEAR REACTOR means any apparatus designed or used to sustain nuclear fission in a self-
               supporting chain reaction or to contain a critical mass of fissionable material.

        (7)    SPENT NUCLEAR FUEL means any fuel element or fuel component, solid or liquid, which has
               been used or exposed to radiation in a NUCLEAR REACTOR.

        (8)    WASTE means any waste material (1) containing byproduct material from any ore processed
               primarily for its source material content and (2) resulting from the operation by any person or
               organization of any NUCLEAR FACILITY included within the definition of NUCLEAR FACILITY.

   J.         Any loss, damage, cost, claim, expense, BODILY INJURY, MEDICAL PAYMENTS, or liability of
              whatsoever nature directly or indirectly caused by, resulting from or in any way involving FUNGAL
              PATHOGENS. This exclusion shall apply regardless of any other cause or event that contributes
              concurrently or in sequence to the loss, damage, cost, claim, expense, BODILY INJURY,
              MEDICAL PAYMENTS, or liability.

   This exclusion shall not apply to:

              (a)    Coverage Section I Property; but only when such loss arises directly from a peril not
                     otherwise excluded under Coverage Section I Property.

              (b)    Coverage Section V Part A Excess Workers’ Compensation for a Qualified Self-Insurer
                     – Insuring Agreements; but only when coverage for losses arising from FUNGAL
                     PATHOGENS is required by law or regulation.

              (c)    Coverage Section II General Liability; BODILY INJURY or PROPERTY DAMAGE arising
                     from the NAMED ASSURED’S Food Products




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   K.   Any claim, including defense of same, arising directly or indirectly from any actual or alleged
        SEXUAL ABUSE or SEXUAL HARASSMENT of any person by any ASSURED, or anyone to
        whom the NAMED ASSURED is obligated by virtue of a written contract or agreement; except as
        covered in Coverage Section II General Liability – Insuring Agreements C. SEXUAL
        HARASSMENT Liability and D. SEXUAL ABUSE Liability, Coverage Section IV Public
        Officials Miscellaneous Liability – Insuring Agreements C. SEXUAL HARASSMENT Liability
        and D. SEXUAL ABUSE Liability, and Coverage Section VIII Law Enforcement Liability –
        Insuring Agreements C. SEXUAL HARASSMENT Liability and D. SEXUAL ABUSE Liability

   L.   Loss, damage, cost or expense of whatsoever nature directly or indirectly caused by, resulting from
        or in connection with any ACT OF TERRORISM, and/or the threat thereof, regardless of any other
        cause or event contributing concurrently or in any other sequence to the loss.

        Loss, damage, cost or expense of whatsoever nature directly or indirectly caused by, resulting from
        or in connection with any action taken in controlling, preventing, suppressing or in any way relating
        to any ACT OF TERRORISM.

        This exclusion will apply to any loss or claim unless specific limits and a SELF INSURED
        RETENTION are listed under Coverage Section IX Terrorism.

   M.   Loss of, damage to, or loss of use of PROPERTY OF THE ASSURED, BODILY INJURY,
        PERSONAL INJURY or PROPERTY DAMAGE, and any loss or claim directly or indirectly caused
        by or arising out of:

        (a)   Loss, theft, loss of use of, corruption, or inability to access or manipulate tangible or
              intangible ELECTRONIC DATA or paper data, whether owned by the ASSURED or others
              and including but not limited to any handheld or portable device with user-generated content.

        (b)   Loss, theft, breach, publication, unauthorized access, disclosure or use, collection or disposal
              of any person’s or organization’s tangible or intangible ELECTRONIC DATA or paper data
              including but not limited to private, confidential or personal identifying information, medical,
              financial, employment, health and educational information which triggers any local, state or
              federal privacy regulations, as well as patents, trade secrets, processing methods or
              customer lists.

        (c)   Any claim for return or reimbursement of any sums or monetary value of any electronic fund
              transfers or transactions which is lost or diminished during the transfer, unless covered under
              the definition of computer theft under Coverage Section VII Crime.

        (d)   Any threat or series of threats to commit an intentional act against a computer network or
              system for purposes of demanding money or other tangible or intangible value from the
              ASSURED;

        (e)   Cyberterrorism or any intrusive or disruptive activities against any computer system or
              network, or the explicit threat to use such activities with the intention to cause harm, by any
              person or group(s) of persons, whether acting alone or on behalf of or in connection with any
              organization(s), committed for political, religious or ideological purposes including the
              intention to influence any government and/or to put the public in fear for such purposes.

        In no event will this insurance provide coverage for any breach notification; credit, identity and
        health monitoring and restoration costs; public relations costs; compliance audits, data requests,
        legal fees; and any local, state, federal or industry or professional organization’s investigation,
        enforcement, remediation or monitoring costs and any fines, penalties, claims, proceedings or
        SUITS arising directly or indirectly from (a –e) above.




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   N.    Loss, damage, cost or expense arising out of the failure of any ASSURED to adequately supply
         gas, oil, water, electricity or steam.


                                          General Policy Definitions

   1.    ACT OF TERRORISM means an act, including the use of force or violence, of any person or
         group(s) of persons, whether acting alone or on behalf of or in connection with any organization(s),
         committed for political, religious or ideological purposes including the intention to influence any
         government and/or to put the public in fear for such purposes.

   2.    ASSURED means not only the NAMED ASSURED as stated on the Declarations, but also
         includes any past, present or future officials; members of boards or commissions; and trustees,
         directors, officers, volunteers, or employees of the NAMED ASSURED while acting within the
         scope of their duties as such. ASSURED shall also mean any person, organization, trustee or
         estate to whom the NAMED ASSURED is obligated by virtue of a written contract or written mutual
         aid agreement or other written agreement to provide insurance such as is offered by this Policy, but
         only in respect to acts or operations by or on behalf of the NAMED ASSURED, and subject to the
         limitations on coverage contained in any such written contract or written mutual aid agreement or
         other written agreement.

    3.   AUTOMOBILE means any motor vehicle intended or designed for highway use, trailer or semi-
         trailer, including its equipment and any other equipment permanently attached thereto, but
         AUTOMOBILE does not include MOBILE EQUIPMENT. However, self-propelled vehicles with the
         following types of permanently attached equipment are considered AUTOMOBILE:

         Equipment designed primarily for:

         (a)   Snow removal;

         (b)   Road maintenance, but not construction or resurfacing; or

         (c)   Street cleaning.

    4.   BODILY INJURY means physical injury (including death) to any person, and any mental anguish or
         shock, sickness, disease, disability or death associated with or arising from such physical injury.

    5.   EARTHQUAKE means seismic geologic activity, which causes movement in the earth’s surface
         including loss or damage from any other cause or event that contributes concurrently or in any
         sequence to the loss, except direct loss of or damage to PROPERTY OF THE ASSURED caused
         by ensuing fire and/or explosion. If more than one EARTHQUAKE shock occurs within any period
         of one hundred and sixty-eight (168) hours during the PERIOD OF INSURANCE, such
         EARTHQUAKE shock is deemed to be a single EARTHQUAKE OCCURRENCE.

    6.   ELECTRONIC DATA means information, facts or programs stored as or on, created or used on, or
         transmitted to or from computer software, including systems and applications software, cloud
         computing platforms, hard or floppy disks, CD-ROMs, tapes, drives, cells, data processing devices
         or any other media which are used with electronically controlled equipment.

    7.   EMPLOYEE BENEFIT PROGRAMS means group life insurance, group accident or health
         insurance, pension plans, profit sharing plans, employee savings and investment plans, employee
         stock    subscription plans, travel or vacation plans, workers’ compensation, unemployment
         insurance, social security, disability benefits insurance, employee welfare benefit plans and welfare
         plans, and any other similar EMPLOYEE BENEFIT PROGRAMS.

    8.   EMPLOYMENT PRACTICE VIOLATION means:

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         (a)   Refusal to employ;

         (b)   Termination of employment;

         (c)   Practices, policies, acts or omissions such as Coercion, Demotion, Failure to Promote,
               Evaluation, Reassignment, Discipline, Humiliation, Retaliation, Libel, Slander, Defamation of
               Character, Harassment (other than SEXUAL HARASSMENT), including Violation of Civil
               Rights or Discrimination by the ASSURED, which are employment related;

         (d)   Any act relating to the selection, supervision or dismissal of any ASSURED.

         All claims based on or arising out of the same EMPLOYMENT PRACTICE VIOLATION or a series
         of related EMPLOYMENT PRACTICE VIOLATIONS by one or more ASSUREDS shall be deemed
         one EMPLOYMENT PRACTICE VIOLATION. Only one (1) Policy issued by Underwriters, one (1)
         SELF INSURED RETENTION, and one (1) EXCESS LIMIT OF INSURANCE is applicable to any
         one EMPLOYMENT PRACTICE VIOLATION.

    9.   FLOOD AND SURFACE WATER means:

         (a)   Waves, surge, storm surge, and all other movement of tide or tidal waters; or

         (b)   The accumulation and movement of rain, melting snow or melting ice, including run-off; or

         (c)   The rising (including the overflowing or breaking of banks, boundaries, berms, retaining walls
               or levees) of any body of water; including but not limited to ponds, lakes, reservoirs, creeks,
               streams, rivers, bayous, canals, inlets, harbors, bays, seas, oceans, storm water drains and
               drainage ditches, viaducts, aqueducts, and other similar bodies of water; whether the bodies
               of water and their boundaries are man-made or naturally occurring; and whether or not the
               preceding (a), (b) or (c) is a result, direct or indirect, of any man-made, mechanical, natural,
               unnatural or catastrophic OCCURRENCE, happening, cause or event.

   10.   FUNGAL PATHOGENS means any fungus or mycota or any byproduct or type of infestation
         produced by such fungus or mycota, including but not limited to, mold, mildew, mycotoxins, spores
         or any biogenic aerosols.

   11.   LAW ENFORCEMENT ACTIVITIES means the activities of any ASSURED while acting as a law
         enforcement official, officer, auxiliary officer, employee or volunteer of a law enforcement agency or
         department of the NAMED ASSURED. LAW ENFORCEMENT ACTIVITIES does not include
         EMPLOYMENT PRACTICE VIOLATIONS.

   12.   LOSS FUND, if applicable, means the aggregate United States Dollar amount specified in the
         Schedule of SELF INSURED RETENTIONS to be paid by the ASSURED for covered loss
         amounts incurred during the PERIOD OF INSURANCE within the ASSURED’S SELF INSURED
         RETENTION.

   13.   MAINTENANCE DEDUCTIBLE means that United States Dollar amount specified in the Schedule
         of SELF INSURED RETENTIONS which the ASSURED is obligated to pay of the ULTIMATE NET
         LOSS prior to the application of the applicable SELF INSURED RETENTION. The MAINTENANCE
         DEDUCTIBLE is not considered part of the SELF INSURED RETENTION, and does not accrue to
         the exhaustion of the LOSS FUND.

   14.   MEDICAL PAYMENTS means reasonable expenses for first aid, medical, surgical, X-ray and
         dental services, ambulance, hospital, professional nursing and funeral services as are necessary as
         a result of an OCCURRENCE not otherwise excluded on account of BODILY INJURY provided the
         MEDICAL PAYMENTS are incurred within one (1) year of the OCCURRENCE.

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   15.   MOBILE EQUIPMENT means any of the following types of land vehicles, including any attached
         machinery or equipment:

         (a)   Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public
               roads;

         (b)   Vehicles maintained for use solely on or next to premises the ASSURED owns or rents;

         (c)   Vehicles that travel on crawler treads;

         (d)   Vehicles, whether self-propelled or not, maintained primarily to provide mobility to
               permanently mounted:

               (i) Power cranes, shovels, loaders, diggers or drills; or

               (ii) Road construction or resurfacing equipment such as graders, scrapers or rollers;

         (e)   Vehicles not described in (a), (b), (c), or (d) above, that are not self-propelled and are
               maintained primarily to provide mobility to permanently attached equipment of the following
               types:

               (i) Air compressors, pumps and generators including spraying, welding, building, cleaning,
                   geophysical exploration, lighting and well servicing equipment; or

               (ii) Cherry pickers and similar devices used to raise or lower workers;

         (f)   Vehicles not described in (a), (b), (c), or (d) above, maintained primarily for purposes other
               than the transportation of persons or cargo.

   16.   NAMED ASSURED means the person and/or organization first named in Item 1. of the
         Declarations of this Policy.

   17.   NAMED WINDSTORM means a storm system that has been declared a Tropical Depression,
         Tropical Storm or Hurricane by the National Hurricane Center of the National Oceanic and
         Atmospheric Administration. As regards a NAMED WINDSTORM, an OCCURRENCE shall mean
         all Windstorm or Hail losses and ensuing rain damage, sustained by the insured occurring during
         any period of seventy-two (72) consecutive hours arising out of and directly occasioned by the
         NAMED WINDSTORM.

   18.   PERIOD OF INSURANCE means the length of time that the Policy is in force as stated in Item 3 of
         the Declarations as the Effective Date and Expiration Date.

   19.   PERSONAL INJURY means any Injury (other than BODILY INJURY or PROPERTY DAMAGE)
         arising out of one or more of the following:

         Wrongful Entry; Wrongful Eviction; Malicious Prosecution; Humiliation; Piracy; Infringement or
         Misappropriation of any Intellectual Property Rights (including: Copyrights; Patents; Trademarks;
         Service Marks; and Advertising, Broadcasting, and Publishing Ideas); Invasion of Rights of Privacy;
         Libel; Slander; Defamation of Character; Disparagement of Property; Erroneous Service of Civil
         Papers; False Arrest; False Imprisonment; and Detention.

         Injury includes: Mental Anguish, Shock, Sickness, Disease, Disability or Death, which do not arise
         from BODILY INJURY or PROPERTY DAMAGE.




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         In addition, as respects to LAW ENFORCEMENT LIABILITY only, PERSONAL INJURY also
         includes any Injury (other than BODILY INJURY or PROPERTY DAMAGE) arising out of
         Discrimination or Violation of Civil Rights.

   20.   POLLUTANTS means any solid, liquid, gaseous or thermal irritant or contaminant, including
         smoke, vapors, soot, fumes, acids, alkalis, chemicals, liquids, solids, gases, thermal pollutants,
         waste, and all other irritants, or contaminants. Waste includes materials to be recycled,
         reconditioned or reclaimed.

   21.   PROPERTY DAMAGE means direct damage to or destruction or loss of property, including all
         resulting loss of use of property, excluding, however, damage to the PROPERTY OF THE
         ASSURED.

   22.   PROPERTY OF THE ASSURED or ASSURED’S PROPERTY means all Real and Personal
         Property which is in the care, custody or control of the ASSURED or which the ASSURED owns or
         agrees to insure by any contractual agreement normal to its operation, including: leasehold
         improvements and betterments; Personal Property in transit; Property in the course of construction,
         installation, repair, renovation and the like; AUTOMOBILES; ACCOUNTS RECEIVABLE; DATA
         PROCESSING SYSTEMS; DATA PROCESSING MEDIA; FINE ARTS; VALUABLE PAPERS; and
         MOBILE EQUIPMENT. However, PROPERTY OF THE ASSURED and ASSURED’S PROPERTY
         do not include third party AUTOMOBILES left in the ASSURED’S care, custody and control, as
         more fully described in Coverage Section III AUTOMOBILE Liability – Insuring Agreements E. -
         Garagekeeper’s Legal Liability.

   23.   RECOVERY means all claims, SUITS or other causes of action that any ASSURED has against
         any person or entity resulting from a covered loss; any right of subrogation, whether the
         ASSURED’S or Underwriters resulting from a covered loss; and any rights that any ASSURED has
         to the monetary value of any damaged Property, whether tangible or intangible, for which a claim
         for total loss or damage is made under the Policy.

   24.   SELF INSURED RETENTION means that United States Dollar amount specified in the
         SCHEDULE OF SELF INSURED RETENTIONS which the ASSURED is obligated to pay of the
         ULTIMATE NET LOSS, after the application of any applicable MAINTENANCE DEDUCTIBLE, and
         before the Specific Excess Limit of Insurance of this Policy responds to the same loss.

   25.   SEXUAL ABUSE means any actual, attempted or alleged criminal sexual conduct of a person by
         another person, or persons acting in concert, regardless if criminal charges or proceedings are
         brought, which causes physical injuries and/or mental anguish. SEXUAL ABUSE also includes
         actual, attempted or alleged: sexual molestation, sexual assault, sexual exploitation or sexual
         injury.

         But SEXUAL ABUSE does not include SEXUAL HARASSMENT.

   26.   SEXUAL HARASSMENT means any actual, attempted or alleged unwelcome sexual advances,
         requests for sexual favors or other verbal or physical conduct of a sexual nature of a person by
         another person, or persons acting in concert, which causes mental anguish:

         But SEXUAL HARASSMENT does not include SEXUAL ABUSE.

   27.   SUBLIMIT means the maximum amount of ULTIMATE NET LOSS as specified in the Schedule of
         Specific Excess Limits of Insurance that may be attributable to a Coverage Subsection for any
         one OCCURRENCE or CLAIM. SUBLIMITS and any Aggregate Limits applicable to them are part
         of, and not in addition to, the SELF INSURED RETENTION, Specific Excess Limit of Insurance and
         Annual Aggregate Limit for the Coverage Section which they are a part of. Where a SUBLIMIT is
         specified as being “ground up”, such SUBLIMIT is inclusive of, and may be contained within, the
         SELF INSURED RETENTION. Ground up SUBLIMIT payments within the SELF INSURED

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         RETENTION shall contribute to the erosion of the LOSS FUND, if applicable, and will form part of
         the overall ULTIMATE NET LOSS for the OCCURRENCE or CLAIM.

   28.   SUIT means a civil proceeding in which injuries or damages are alleged. SUIT includes:

         (a)   An arbitration proceeding in which such damages are claimed and to which the ASSURED
               must submit or does submit with or without Underwriters consent; or

         (b)   Any other alternative dispute resolution proceeding in which such damages are claimed and
               to which the ASSURED submits with or without Underwriters consent.

   29.   THIRD PARTY CLAIM ADMINISTRATOR means a duly qualified and competent firm that
         administers on behalf of the ASSURED all claims under this Policy, which shall include claims
         processing, adjustment, field investigation, data collection and reporting duties, including LOSS
         FUND tracking if a limit is stated in the Declarations under Excess Loss Fund Protection, in
         accordance with all statutory and regulatory standards and in accordance with all accepted industry
         standards and practices.

   30.   ULTIMATE NET LOSS means the total sum which the ASSURED is obligated to pay because of
         loss or damage covered under any Coverage Section of this Policy, either through adjudication or
         compromise, after first making proper deductions for all subrogation, RECOVERY(IES) and
         salvages.

         ULTIMATE NET LOSS also includes:

         (a)   Premium on attachment, appeal or similar bonds (but without any obligation on the part of
               Underwriters to apply for or furnish such bonds); or

         (b)   Expenses of lawyers, private investigators and other persons for litigation, settlement,
               adjustment and investigation of claims and SUITS which are paid as a consequence of any
               loss or damage covered hereunder.

   However, the ULTIMATE NET LOSS does not include:

         (c)   Any costs, fees and other expenses incurred by the ASSURED for litigation, settlement,
               adjustment and investigation of claims or SUITS for any loss or damage not covered under
               any Section of this Policy;

         (d)   Payment for any judgments or acts deemed uninsurable by law;

         (e)   Contractual fees paid to the ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR by the
               ASSURED for services rendered in administering, investigating or settlement of any claim for
               loss or damage;

         (f)   Payments, including salaries and expenses, to any employee or official of the ASSURED for
               services rendered in administering any claim for loss or damage; or

         (g)   Expenses incurred by the ASSURED or the ASSURED’S THIRD PARTY CLAIM
               ADMINISTRATOR in the hiring of experts or other specialists to establish the existence or
               value of a covered claim or OCCURRENCE unless specifically provided for in the Policy or
               agreed to in advance by Underwriters.

         Underwriters are liable only for the ULTIMATE NET LOSS in excess of the applicable
         MAINTENANCE DEDUCTIBLE and SELF INSURED RETENTION, and not more than the
         Specific Excess Limit of Insurance. Underwriters’ duty to indemnify ends when the applicable
         Specific Excess Limit of Insurance is exhausted by the payment of the ULTIMATE NET LOSS.

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   31.   UNMANNED AIRCRAFT means an aircraft that is not designed, manufactured or modified after
         manufacture to be controlled directly by a person from within or on the aircraft.

   32.   WRONGFUL ACT means any actual or alleged error or mis-statement, omission, act or neglect or
         breach of duty due to misfeasance, malfeasance, and non-feasance, Discrimination, and Violation of
         Civil Rights by the ASSURED.

         All claims based on or arising out of the same WRONGFUL ACT or a series of related
         WRONGFUL ACTS by one or more ASSUREDS shall be deemed one WRONGFUL ACT. Only
         one Policy issued by Underwriters, one SELF INSURED RETENTION, and one Specific Excess
         Limit of Insurance is applicable to any one WRONGFUL ACT.




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                                      Coverage Section I Property

                           Coverage Section I Property – Insuring Agreements

   A.   PROPERTY OF THE ASSURED (except AUTOMOBILES and Personal Property in transit):
        Underwriters agree, subject to the Policy limitations, terms and conditions to indemnify the
        ASSURED for All Risks of Direct Physical Loss or Damage, as more fully defined by the term
        ULTIMATE NET LOSS, occurring during the PERIOD OF INSURANCE to all Real and Personal
        Property, wherever located and identified in Schedules on file with Underwriters, unless provided
        for by the Automatic Acquisition Clause.

   B.   AUTOMOBILE PHYSICAL DAMAGE: Underwriters agree, subject to the Policy limitations, terms
        and conditions, to indemnify the ASSURED for All Risks of Direct Physical Loss or Damage, as
        more fully defined by the term ULTIMATE NET LOSS, occurring during the PERIOD OF
        INSURANCE to AUTOMOBILES owned by the ASSURED or on which the ASSURED has an
        obligation to provide insurance, wherever located.

   C.   EXTRA EXPENSE: Underwriters agree, subject to the Policy limitations, terms and conditions, to
        indemnify the ASSURED for EXTRA EXPENSE, due to the suspension of operations caused by
        Direct Physical Loss or Damage insured hereunder, occurring during the PERIOD OF INSURANCE
        to the PROPERTY OF THE ASSURED at the premises described in the Schedule of Locations on
        file with Underwriters.

   D.   Transit: Underwriters agree, subject to the Policy limitations, terms and conditions, to indemnify the
        ASSURED for All Risks of Direct Physical Loss or Damage, occurring during the PERIOD OF
        INSURANCE to Personal PROPERTY OF THE ASSURED, or property held by the ASSURED in
        trust or on commission or in the care, custody or control of the ASSURED or for which the
        ASSURED may be held legally liable, while in due course of transit.

   E.   BUSINESS INTERRUPTION: Underwriters agree, subject to the Policy limitations, terms and
        conditions, to indemnify the ASSURED for the actual loss of BUSINESS INCOME and RENTAL
        VALUE due to the necessary suspension of OPERATIONS during the PERIOD OF
        RESTORATION. The suspension must be caused by Direct Physical Loss or Damage insured
        hereunder, occurring during the PERIOD OF INSURANCE to the PROPERTY OF THE ASSURED
        at the premises described in the Schedule of Locations on file with Underwriters.


                   Coverage Section I Property – Specific Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per OCCURRENCE for Coverage Section I
   Property is limited to, and not to exceed, the Specific Excess Limits as stated in the Schedule of
   Specific Excess Limits of Insurance over the SELF INSURED RETENTION, as stated in the Schedule
   of SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any coverage hereunder, the total Aggregate Excess Limit of
   Insurance for such coverage under this Coverage Section shall not exceed the Annual Aggregate limit as
   stated in the applicable Coverage Section of the Schedule of Specific Excess Limits of Insurance.


                                 Coverage Section I Property – Conditions

   Amounts paid by Underwriters under any of the following clauses are part of, and not in addition to,
   Underwriters Specific Excess Limit of Insurance per OCCURRENCE for Coverage Section I Property
   as stated in the Schedule of Specific Excess Limits of Insurance in the Declarations including any
   applicable Annual Aggregate.


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   1.   Valuation:

        (a) Real and Personal Property (except ACCOUNTS RECEIVABLE, AUTOMOBILES, DATA
            PROCESSING, FINE ARTS, MOBILE EQUIPMENT AND VALUABLE PAPERS):

            Underwriters will indemnify the ASSURED for loss or damage based on the lesser of the cost to
            repair, rebuild or replace the destroyed or damaged property in a condition equal to, but not
            superior to, or more extensive, than its condition when new, provided that the ASSURED has
            commenced repairs, rebuilding, or replacement within two years of the date of loss or damage;
            and subject to the following conditions:

        However, the following conditions apply:

            If property damaged or destroyed covered Real or Personal Property is not repaired, rebuilt or
            replaced within two years after loss or damage, Underwriters shall not be liable for any amount
            to repair, rebuild, or replace in excess of the ACTUAL CASH VALUE of the property damaged
            or destroyed.

            The ASSURED may, at its discretion, elect to apply any RECOVERY for rebuilding or
            replacement due under this Section towards a new capital expenditure provided that:

             i. The new capital expenditure is made within two years of the date of loss or damage;

            ii. The new capital expenditure is in lieu of, and not in addition to, the Real or Personal
                Property damaged; and

            iii. The actual cost of the new capital expenditure is equal to, or greater than, the cost to
                 rebuild or replace the Real or Personal Property damaged.

            If the ASSURED decides to replace destroyed or damaged property on another site, cost of
            such site is not included.

        (b) ACCOUNTS RECEIVABLE: Underwriters will indemnify the ASSURED for actual loss
            sustained for sums due the ASSURED, including the expenses reasonably incurred in re-
            establishing the records of ACCOUNTS RECEIVABLE:

            i.    When there is proof that a covered loss has occurred but the ASSURED cannot accurately
                  establish the total amount of ACCOUNTS RECEIVABLE outstanding as of the date of such
                  loss, such amount shall be based on the ASSURED’S monthly statements and shall be
                  computed as follows:

                  (1) Determine the total of the average monthly amounts of ACCOUNTS RECEIVABLE at
                      the end of the twelve (12) months immediately preceding the month in which the loss or
                      damage occurs;

                  (2) Adjust that total for any normal fluctuations in the amount of ACCOUNTS
                      RECEIVABLE for the month in which the loss or damage occurred or for any
                      demonstrated variance from the average for that month.

            ii.   There shall be deducted from the total amount of ACCOUNTS RECEIVABLE, however
                  established:

                  (1) The amount of accounts not lost or damaged;

                  (2) The amount of the accounts the ASSURED is able to collect or re-establish;



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                 (3) An amount to allow for probable bad debts that the ASSURED is normally unable to
                     collect;

                 (4) All unearned interest and services charges.

        (c) AUTOMOBILE: Underwriters will indemnify the ASSURED based on the lesser of the cost to
            repair the AUTOMOBILE, or the ACTUAL CASH VALUE of the AUTOMOBILE at the time of
            loss; including the cost to rent a vehicle of like kind.

        (d) DATA PROCESSING: Underwriters will indemnify the ASSURED for:

            i.   DATA PROCESSING SYSTEMS based upon the lesser of the actual cost to replace or
                 repair the property. If the property is replaced, based upon the most closely equivalent
                 property available similar in kind and function to that insured hereunder.

            ii.. DATA PROCESSING MEDIA based upon the lesser of the actual cost to replace, repair or
                 reproduce the property, or if not replaced, repaired or reproduced, the blank hardware
                 value of the DATA PROCESSING MEDIA. If the property is replaced, based upon the most
                 closely equivalent property available similar in kind and function to that insured hereunder.

        (e) FINE ARTS: Underwriters will indemnify the ASSURED based on the lesser of the cost to
            repair the property, or if not repairable the replacement cost, or if not replaceable the appraised
            or market value.

        (f) MOBILE EQUIPMENT: Underwriters will indemnify the ASSURED for loss or damage based
            on the lesser of the cost to repair, rebuild or replace the destroyed or damaged property in a
            condition equal to, but not superior to, or more extensive, than its condition when new.

        (g) VALUABLE PAPERS: Underwriters will indemnify the ASSURED based on the lesser of the
            cost to replace, repair or reproduce the property with other of like kind, or if not replaced,
            repaired or reproduced the blank value of the VALUABLE PAPERS.

        (h) Vacant Buildings: Underwriters will indemnify the ASSURED based on the lesser of the cost to
            repair a covered building or the ACTUAL CASH VALUE of a covered building that has been
            vacant for a period of more than ninety (90) consecutive days at the time of loss.

            Vacant means a covered building that is abandoned.

            A covered building that is unoccupied is not considered vacant. A covered building is
            considered unoccupied when the building contains contents to conduct the ASSURED’S
            customary operations, but such operations are temporarily suspended.

            A covered building under construction or renovation is not considered vacant.

   2.   Expense to Reduce or Prevent Loss: Underwriters will indemnify the ASSURED for expenses
        necessarily incurred to reduce or prevent any loss under this Policy, not exceeding, however, the
        amount by which the loss under this [insurance] is thereby reduced.

   3.   Debris Removal: In the event of a direct physical loss or damage to the property covered under
        this Policy, Underwriters will indemnify the ASSURED for expenses incurred in removal of debris,
        and the cost of clean-up (other than POLLUTANTS) of the insured property destroyed or damaged,
        from the premises of the ASSURED.

   4.   Asbestos and Lead Clean Up and Removal: Notwithstanding General Policy Exclusion F. in
        this Policy, Underwriters agree to extend Coverage Section I Property to cover expense to
        remove damaged asbestos or lead from any structure due to the enforcement of any law or

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        ordinance regulating asbestos or lead, when the asbestos or lead is itself damaged by a Peril not
        otherwise excluded under this Policy, and then only to the extent of such damage.

   5.   Architects’ and Engineers’ Fees: This Policy covers the additional assessment involving
        architects’ and engineers’ fees for consultations arising from losses resulting from a Peril not
        otherwise excluded under this Policy.

   6.   Civil Authority Clause: Notwithstanding anything contained in this Policy, property which is
        insured under this Policy is also covered against the risk of damage or destruction by civil authority
        during a conflagration, and for the purpose of retarding the same; provided that neither such
        conflagration or destruction is caused or contributed to by war (including undeclared or civil war),
        warlike action by a military force (including action in hindering or defending against an actual or
        expected attack, by any government, sovereign or other authority using military personnel or other
        agents), insurrection, rebellion, revolution, usurped power, or action taken by governmental
        authority in hindering or defending against any of these. This coverage includes damage or
        destruction by civil authority during a conflagration, and for the purpose of retarding the same, if
        caused by terrorists or secretly by a foreign enemy or agent of any government or sovereign power,
        when not in connection with the operations of armed forces in or against the country where the
        described location is situated.

   7.   Ordinance Deficiency Clause: If Building property is damaged or destroyed by Perils not
        otherwise excluded under this Policy, Underwriters shall be liable for the increased cost to repair or
        reconstruct that Building property, including the undamaged part of that Building property, but only
        when the increased cost is a consequence of enforcement of any federal, state or municipal law,
        ordinance or code which necessitates such increased cost to repair or reconstruct to meet the
        minimum of such requirements. If demolition is required to comply with such enforcement,
        Underwriters shall also be liable for such additional cost, including the cost to demolish and clear
        undamaged parts of the Building property. Underwriters will not pay such increased cost to repair or
        reconstruct if the Building property is not repaired or reconstructed.

   8.   Automatic Acquisition Clause: This insurance is automatically extended to cover additional
        property and/or interests of the ASSURED, usual and/or incidental to the operations of the
        ASSURED, which do not exceed the Newly Acquired Property Reporting Limit stated in the
        Schedule of Specific Excess Limits of Insurance, and which are acquired, or for which the
        ASSURED becomes legally liable, during the PERIOD OF INSURANCE under this Policy.

        This Policy is further extended to cover additional property and/or interests of the ASSURED, usual
        and/or incidental to the operations of the ASSURED, when newly acquired property values exceed
        the Newly Acquired Property Reporting Limit stated in the Schedule of Specific Excess Limits of
        Insurance, provided the ASSURED reports details of said property and/or interests to Underwriters
        for premium consideration within ninety (90) consecutive days from the date the ASSURED
        acquires or becomes legally liable for the property provided that the property is acquired or interests
        secured during the PERIOD OF INSURANCE under this Policy.

   9.   Unintentional Errors and Omissions: The property insured under this Policy, and its insured
        value, is the property and values shown on the Schedule of Values on file with Underwriters, as
        submitted by the ASSURED prior to the inception of this Policy.

        If any PROPERTY OF THE ASSURED is omitted or undervalued because of negligence, error or
        oversight of the ASSURED, Underwriters will accept that property provided it is usual or incidental
        to the ASSURED’S operations. Such omission will not prejudice the ASSURED’S right of
        RECOVERY under this Policy; except that for any PROPERTY OF THE ASSURED unintentionally
        omitted from the Schedule of Values on file with Underwriters, Underwriters shall not be liable for
        any amount to repair, rebuild, or replace in excess of the ACTUAL CASH VALUE of the property
        until payment of any applicable additional premium for the PERIOD OF INSURANCE that the
        PROPERTY OF THE ASSURED was unintentionally omitted from the Schedule of Values on file

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         with Underwriters by the ASSURED, as calculated by Underwriters, has been paid. Upon receipt of
         payment of the additional premium by Underwriters, the liability of Underwriters will revert to its
         liability as outlined in Coverage Section I Property – Conditions 1.(a). The ASSURED agrees to
         report to Underwriters any omission of property as soon as practicable after it is discovered.

   10.   Joint Loss Clause: In the event of damage to or destruction of property, at a location designated
         in this Policy and also designated in a boiler and machinery insurance policy and there is a
         disagreement between the insurers with respect to:

         (a) Whether such damage or destruction was caused by a Peril insured against by this Policy or by
             an accident insured against by such boiler and machinery insurance Policy; or

         (b) The extent of participation of this Policy and of such boiler and machinery insurance policy in a
             loss which is insured against, partially or wholly, by any or all policies.

             Underwriters shall, upon written request of the NAMED ASSURED, pay to the NAMED
             ASSURED one-half of the amount of loss which is in disagreement, but in no event more than
             Underwriters would have paid if there had been no boiler and machinery insurance Policy in
             effect, subject to the following conditions:

             i.    The amount of the loss which is in disagreement after making provisions for any undisputed
                   claims payable under the said policies and after the amount of loss is agreed upon by the
                   ASSURED and the insurers, is limited to the minimum amount remaining payable by any or
                   all policies;

             ii.   The boiler and machinery insurer shall simultaneously pay to the ASSURED one-half of
                   said amount which is in disagreement;

             iii. The payments by the insurers hereunder and acceptance of the same by the ASSURED
                  signify the agreement of the insurers to submit to and proceed with arbitration within ninety
                  (90) consecutive days of such payments. The arbitrators shall be three in number, one of
                  which shall be appointed by the boiler and machinery insurer and one of whom shall be
                  appointed by Underwriters hereon and the third appointed by consent of the other two
                  arbitrators, the decision by the arbitrators shall be binding on the insurers and that
                  judgment upon such award may be entered in any court of competent jurisdiction;

             iv. The ASSURED agrees to cooperate in connection with such arbitration but not to intervene
                 within;

             v.    The provisions of this clause shall not apply unless such other Policy issued by the boiler
                   and machinery insurance company contains a similar clause or is similarly endorsed;

             vi. Acceptance by the ASSURED of sums paid pursuant to the provisions of this clause
                 including an arbitration award, shall not operate to alter, waive, surrender or in any way
                 affect the rights of the ASSURED against any of the insurers.


                                   Coverage Section I Property – Exclusions

   In addition to the General Exclusions of this Policy, this Coverage Section does not insure
   against:

   A.    Any claim for damages, whether direct or consequential, or for any cause of action which is covered
         under any other Section of this Policy, whether or not a limit is stated in the Schedule of Specific
         Excess Limits of Insurance;



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   B.   Loss by moth, termite, or other insect(s); by vermin; by wear or tear; by rust, erosion, corrosion or
        other gradual deterioration; or by wet rot, dry rot or FUNGAL PATHOGEN, unless a loss from a
        peril not otherwise excluded ensues, and then only for direct loss or damage caused by such peril;

   C.   Loss as a result of lack of proper maintenance;

   D.   Loss of use (except as respects Coverage Section I Property – Insuring Agreements B.
        AUTOMOBILE Physical Damage and C. EXTRA EXPENSE and MOBILE EQUIPMENT), delay or
        loss of markets;

   E.   Direct loss by breakdown of machinery and/or explosion of steam boilers, steam pipes, steam
        engines or steam turbines, unless a loss from a peril not otherwise excluded ensues, and then only
        for direct loss or damage caused by such peril. This exclusion does not apply to loss or damage
        caused by or resulting from the explosion of gases or fuel within the furnace of any fired vessel or
        within the flues or passages through which the gases of combustion pass;

   F.   Loss of electrical appliances or devices of any kind, including wiring, arising from electrical injury or
        disturbance to the said electrical appliances or devices or wiring from artificially generated electrical
        current unless fire and/or explosion ensues, and then only for direct loss or damage caused by
        such ensuing fire and/or explosion, except as may be covered under DATA PROCESSING;

   G.   Loss resulting from variation of humidity or temperature, shrinkage, evaporation, loss of weight or
        leakage in respect of a temperature controlled environment: unless a loss from a peril not otherwise
        excluded ensues, and then only for direct loss or damage caused by such peril;

   H.   Loss by normal settling, normal shrinkage, or expansion of foundations, floors or ceilings;

   I.   Inventory shortage, mysterious disappearances or loss resulting from any kind of infidelity or
        dishonesty on the part of the ASSURED or any employees; whether alone or in collusion with
        others;

   J.   Penalties for non-completion or delay as respects property in course of construction or undergoing
        renovation;

   K.   Loss by mechanical derangement, inherent defect or latent defect; unless a loss from a peril not
        otherwise excluded ensues, and then only for direct loss or damage caused solely by such ensuing
        peril;

   L.   Loss resulting from processing or faulty workmanship with regard to all Property, unless a loss from
        a peril not otherwise excluded ensues, and then only for direct loss or damage caused solely by
        such ensuing peril;

   M.   Loss of or damage to animals;

   N.   Loss of or damage to aircraft including UNMANNED AIRCRAFT;

   O.   Loss of or damage to watercraft over fifty (50) feet;

   P.   Loss of or damage to standing timber, growing crops, land and land value;

   Q.   Loss of or damage to accounts, bills, currency, money, notes, securities, deeds, evidences of
        debts;

   R.   Loss of or damage to underground pipes, sewers, flues and drains outside of the covered building,
        unless as otherwise listed on the Schedule of Values on file with Underwriters;



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   S.   Loss of or damage to ACCOUNTS RECEIVABLE due to electrical or magnetic injury, disturbance
        or erasure of electronic recordings, except by lightning, or as covered under DATA PROCESSING;

   T.   Loss of or damage to:

        (a) DATA PROCESSING MEDIA due to electrical or magnetic injury, disturbance or erasure of
            electronic recordings, except by lightning;

        (b) DATA PROCESSING SYSTEMS and DATA PROCESSING MEDIA due to dryness or
            dampness of atmosphere, extremes of temperature, corrosion, rust unless directly resulting
            from physical damage to the DATA PROCESSING SYSTEM’S air conditioning facilities caused
            by a Peril not otherwise excluded hereunder directly resulting therefrom;

        (c) DATA PROCESSING SYSTEMS and DATA PROCESSING MEDIA due to loss of or damage
            to DATA PROCESSING MEDIA for accounts, bills, evidences of debt, VALUABLE PAPERS,
            records, abstracts, deeds, manuscripts or other documents, except as they may be converted
            to DATA PROCESSING MEDIA form, and then only in that form;

        (d) DATA PROCESSING SYSTEMS and DATA PROCESSING MEDIA due to loss or damage
            caused by error in machine programming or instructions to machine.

   U.   Loss of or damage to electrical transmission and distribution lines outside of a covered building,
        unless as otherwise listed on the Schedule of Values on file with Underwriters.

   V.   Loss due to or resulting from FLOOD AND SURFACE WATER for any Property in Flood Zone A,
        Zone AO, Zone AH, Zones A1-A30, Zone AE, Zone A99, Zone AR, Zone AR/AE, Zone AR/AO,
        Zone AR/A1-A30, Zone AR/A, Zone V, Zone VE, and Zones V1-V30 or to any other Flood Zone
        with a designation that begins with the letter A or V.

   W.   Direct loss due to freeze as result of any intentional or negligent failure to:

        (a) Properly and sufficiently maintain heat in any unoccupied or vacant building or property,
            regardless of the length of or reason for any unoccupancy or vacancy, in accordance with all
            applicable standards or guidelines.

        (b) Properly and sufficiently protect machinery, pipes, other systems and/or equipment in
            accordance with all applicable standards, guidelines or manufacturer’s instructions.



                                  Coverage Section I Property – Definitions

   1.   ACCOUNTS RECEIVABLE means the sums due the ASSURED from customers; interest charges
        on any loan to offset impaired collections pending repayment of such sums; collection expense in
        excess of normal collection cost.

   2.   ACTUAL CASH VALUE means the present day value of the cost to repair, rebuild, or replace
        property at the time of loss after first deducting for any physical wear and tear, and obsolescence of
        the property.

   3.   DATA PROCESSING means the ELECTRONIC DATA PROCESSING SYSTEMS and DATA
        PROCESSING MEDIA owned, leased or rented, or under the control of the ASSURED or for which
        the ASSURED is liable.

   4.   DATA PROCESSING MEDIA means the recording or storage devices such as films, tapes, discs,
        drums or cells, used for ELECTRONIC DATA PROCESSING.

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    5.      DATA PROCESSING SYSTEMS means the equipment and its component parts.

    6.      FINE ARTS means paintings, etchings, pictures, tapestries, and other bona fide works of art
            including but not limited to statuary, marbles, bronzes, antique furniture, rare books, antique silver,
            rare manuscripts, porcelains, rare glass, and bric-a-brac of rarity, historical value or artistic merit.

    7.      OCCURRENCE means an accident or accidental happening or accidental event or a series of
            related accidents or accidental happenings or accidental events involving one or more ASSUREDS
            which results in a direct physical damage or loss to the PROPERTY OF THE ASSURED that is
            both unexpected and unintended by the ASSURED(S). Only one Policy, one SELF INSURED
            RETENTION, and one Specific Excess Limit of Insurance is applicable to any one
            OCCURRENCE.

    8.      VALUABLE PAPERS means written, printed or otherwise inscribed documents and records,
            including books, maps, films, drawings, abstracts, deeds, mortgages and manuscripts, but does not
            mean money or securities.


                                 Coverage Section I Property – EXTRA EXPENSE

    If property under Coverage Section I Property is damaged or destroyed by Perils insured against during
    the PERIOD OF INSURANCE which necessitates the incurrence of EXTRA EXPENSE, Underwriters will
    be liable for this EXTRA EXPENSE, not exceeding the actual loss sustained, and not exceeding such
    length of time, hereinafter referred to as the PERIOD OF RESTORATION. It is further agreed that this
    Extension in coverage does not increase, but just forms part of, Underwriters’ Specific Excess Limit of
    Insurance as shown in the Schedule of Specific Excess Limits of Insurance.

    This Extension also includes loss to DATA PROCESSING when (1) the premises in which the property is
    located is so damaged as to prevent access to such property or (2) as a direct result of a Peril insured
    against, the air conditioning system or electrical system necessary for the operation of the DATA
    PROCESSING SYSTEMS is so damaged as to reduce or suspend the ASSURED’S ability to actually
    perform the operations normally performed by the DATA PROCESSING SYSTEMS. EXTRA EXPENSE
    for DATA PROCESSING includes the expense of using other property or facilities of other concerns or
    other necessary emergency expenses.


                           Coverage Section I Property – EXTRA EXPENSE Conditions

     1.     Resumption of Operations: It is a condition of this Policy that as soon as practical, the
            ASSURED will resume NORMAL business operations and dispense with EXTRA EXPENSE.

    2.      Interruption by Civil Authority: Coverage hereunder is extended to include actual loss sustained
            when access to the premises in which the PROPERTY OF THE ASSURED is located is prohibited
            by order of civil authority as a direct result of loss caused by a Peril insured against.




                           Coverage Section I Property – EXTRA EXPENSE Exclusions

    In addition to General Policy – Exclusions and Coverage Section I Property – Exclusions, this
    Extension does not insure against:

    A.      The suspension, lapse or cancellation of any lease, license, contract or order beyond the PERIOD
            OF RESTORATION;



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   B.   Interference at premises by strikers or other persons with the rebuilding, repairing or replacing of
        the property damaged or destroyed, or with the resumption or continuation of business;

   C.   Loss of income, profits or earnings;

   D.   The cost of repairing or replacing any of the Real or Personal Property covered hereunder, or the
        cost of research or other expense necessary to replace or restore damaged or destroyed books of
        account, abstracts, drawings, card index systems or other records (including film, tape, disc, drum,
        cell or other magnetic recordings or DATA PROCESSING MEDIA), that have been damaged or
        destroyed by the Perils insured against, except cost in excess of the normal cost of such repair,
        replacement or restoration necessarily incurred for the purpose of reducing loss under this Policy.
        In no event shall such excess cost exceed the amount by which the total EXTRA EXPENSE loss
        otherwise payable under this Policy is thereby reduced;

   E.   Loss resulting from theft of any property which at the time of loss is not an integral part of a building
        or structure (except direct loss by pillage and looting occurring during and at the immediate place or
        a riot or civil commotion), unless loss by a Peril covered under this Policy ensues from theft or
        attempted theft, and then Underwriters are liable for only such ensuing loss;

   F.   Any other consequential loss.


                       Coverage Section I Property – EXTRA EXPENSE Definitions

   1.   EXTRA EXPENSE means the excess (if any) of the total cost incurred during the PERIOD OF
        RESTORATION chargeable to the continuance of the ASSURED’S operations, over and above the
        total cost that would normally have been incurred to conduct those operations during the same
        period had there been no direct physical loss or damage to the property.

        Any salvage value of property obtained for temporary use during the PERIOD OF RESTORATION
        which remains after resumption of NORMAL operations, will be taken into consideration in the
        adjustment of any loss incurred.

   2.   NORMAL means the condition that would have existed had no loss occurred.

   3.   PERIOD OF RESTORATION means the period of time that:

        (a) Begins after a direct physical loss or damage to the ASSURED’S property; and

        (b) Ends the earlier of:

            (i) The date when the property or such part of property that was damaged or destroyed at the
                Schedule of Locations on file with Underwriters is repaired, rebuilt or replaced with
                reasonable speed or similar quality; or

            (ii) The date when the property or such part of property that was damaged or destroyed could
                 have been repaired, rebuilt or replaced with the exercise of due diligence; or

            (iii) The date when business is resumed at a new permanent location or at the same repaired,
                  rebuilt or replaced location.

        PERIOD OF RESTORATION does not include any increased period required due to the
        enforcement of any ordinance or law that:

        (c) Regulates the construction, use or repair, or requires the tearing down of any property; or


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         (d) Requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
             neutralize, or in any way respond to, or assess the effects of POLLUTANTS.

         The PERIOD OF RESTORATION is not limited by the expiration date of this Policy.


                                    Coverage Section I Property – Transit

   This Policy covers Personal PROPERTY OF THE ASSURED or property held by the ASSURED in trust
   or on commission or in the care, custody or control of the ASSURED or for which the ASSURED may be
   held legally liable while in due course of transit against All Risks of Direct Physical Loss or Damage to the
   property insured occurring during the PERIOD OF INSURANCE of this Policy (including general average
   and salvage charges on shipments covered while waterborne). It is further agreed that this Extension in
   coverage does not increase, but just forms part of, Underwriters Specific Excess Limits of Insurance as
   shown in the Schedule of Specific Excess Limits of Insurance.

   The ASSURED may accept ordinary Bills of Lading or receipts insured by carriers including those
   containing released and/or partially released value provisions, but the ASSURED shall not agree to
   release carriers from their common law or statutory liability.


                              Coverage Section I Property – Transit Exclusions

   In addition to General Policy – Exclusions and Coverage Section I Property – Exclusions, this
   Extension does not insure against:

   A.    Shrinkage, evaporation, loss of weight, leakage, breakage of glass or other fragile articles, marring,
         scratching, exposure to light, or change in color, texture or flavor, unless such loss is caused by a
         Peril not otherwise excluded in this Policy;

   B.    Loss caused by or resulting from misappropriation, conversion, infidelity or any dishonest act on the
         part of the ASSURED or other party of interest, or employees or agents or others to whom the
         property may be delivered or entrusted (carriers for hire excepted);

   C.    Loss caused by breakdown or derangement of refrigerating units;

   D.    Shipments by mail after delivery into the custody of any governmental postal service.


                         Coverage Section I Property – BUSINESS INTERRUPTION


   If property under Coverage Section I Property is damaged or destroyed by Perils insured against during
   the PERIOD OF INSURANCE which necessitates suspension of operations, Underwriters will be liable for
   loss of BUSINESS INCOME and RENTAL VALUES not exceeding the actual loss sustained, and not
   exceeding such length of time, hereinafter referred to as the PERIOD OF RESTORATION. It is further
   agreed that this Extension in coverage does not increase, but just forms part of, Underwriters Specific
   Excess Limits of Insurance as shown in the Schedule of Specific Excess Limits of Insurance.

                   Coverage Section I Property – BUSINESS INTERRUPTION Conditions

   1.    Valuation: Underwriters will indemnify the ASSURED for the amount of BUSINESS INCOME or
         RENTAL VALUES loss based on:

         (a) The Net Income of the business before the direct physical loss or damage occurred;


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        (b) The likely Net Income of the business if no loss or damage occurred;

        (c) The operating expenses including payroll expenses, necessary to resume OPERATIONS with
            the same quality of service that would have existed if no direct physical loss or damage
            occurred; and

        (d) Other relevant sources of information including:

            (i) Financial records and accounting procedures;

            (ii) Bills, invoices, and other vouchers;

            (iii) Deeds, liens or contracts.

   2.   Resumption of OPERATIONS: Underwriters will reduce the amount of the ASSURED’S
        BUSINESS INCOME or RENTAL VALUES loss to the extent the ASSURED can resume
        OPERATIONS, with reasonable speed, in whole or in part, by using damaged or undamaged
        property at the described scheduled premises or elsewhere.

        If the ASSURED does not resume OPERATIONS with reasonable speed, or does not resume
        OPERATIONS in whole or in part, Underwriters will indemnify the ASSURED for a BUSINESS
        INCOME or RENTAL VALUES loss based on the length of time it would have taken to resume
        OPERATIONS with reasonable speed, or to resume OPERATIONS in whole or in part.

   3.   Interruption by Civil Authority: Coverage hereunder is extended to include actual loss sustained
        when access to the premises in which the PROPERTY OF THE ASSURED is located is prohibited
        by order of civil authority as a direct result of loss caused by a Peril insured against.

   4.   Expenses to Reduce Loss: If there is a BUSINESS INCOME or RENTAL VALUES loss
        Underwriters will indemnify the ASSURED for expenses necessarily incurred to reduce further loss
        of BUSINESS INCOME or RENTAL VALUES. The total loss payment for BUSINESS INCOME or
        RENTAL VALUES loss, and expense to reduce loss will not be more than the BUSINESS INCOME
        or RENTAL VALUES loss that would have been payable under this Extension if the expenses to
        reduce loss had not been incurred.

   5.   BUSINESS INCOME: If the necessary suspension of the ASSURED’S OPERATIONS produces a
        BUSINESS INCOME loss payable under this Policy, Underwriters will indemnify the ASSURED for
        the actual loss of BUSINESS INCOME incurred during the PERIOD OF RESTORATION that would
        have existed if no direct physical loss or damage had occurred. This coverage applies only if a
        SUBLIMIT is stated in the Schedule of Specific Excess Limits of Insurance.

   6.   RENTAL VALUES: If the necessary suspension of the ASSURED’S OPERATIONS produces a
        RENTAL VALUES loss payable under this Policy, Underwriters will indemnify the ASSURED for
        the actual loss of RENTAL VALUES incurred during the PERIOD OF RESTORATION, and up to
        ninety (90) consecutive days thereafter, that would have existed if no direct physical loss or
        damage had occurred. This coverage applies only if a SUBLIMIT is stated in the Schedule of
        Specific Excess Limits of Insurance.

                 Coverage Section I Property – BUSINESS INTERRUPTION Exclusions

   In addition to General Policy – Exclusions and Coverage Section I Property – Exclusions, this
   Extension does not insure against:

   A.   The suspension, lapse or cancellation of any lease, license, contract or order beyond the PERIOD
        OF INSURANCE;



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   B.   Interference at premises by strikers or other persons with the rebuilding, repairing or replacing the
        property damaged or destroyed or with the resumption or continuation of business;

   C.   Enforcement of any local or state ordinance or law regulating the construction, repair or demolition
        of buildings or structures;

   D.   Any other consequential loss.


                  Coverage Section I Property – BUSINESS INTERRUPTION Definitions

   1.   BUSINESS INCOME means the:

        (a) Net Income (Net Profit or Loss before income taxes) that would have been earned or incurred;
            and

        (b) Continuing normal operating expenses incurred, including payroll.

   2.   BUSINESS INTERRUPTION means the loss sustained during the suspension of OPERATIONS as
        a result of direct physical damage to the property insured.

   3.   OPERATIONS means:

        (a) The ASSURED’S business activities occurring at the scheduled premises; and

        (b) The tenantability of the scheduled premises, (only if coverage for BUSINESS INTERRUPTION
            includes RENTAL VALUES).

   4.   PERIOD OF RESTORATION means the period of time that:

        (a) Begins after a direct physical loss or damage to the ASSURED’S property; and

        (b) Ends on the earlier of:

            (i) The date when the property or such part of property that was damaged or destroyed at the
                Schedule of Locations on file with Underwriters is repaired, rebuilt or replaced with
                reasonable speed or similar quality; or

            (ii) The date when the property or such part of property that was damaged or destroyed could
                 have been repaired, rebuilt or replaced with the exercise of due diligence; or

            (iii) The date when business is resumed at a new permanent location or at the same repaired,
                  rebuilt or replaced location.

        PERIOD OF RESTORATION does not include any increase period required due to the
        enforcement of any ordinance or law that:

        (c) Regulates the construction, use or repair, or requires the tearing down of any property; or

        (d) Requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
            neutralize, or in any way respond to, or assess the effects of POLLUTANTS.

        The PERIOD OF RESTORATION is not limited by the Expiration Date of this Policy.

   5.   RENTAL VALUES means the:



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        (a) Total anticipated rental income from tenant occupancy at the premises in the Schedule of
            Locations on file with Underwriters as furnished and equipped by the ASSURED; and

        (b) Amount of all charges which are the legal obligation of the tenant(s) and which would otherwise
            be the ASSURED’S obligations; and

        (c) Fair RENTAL VALUES for any portion of the premises stated in the Schedule of Locations on
            file with Underwriters, which is occupied by the ASSURED.




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                                 Coverage Section II General Liability
                      Coverage Section II General Liability – Insuring Agreements

   A.   General Liability: Underwriters agree, subject to the Policy limitations, terms and conditions, to
        indemnify the ASSURED for all sums which the ASSURED is legally obligated to pay by reason of
        the liability imposed upon the ASSURED by law or assumed by the ASSURED under contract or
        agreement, for damage direct or consequential, and expenses, all as more fully defined by the term
        ULTIMATE NET LOSS, on account of PERSONAL INJURY or BODILY INJURY, suffered or
        alleged to have been suffered by any person(s) or organization(s), and/or PROPERTY DAMAGE or
        the loss of use thereof, arising out of an OCCURRENCE from any cause including HOST LIQUOR
        LIABILITY and/or LIQUOR LIABILITY, and INCIDENTAL MEDICAL MALPRACTICE (except
        INCIDENTAL MEDICAL MALPRACTICE, arising out of LAW ENFORCEMENT ACTIVITIES)
        occurring during the PERIOD OF INSURANCE.

   B.   Premises MEDICAL PAYMENTS: Underwriters agree, subject to the Policy limitations, terms and
        conditions, to indemnify the ASSURED for all reasonable MEDICAL PAYMENTS incurred by the
        ASSURED to others (except employees of the ASSURED injured in t h e course of their
        employment, and to and for students), as are necessary at the time of an OCCURRENCE on
        account of BODILY INJURY occurring during the PERIOD OF INSURANCE. This coverage applies
        only if a SUBLIMIT is stated in the Schedule of Specific Excess Limits of Insurance under
        Coverage Section II General Liability.

   C.   SEXUAL HARASSMENT Liability: Underwriters agree, subject to the Policy limitations,
        exclusions, terms and conditions, to indemnify the NAMED ASSURED for all sums which the
        NAMED ASSURED is legally obligated to pay, as more fully defined by the term ULTIMATE NET
        LOSS, for the liability on the part of the NAMED ASSURED, including liabilities arising from
        negligent hiring, training and supervision, arising out of any OCCURRENCE resulting from any
        actual or alleged acts by any past, present or future official, board or commission member, trustee,
        director, employee or volunteer worker, of the NAMED ASSURED or other person or persons of
        SEXUAL HARASSMENT first committed during the PERIOD OF INSURANCE against another
        person who is not an ASSURED under this Policy. This provision applies only to the liability of the
        NAMED ASSURED to pay any settlement, verdict or judgment; providing that the sole liability
        imposed on the NAMED ASSURED does not arise from any contractual duty to indemnify a past,
        present or future official, board or commission member, trustee, director, employee or volunteer
        worker of the NAMED ASSURED. This coverage applies only if a SUBLIMIT and SELF INSURED
        RETENTION for SEXUAL HARASSMENT Liability is stated in the Schedule of Specific Excess
        Limits of Insurance and the Schedule of SELF INSURED RETENTIONS under Coverage
        Section II General Liability.

        Underwriters will not make payment for any loss, OCCURRENCE, SUIT or for any DEFENSE
        COSTS for any past, present or future official, board or commission member, trustee, director,
        employee or volunteer worker of the NAMED ASSURED or other person or persons in respect of
        actual or alleged SEXUAL HARASSMENT; however, with respect only to this Coverage Section II
        General Liability – Insuring Agreement C SEXUAL HARASSMENT, Underwriters agree, subject
        to all other Policy limitations, terms and conditions, that as to any loss, OCCURRENCE or SUIT for
        any actual or alleged SEXUAL HARASSMENT against another person who is not an ASSURED
        under this Policy alleged to have been committed by a past, present or future official, board or
        commission member, trustee, director, employee or volunteer worker of the NAMED ASSURED
        only, Underwriters will indemnify that official, board or commission member, trustee, director,
        employee or volunteer worker of the NAMED ASSURED for all reasonable DEFENSE COSTS to
        the extent such DEFENSE COSTS are incurred prior to the date on which, by either agreement,
        admission, or settlement of a loss or by an adjudication, it is determined that the official, board or
        commission member, trustee, director, employee or volunteer worker of the NAMED ASSURED
        committed an act of SEXUAL HARASSMENT. Coverage only applies if the act of SEXUAL
        HARASSMENT was first committed during the PERIOD OF INSURANCE. Further, this coverage
        applies only if a SUBLIMIT and SELF INSURED RETENTION for SEXUAL HARASSMENT

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        Liability is stated in the Schedule of Specific Excess Limits of Insurance and the Schedule of
        SELF INSURED RETENTIONS under Coverage Section II General Liability.

   D.   SEXUAL ABUSE Liability: Underwriters agree, subject to the Policy limitations, exclusions, terms
        and conditions, to indemnify the NAMED ASSURED for all sums which the NAMED ASSURED is
        legally obligated to pay, as more fully defined by the term ULTIMATE NET LOSS, for the liability on
        the part of the NAMED ASSURED, including liabilities arising from negligent hiring, training and
        supervision, out of any OCCURRENCE resulting from any actual or alleged acts by past, present or
        future official, board or commission member, trustee, director, employee, or volunteer worker of the
        NAMED ASSURED or other person or persons of SEXUAL ABUSE first committed during the
        PERIOD OF INSURANCE against another person who is not an ASSURED under this Policy. This
        provision applies only to the liability of the NAMED ASSURED to pay any settlement, verdict or
        judgment; providing that the sole liability imposed on the NAMED ASSURED does not arise from
        any contractual duty to indemnify an past, present or future official, board or commission member,
        trustee, director, employee, or volunteer worker of the NAMED ASSURED. This coverage applies
        only if a SUBLIMIT and SELF INSURED RETENTION for SEXUAL ABUSE Liability is stated in the
        Schedule of Specific Excess Limits of Insurance and the Schedule of SELF INSURED
        RETENTIONS under Coverage Section II General Liability.

        Underwriters will not make payment for any loss, OCCURRENCE, SUIT or for any DEFENSE
        COSTS for past, present or future official, board or commission member, trustee, director,
        employee, or volunteer worker of the NAMED ASSURED or other person or persons in respect of
        actual or alleged SEXUAL ABUSE; however, with respect only to this Coverage Section II
        General Liability – Insuring Agreement D. SEXUAL ABUSE, Underwriters agree, subject to all
        other Policy limitations, terms and conditions, that as to any loss, OCCURRENCE or SUIT for any
        actual or alleged SEXUAL ABUSE against another person who is not an ASSURED under this
        Policy alleged to have been committed by a past, present or future official, board or commission
        member, trustee, director, employee, or volunteer worker of the NAMED ASSURED only,
        Underwriters will indemnify that official, board or commission member, trustee, director, employee,
        or volunteer worker of the NAMED ASSURED for all reasonable DEFENSE COSTS to the extent
        such DEFENSE COSTS are incurred prior to the date on which, by either agreement, admission, or
        settlement of a loss or by an adjudication, it is determined that the official, board or commission
        member, trustee, director, employee, or volunteer worker committed of the NAMED ASSURED an
        act of SEXUAL ABUSE. Coverage only applies if the act of SEXUAL ABUSE was first committed
        during the PERIOD OF INSURANCE. Further, this coverage applies only if a SUBLIMIT and SELF
        INSURED RETENTION for SEXUAL ABUSE Liability is stated in the Schedule of Specific
        Excess Limits of Insurance and the Schedule of SELF INSURED RETENTIONS under
        Coverage Section II General Liability.

        Neither this coverage nor any subsequent coverage provided by Underwriters will apply to any
        SEXUAL ABUSE involving the same official, board or commission member, trustee, director,
        employee, or volunteer worker of the NAMED ASSURED or other person or persons which
        occurred after the DISCOVERY by any of the NAMED ASSURED’S officials, trustees, directors,
        officers or partners of any actual, attempted or pending alleged SEXUAL ABUSE by said
        perpetrator.

        Following DISCOVERY of any actual, attempted or pending alleged SEXUAL ABUSE during the
        PERIOD OF INSURANCE, the NAMED ASSURED shall give notification of such DISCOVERY to
        Underwriters as soon as practicable but no more than 120 consecutive days after the initial
        DISCOVERY, and in any event within the PERIOD OF INSURANCE or sixty (60) consecutive days
        after the expiration of the PERIOD OF INSURANCE during which the OCCURRENCE of SEXUAL
        ABUSE first took place; whichever is later. Any failure to comply with this provision for any reason
        whatsoever will result in the absolute exclusion of any resulting SEXUAL ABUSE claim or claims,
        irrespective of whether Underwriters have been prejudiced by said failure.




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   E.    Damage to Premises Rented to the ASSURED: Underwriters agree, subject to the Policy
         limitations, terms and conditions, to indemnify the ASSURED for all sums which the ASSURED is
         legally obligated to pay for loss or damage caused by fire, explosion, smoke, riot or civil commotion
         occurring during the PERIOD OF INSURANCE to premises rented to the ASSURED or temporarily
         occupied by the ASSURED with the permission of the owner. This coverage applies only if a
         SUBLIMIT and SELF INSURED RETENTION for Damage to Premises Rented to the ASSURED
         is stated in the Schedule of Specific Excess Limits of Insurance and the Schedule of SELF
         INSURED RETENTIONS under Coverage Section II General Liability.



                     Coverage Section II General Liability – Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per OCCURRENCE for Coverage Section II General
   Liability is limited to, and not to exceed, the Specific Excess Limits as stated in the Schedule of Specific
   Excess Limits of Insurance, over the SELF INSURED RETENTION, as stated in the Schedule of
   SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any coverage under this Coverage Section II General Liability, the
   total Aggregate Excess Limit of Insurance for such coverage under this Coverage Section combined
   during the PERIOD OF INSURANCE shall not exceed the Annual Aggregate limit as stated in the
   applicable Coverage Section of the Schedule of Specific Excess Limits of Insurance.


                              Coverage Section II General Liability – Exclusions

   In addition to the General Policy – Exclusions, this Coverage Section does not insure against:

   A.    Any claim for damages, whether direct or consequential, or for any cause of action which is covered
         under any other Section of this Policy, whether or not a limit is stated in the Schedule of Specific
         Excess Limits of Insurance;

   B.    BODILY INJURY, PROPERTY DAMAGE, or PERSONAL INJURY which the ASSURED intended
         or expected; unless resulting from:

         (a) BODILY INJURY resulting from the use of reasonable force to protect persons or property;

         (b) Corporal punishment (unless providing coverage for corporal punishment is prohibited by law).

         (c) Coverage Section II General Liability – Insuring Agreements C. SEXUAL HARASSMENT
             Liability and Coverage Section II General Liability – Insuring Agreements D. SEXUAL
             ABUSE Liability; but only to the extent that coverage for SEXUAL HARASSMENT and
             SEXUAL ABUSE is specifically given, and only if a SUBLIMIT for SEXUAL HARASSMENT
             and SEXUAL ABUSE coverage is stated in the Schedule of Specific Excess Limits of
             Insurance.

   C.    Liability arising out of the ownership, maintenance or use, including loading or unloading, of
         watercraft over 50 feet, except with respect to use of same where operations are performed by
         independent contractors;

   D.    Damage to or destruction of PROPERTY OF THE ASSURED;

   E.    Liability arising out of the ownership, maintenance, loading or unloading, use or operations of any
         aircraft including UNMANNED AIRCRAFT, airfields, runways, hangars, buildings, or other
         properties in connection with aviation activities, other than premises liability in buildings to which the
         general public is admitted;

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   F.   Any claim for which the ASSURED may be held liable under any W orkers’ Compensation,
        unemployment compensation, disability benefits law, employers’ liability or under any similar law; or
        to BODILY INJURY to any employee of the ASSURED; or to any liability for indemnity or
        contribution brought by any party against the ASSURED for BODILY INJURY to any employee of
        an ASSURED;

   G.   The cost of any investigation, disciplinary or criminal proceedings against an individual ASSURED
        except that Underwriters may, at their own option and expense, associate counsel in the defense of
        any such investigation, criminal or disciplinary proceeding. Should Underwriters elect to associate
        counsel, such elections shall not constitute a waiver or estoppel of any rights Underwriters may
        have pursuant to the terms, conditions, exclusions and limitations of this Policy;

   H.   Any claim arising from WRONGFUL ACTS and/or EMPLOYMENT PRACTICE VIOLATIONS;

   I.   Any claim arising from LAW ENFORCEMENT ACTIVITIES;

   J.   Any claim arising out of Medical Malpractice, but not to exclude INCIDENTAL MEDICAL
        MALPRACTICE.


                               Coverage Section II General Liability – Definitions

   1.   DISCOVERY of any actual, attempted or pending alleged SEXUAL ABUSE shall exist when any of
        the NAMED ASSURED’S officials, trustees, directors, officers, partners or any person that the
        NAMED ASSURED has made responsible in an official capacity to prevent SEXUAL ABUSE has
        taken receipt, learned, or in the exercise of reasonable care should have known:

            (a)   of any lawsuit alleging SEXUAL ABUSE; or

            (b)   of any demand for money or services based upon alleged SEXUAL ABUSE; or

            (c)   of any criminal investigation or prosecution alleging SEXUAL ABUSE; or

            (d)   of any allegation by an alleged victim or by a parent or guardian of the alleged victim of
                  SEXUAL ABUSE, whether the allegation is or is not accompanied by a demand for money or
                  services; or

            (e)   of any report from any other person alleging SEXUAL ABUSE, and a person or group
                  designated by the NAMED ASSURED to investigate the allegation has investigated and as a
                  result of the investigation has recommended that any action of any kind be taken by or on
                  behalf of the NAMED ASSURED with respect either to the alleged ASSURED or the alleged
                  victim; or

            (f)   that the alleged ASSURED has admitted to acts of SEXUAL ABUSE.

   2.   DEFENSE COSTS means the expenses incurred for the investigation and defense of an
        OCCURRENCE or SUIT arising out of the SEXUAL HARASSMENT or SEXUAL ABUSE or a
        series of related SEXUAL HARASSMENTS or SEXUAL ABUSES by one or more ASSUREDS.
        However, the salaries, expense and administrative cost of the ASSURED or the ASSURED’S
        THIRD PARTY CLAIM ADMINISTRATOR are not included within the meaning of DEFENSE
        COSTS.

   3.   HOST LIQUOR LIABILITY and/or LIQUOR LIABILITY means indemnification for the ASSURED’S
        liability for the sale or distribution of alcoholic beverage by reason of any local, State or Federal
        liquor control laws in force at the time of the OCCURRENCE.

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   4.   INCIDENTAL MEDICAL MALPRACTICE means BODILY INJURY or PERSONAL INJURY arising
        out of the rendering of or failure to render emergency and/or first aid medical services which shall
        be understood to include, but not limited to, the dispensing of medication and/or the administering
        of inoculations and/or blood tests and the like (i.e.: medicines/tests normally administered by a
        Healthcare Department that are preventative in nature and do not require advanced medical
        diagnosis) but where there are no overnight stays.

        However, INCIDENTAL MEDICAL MALPRACTICE does not include services provided by:

        (a) a hospital or emergency room facility;

        (b) a physician, medical doctor, osteopath, chiropractor, resident, extern, or intern;

        (c) a psychiatrist;

        (d) a pharmacist;

        (e) a dentist, orthodontist, or periodontist.

   5    OCCURRENCE means an accident or a happening or event or a continuous or repeated exposure
        to conditions which results in BODILY INJURY, PROPERTY DAMAGE, PERSONAL INJURY,
        SEXUAL HARASSMENT or SEXUAL ABUSE during the PERIOD OF INSURANCE.

        All BODILY INJURIES, PERSONAL INJURIES or SEXUAL HARASSMENT or SEXUAL ABUSE
        to one or more persons and/or PROPERTY DAMAGE arising out of an accident or a happening or
        event or a continuous or repeated exposure to conditions shall be deemed one OCCURRENCE.
        Only one Policy, one SELF INSURED RETENTION, and one Specific Excess Limit of Insurance
        is applicable to any one OCCURRENCE.




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                             Coverage Section III AUTOMOBILE Liability

                   Coverage Section III AUTOMOBILE Liability – Insuring Agreements

   A.    AUTOMOBILE Liability: Underwriters agree, subject to the Policy limitations, terms and
         conditions, to indemnify the ASSURED for all sums which the ASSURED is obligated to pay by
         reason of the liability imposed upon the ASSURED by law or assumed by the ASSURED under
         contract or agreement, including non-owned and hired AUTOMOBILES, for damages direct or
         consequential, and expenses, all as more fully defined by the term ULTIMATE NET LOSS, arising
         out of any OCCURRENCE on account of BODILY INJURY or PERSONAL INJURY, suffered or
         alleged to have been suffered by any person(s) or organization(s) and/or PROPERTY DAMAGE,
         arising out of the ownership, operation, maintenance or use of an AUTOMOBILE, occurring during
         the PERIOD OF INSURANCE.

   B.   AUTOMOBILE MEDICAL PAYMENTS: Underwriters agree, subject to the Policy limitations, terms
        and conditions, to indemnify the ASSURED for all reasonable MEDICAL PAYMENTS incurred by
        the ASSURED to others (except employees of the ASSURED injured in the course of their
        employment) as are necessary at the time of an OCCURRENCE on account of BODILY INJURY
        arising out of the ownership, operation, maintenance or use of an AUTOMOBILE occurring during
        the PERIOD OF INSURANCE. This coverage applies only if a SUBLIMIT is stated in the Schedule
        of Specific Excess Limits of Insurance.

   C.   Uninsured Motorist/Underinsured Motorist: Uninsured/Underinsured Motorist Coverage is
        afforded in respect of any OCCURRENCE at least to the minimum extent required by the law of the
        State in which each owned or hired AUTOMOBILE is principally garaged. This coverage applies
        only if a SUBLIMIT is stated in the Schedule of Specific Excess Limits of Insurance.

   D.   No Fault Insurance: No Fault insurance is afforded in respect of any OCCURRENCE at least to
        the minimum extent required by the law of the State in which each owned or hired AUTOMOBILE is
        principally garaged. This coverage applies only if a SUBLIMIT is stated in the Schedule of
        Specific Excess Limits of Insurance.

   E.   Garagekeeper’s Legal Liability: Underwriters agree, subject to the Policy limitations, terms and
        conditions, to indemnify the ASSURED for all sums which the ASSURED is legally obligated to pay
        for loss or damage occurring during the PERIOD OF INSURANCE to AUTOMOBILES left in the
        ASSURED’S care for which the ASSURED is legally obligated. This coverage applies only if a
        SUBLIMIT and SELF INSURED RETENTION for Garagekeeper’s Legal Liability is stated in the
        Schedule of Specific Excess Limits of Insurance and the Schedule of SELF INSURED
        RETENTIONS under Coverage Section III Automobile Liability.


              Coverage Section III AUTOMOBILE Liability – Specific Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per OCCURRENCE for Coverage Section III
   AUTOMOBILE Liability is limited to, and not to exceed the Specific Excess Limits as stated in the
   Schedule of Specific Excess Limits of Insurance, over the SELF INSURED RETENTION, as stated in
   the Schedule of SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any coverage under this Coverage Section III AUTOMOBILE
   Liability, the total Aggregate Excess Limit of Insurance for such coverage under this Coverage Section
   combined during the PERIOD OF INSURANCE shall not exceed the Annual Aggregate limit as stated in
   the applicable Coverage Section of the Schedule of Specific Excess Limits of Insurance.


                        Coverage Section III AUTOMOBILE Liability – Exclusions

   In addition to General Policy – Exclusions, this Coverage Section does not insure against:


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   A.   Any claims for damages, whether direct or consequential, or for any cause of action which is
        covered under any other Coverage Section of this Policy, whether or not a limit is stated in the
        Schedule of Excess Limits of Insurance;

   B.   Any claim that is paid or is payable to or for the ASSURED under any W orker’s Compensation,
        disability benefits law, employers’ liability or under any similar law or to BODILY INJURY to any
        employee or to any liability for indemnity or contribution brought by any party for BODILY INJURY
        to any employee;

   C.   Covered AUTOMOBILES used in any professional or organized racing or demolition contest or
        stunting activity, or while practicing for such contest or activity;


                       Coverage Section III AUTOMOBILE Liability – Definitions

   1.   OCCURRENCE means an accident or a happening or event or a continuous or repeated exposure
        to conditions which results in BODILY INJURY, PROPERTY DAMAGE, or PERSONAL INJURY
        during the PERIOD OF INSURANCE.

        All BODILY INJURIES or PERSONAL INJURIES to one or more persons and/or PROPERTY
        DAMAGE arising out of an accident or a happening or event or a continuous or repeated exposure
        to conditions shall be deemed one OCCURRENCE. Only one Policy, one SELF INSURED
        RETENTION, and one Specific Excess Limit of Insurance is applicable to any one
        OCCURRENCE.

   2.   ASSURED means not only the ASSURED as defined in the GENERAL POLICY DEFINITIONS,
        but under this Coverage Section III AUTOMOBILE Liability also includes any person while using
        an owned or hired AUTOMOBILE with the permission of the ASSURED.




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                    Coverage Section IV Public Officials Miscellaneous Liability

                                        This is a Claims Made Section

            Coverage Section IV Public Officials Miscellaneous Liability – Insuring Agreements

   Coverage is provided for one or more of the coverage options in this Coverage Section only if a Specific
   Excess Limit of Insurance is stated in the Schedule of Specific Excess Limits of Insurance, and a
   SELF INSURED RETENTION is stated in the Schedule of SELF INSURED RETENTIONS for each
   Coverage chosen.

   A.    Errors & Omissions: Underwriters agree, subject to the Policy limitations, exclusions, terms and
         conditions, to indemnify the ASSURED for all sums for which the ASSURED is legally obligated to
         pay, as more fully defined by the term ULTIMATE NET LOSS, by reason of a WRONGFUL ACT.
         This coverage applies only if a SUBLIMIT is stated in the Schedule of Specific Excess Limits of
         Insurance.

         This coverage applies only if a CLAIM for damages, because of a WRONGFUL ACT, is “first
         made” against the ASSURED during the PERIOD OF INSURANCE. The WRONGFUL ACT must
         have first occurred on or after Retroactive Date shown in the Schedule of Specific Excess Limits
         of Insurance, but in no event any later than the last day of the PERIOD OF INSURANCE. The
         CLAIM must be reported to Underwriters as soon as practical but in no event later than sixty (60)
         consecutive days following the expiration of the PERIOD OF INSURANCE, or during the based on
         or arising out of one WRONGFUL ACT shall be considered “first made” when the first of such
         CLAIMS is made to the ASSURED. A CLAIM shall not be prejudiced if the ASSURED, through
         clerical oversight or clerical mistake, fails to notify Underwriters within the time provided for under
         this Coverage Section.

   B.    Employment Practice Liability: Underwriters agree, subject to the Policy limitations, exclusions,
         terms and conditions, to indemnify the ASSURED for all sums for which the ASSURED is legally
         obligated to pay, as more fully defined by the term ULTIMATE NET LOSS, by reason of an
         EMPLOYMENT         PRACTICE VIOLATION, including mental anguish resulting from an
         EMPLOYMENT PRACTICE VIOLATION. This coverage applies only if a SUBLIMIT is stated in the
         Schedule of Specific Excess Limits of Insurance.

         This coverage applies only if a CLAIM for damages, because of an EMPLOYMENT PRACTICE
         VIOLATION, is “first made” against the ASSURED during the PERIOD OF INSURANCE. The
         EMPLOYMENT PRACTICE VIOLATION must have first occurred on or after Retroactive Date
         shown in the Schedule of Specific Excess Limits of Insurance, but in no event any later than the
         last day of the PERIOD OF INSURANCE. The CLAIM must be reported to Underwriters as soon as
         practical but in no event later than sixty (60) consecutive days following the expiration of the
         PERIOD OF INSURANCE, or during the Extended Reporting Period applicable to this coverage, if
         any. All CLAIMS based on or arising out of one EMPLOYMENT PRACTICE VIOLATION shall be
         considered “first made” when the first of such CLAIMS is made to the ASSURED. A CLAIM shall
         not be prejudiced if the ASSURED, through clerical oversight or clerical mistake, fails to notify
         Underwriters within the time provided for under this Coverage Section.

   C.    SEXUAL HARASSMENT Liability: Underwriters agree, subject to the Policy limitations,
         exclusions, terms and conditions, to indemnify the NAMED ASSURED for all sums for which the
         NAMED ASSURED is legally obligated to pay, as more fully defined by the term ULTIMATE NET
         LOSS, by reason of SEXUAL HARASSMENT by any past, present or future official, board or
         commission member, trustee, director, employee, or volunteer worker of the NAMED ASSURED to
         an ASSURED. This coverage applies only if a SUBLIMIT is stated in the Schedule of Specific
         Excess Limits of Insurance.



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        This coverage applies only if a CLAIM for damages, because of SEXUAL HARASSMENT, is “first
        made” against the ASSURED during the PERIOD OF INSURANCE. The SEXUAL HARASSMENT
        must have first occurred on or after Retroactive Date shown in the Schedule of Specific Excess
        Limits of Insurance, but in no event any later than the last day of the PERIOD OF INSURANCE.
        The CLAIM must be reported to Underwriters as soon as practical but in no event later than sixty
        (60) consecutive days following the expiration of the PERIOD OF INSURANCE, or during the
        Extended Reporting Period applicable to this coverage, if any. A CLAIM shall not be prejudiced if
        the ASSURED, through clerical oversight or clerical mistake, fails to notify Underwriters within the
        time provided for under this Coverage Section. All CLAIMS based on or arising out of one SEXUAL
        HARASSMENT shall be considered first made when the first of such CLAIMS is made to the
        ASSURED, regardless of:

        (a) The number of persons SEXUALLY HARASSED;

        (b) The number of locations where the SEXUAL HARASSMENT occurred;

        (c) The number of acts of SEXUAL HARASSMENT prior to or after the first CLAIM is made; or

        (d) The period of time over which the SEXUAL HARASSMENT took place, whether the SEXUAL
            HARASSMENT is during, before or after the PERIOD OF INSURANCE. However, only acts of
            SEXUAL HARASSMENT that take place after the Retroactive Date and before the end of the
            PERIOD OF INSURANCE are covered.

        Underwriters will not make payment for any loss, CLAIM or for any DEFENSE COSTS for any past,
        present or future official, board or commission member, trustee, director, employee, or volunteer
        worker of the NAMED ASSURED in respect of actual or alleged SEXUAL HARASSMENT to an
        ASSURED. However, with respect only to this Insuring Agreement C., Underwriters agree, subject
        to all other Policy limitations, terms and conditions, that as to any CLAIM or SUIT for SEXUAL
        HARASSMENT against an ASSURED by any past, present or future official, board or commission
        member, trustee, director, employee, or volunteer worker of the NAMED ASSURED, Underwriters
        will indemnify that official, board or commission member, trustee, director, employee, or volunteer
        worker for all reasonable DEFENSE COSTS to the extent such DEFENSE COSTS are incurred
        prior to the date on which, by either agreement, admission, or settlement of a CLAIM or by an
        adjudication, it is determined that the official, board or commission member, trustee, director,
        employee, or volunteer worker of the NAMED ASSURED committed an act of SEXUAL
        HARASSMENT against an ASSURED. This coverage forms part of the overall SEXUAL
        HARASSMENT LIABILITY limit and not in addition thereof as stated in the Schedule of Specific
        Excess Limits of Insurance.

   D.   SEXUAL ABUSE Liability: Underwriters agree, subject to the Policy limitations, exclusions, terms
        and conditions, to indemnify the NAMED ASSURED for all sums for which the NAMED ASSURED
        is legally obligated to pay, as more fully defined by the term ULTIMATE NET LOSS, by reason of
        SEXUAL ABUSE by past, present or future official, board or commission member, trustee, director,
        employee, or volunteer worker of the NAMED ASSURED to an ASSURED. This coverage applies
        only if a SUBLIMIT is stated in the Schedule of Specific Excess Limits of Insurance.

        This coverage applies only if a CLAIM for damages, because of SEXUAL ABUSE, is “first made”
        against the ASSURED during the PERIOD OF INSURANCE. The SEXUAL ABUSE must have first
        occurred on or after Retroactive Date shown in the Schedule of Specific Excess Limits of
        Insurance, but in no event any later than the last day of the PERIOD OF INSURANCE. The CLAIM
        must be reported to Underwriters as soon as practical but in no event later than sixty (60)
        consecutive days following the expiration of the PERIOD OF INSURANCE, or during the Extended
        Reporting Period applicable to this coverage, if any.

        All CLAIMS based on or arising out of one SEXUAL ABUSE shall be considered first made when
        the first of such CLAIMS is made to the ASSURED, regardless of:

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        (a) The number of persons SEXUALLY ABUSED;

        (b) The number of locations where the SEXUAL ABUSE occurred;

        (c) The number of acts of SEXUAL ABUSE prior to or after the first CLAIM is made; or

        (d) The period of time over which the SEXUAL ABUSE took place, whether the SEXUAL ABUSE
            is during, before or after the PERIOD OF INSURANCE. However, only acts of SEXUAL
            ABUSE that take place after the Retroactive Date and before the end of the PERIOD OF
            INSURANCE are covered.

         Underwriters will not make payment for any loss, CLAIM or for any DEFENSE COSTS for any past,
         present or future official, board or commission member, trustee, director, employee, or volunteer
         worker of the NAMED ASSURED in respect of actual or alleged SEXUAL ABUSE to an
         ASSURED. However, with respect only to this Coverage Section IV Public Officials
         Miscellaneous Liability - Insuring Agreement D. SEXUAL ABUSE liability. Underwriters agree,
         subject to all other Policy limitations, terms and conditions, that as to any CLAIM or SUIT for
         SEXUAL ABUSE against an ASSURED by any past, present or future official, board or
         commission member, trustee, director, employee, or volunteer worker of the NAMED ASSURED,
         Underwriters will indemnify that official, board or commission member, trustee, director, employee,
         or volunteer worker of the NAMED ASSURED for all reasonable DEFENSE COSTS to the extent
         such DEFENSE COSTS are incurred prior to the date on which, by either agreement, admission, or
         settlement of a CLAIM or by an adjudication, it is determined that the official, board or commission
         member, trustee, director, employee, or volunteer worker committed an act of SEXUAL ABUSE
         against an ASSURED. This coverage forms part of the overall SEXUAL ABUSE LIABILITY limit
         and not in addition thereof as stated in the Schedule of Specific Excess Limits of Insurance.

         Neither this coverage nor any subsequent coverage provided by Underwriters will apply to any
         SEXUAL ABUSE involving the same official, board or commission member, trustee, director,
         employee, or volunteer worker which occurred after the DISCOVERY by any of the NAMED
         ASSURED’S officials, trustees, directors, officers or partners of any actual, attempted or pending
         alleged SEXUAL ABUSE by said perpetrator.

         Following DISCOVERY of any actual, attempted or pending alleged SEXUAL ABUSE during the
         PERIOD OF INSURANCE, the NAMED ASSURED shall give notification of such DISCOVERY to
         Underwriters as soon as practicable but no more than one hundred and twenty (120) consecutive
         days after the initial DISCOVERY, and in any event within sixty (60) consecutive days following the
         expiration of the PERIOD OF INSURANCE or any Extended Reporting Period. Any failure to comply
         with this provision for any reason whatsoever will result in the absolute exclusion of any resulting
         SEXUAL ABUSE CLAIM or CLAIMS, irrespective of whether Underwriters have been prejudiced by
         said failure.


   Coverage Section IV Public Officials Miscellaneous Liability – Specific Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per CLAIM for any coverage under Coverage
   Section IV – Public Officials Miscellaneous Liability is limited to, and not to exceed, the Specific
   Excess Limits as stated in the Schedule of Specific Excess Limits of Insurance, over the SELF
   INSURED RETENTION as stated in the Schedule of SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any coverage under this Coverage Section IV Public Officials
   Miscellaneous Liability, the total Aggregate Excess Limit of Insurance for such coverage under this
   Coverage Section combined during the PERIOD OF INSURANCE shall not exceed the Annual Aggregate
   limit as stated in the applicable Coverage Section of the Schedule of Specific Excess Limits of
   Insurance.

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               Coverage Section IV Public Officials Miscellaneous Liability – Conditions

   A.   Basic Extended Reporting Period:

        A Basic Extended Reporting Period is automatically provided without additional charge. This period
        starts with the end of the PERIOD OF INSURANCE, and lasts for sixty (60) consecutive days.

        If, however, this Policy and this Coverage Section is succeeded by similar Claims Made insurance
        coverage, with any insurer, on which the Retroactive Date is the same as or earlier than the
        Retroactive Date shown in the applicable Coverage Section of the Schedule of Specific Excess
        Limits of Insurance of this Policy, the succeeding Policy shall be deemed to be a renewal of this
        Policy, and the ASSURED shall have no right to an Extended Reporting Period from Underwriters.

        The Basic Extended Reporting Period does not apply to CLAIMS that are covered under any
        subsequent insurance applicable to this Coverage Section which the ASSURED purchases, or that
        would have been covered but for exhaustion of the amount of insurance applicable to such
        CLAIMS.

   B.   Supplemental Extended Reporting Period:

        Underwriters will provide an Extended Reporting Period, as described below, if:

        (a) This Policy or this Coverage Section of this Policy is cancelled or non-renewed; or

        (b) Underwriters renew or replace this Policy, or this Coverage Section of this Policy, with
            insurance that does not apply to a WRONGFUL ACT, EMPLOYMENT PRACTICE
            VIOLATION, SEXUAL HARASSMENT or SEXUAL ABUSE on a Claims Made basis.

        A Supplemental Extended Reporting Period of one (1) year duration is available but only by
        endorsement to this Policy and for an additional premium not to exceed 100% of the annual
        premium for this Coverage Section. This supplemental period starts when the Basic Extended
        Reporting Period ends.

        The ASSURED must give Underwriters a written request for the endorsement within thirty (30)
        consecutive days after the end of the PERIOD OF INSURANCE. The Supplemental Extended
        Reporting Period will not go into effect unless the ASSURED pays the additional premium within
        thirty (30) consecutive days. This endorsement will set forth the terms consistent with the
        Coverage Section.

        Underwriters shall determine the additional premium in accordance with its applicable rules, rates
        and underwriting practices. Coverage for CLAIMS received during such Supplemental Extended
        Reporting Period is excess over any other valid and collectible insurance available under any other
        policies.

        Extended Reporting Periods do not reinstate or increase the applicable SELF INSURED
        RETENTION, the LOSS FUND, the applicable Specific Excess Limit of Insurance, or the Excess
        Loss Fund Protection.

        Extended Reporting Periods do not extend the PERIOD OF INSURANCE or change the scope of
        coverage provided within this Coverage Section. They apply to CLAIMS arising out of a
        WRONGFUL ACT, EMPLOYMENT PRACTICE VIOLATION, SEXUAL HARASSMENT or
        SEXUAL ABUSE that take place before the end of the PERIOD OF INSURANCE that this Policy
        and this Coverage Section are in force. Once in effect, Extended Reporting Periods may not be
        canceled.

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 C.     Reporting to Underwriters:

        For the purposes of compliance with the reporting requirements of this Coverage Section, the
        ASSURED’S reporting of a CLAIM to the ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR
        shall be considered reporting of the CLAIM to Underwriters, provided that:

        (a) The CLAIM is reported to the ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR no later
            than sixty (60) consecutive days following the expiration of the PERIOD OF INSURANCE or the
            applicable Extended Reporting Period, if any; and

        (b) The CLAIM, if not otherwise reportable to Underwriters pursuant to General Policy Condition
            7, appears on the ASSURED’S list of CLAIMS or loss run, as reported by the THIRD PARTY
            CLAIM ADMINISTRATOR to Underwriters, that includes all CLAIMS for the PERIOD OF
            INSURANCE or applicable Extended Reporting Period, if any.


               Coverage Section IV Public Officials Miscellaneous Liability – Exclusions

   In addition to General Policy Exclusions, this Coverage Section does not insure against:

   A.   Any CLAIM for damages, whether direct or consequential, for BODILY INJURY, PERSONAL
        INJURY, or PROPERTY DAMAGE; or for any cause of action which is covered under any other
        Coverage Section of this Policy;

   B.   Any CLAIM based upon or attributable to any ASSURED gaining in fact any personal profit or
        advantage to which they were not legally entitled including remuneration paid in violation of law as
        determined by the Courts;

   C.   Any CLAIM based upon or attributable to the rendering or failure to render any opinion, treatment,
        consultation or service unless acting within the scope of their duties as an ASSURED;

   D.   Any CLAIM arising out of or in any way involving any employee benefit plan, except as covered
        under this Coverage Section IV – Public Officials Miscellaneous Liability – Insuring
        Agreements B. Employment Practice Liability for discrimination;

   E.   CLAIMS, SUITS, proceedings, demands, or actions seeking relief or redress in any form other than
        monetary damages, including defense of same; or any loss, fees, costs or expenses which the
        ASSURED may be obligated to pay to any third-party as a result of any adverse judgment for
        declaratory relief or administrative relief or injunctive relief, except that this exclusion shall not apply
        to any CLAIM made to the Equal Employment Opportunity Commission (E.E.O.C.), or such similar
        federal, state or local administrative agency established to handle or adjudicate EMPLOYMENT
        PRACTICE VIOLATIONS that involve or arise from alleged employment discrimination other than
        CLAIMS brought under the federal Fair Labor Standards Act or similar state act or law;

   F.   Any cost, civil fine, penalty or expense against any ASSURED arising from any complaint or
        enforcement action from any federal, state or local governmental regulatory agency;

   G.   Any CLAIM for which an ASSURED is entitled to indemnity under any Policy or policies the term of
        which has expired prior to the inception date of this Policy, or for which an ASSURED would be
        entitled to indemnity except for the exhaustion of the limit of such prior insurance;

   H.   Any CLAIM arising out of any pending or prior litigation or hearing, as well as future CLAIMS
        arising out of any pending or prior litigation or hearing. If this Policy is a renewal of a Policy issued
        by Underwriters, this exclusion shall only apply with respect to CLAIMS arising out of any pending


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        or prior litigation or hearing, prior to the effective date of the first Policy issued and continuously
        renewed by Underwriters.

   I.   Any CLAIM brought as a counter-CLAIM or cross CLAIM by an ASSURED against any other
        ASSURED however, this exclusion does not apply to EMPLOYMENT PRACTICE VIOLATIONS;

   J.   Any CLAIM alleging, based upon, arising out of or attributable to breach of any express, implied,
        actual or constructive contract, agreement, warranty, guarantee or promise, unless liability would
        have attached to the ASSURED even in the absence of such contract, agreement, warranty,
        guarantee or promise. However, this exclusion shall not apply to CLAIMS alleging violation of
        employment contracts brought by employees or officials;

   K.   Any CLAIM for the return of money or property, other than PROPERTY OF THE ASSURED, that is
        being held by the ASSURED, or that is in the care, custody, or control of the ASSURED;

   L.   Any CLAIM for the return of any fees, taxes, assessments, or other similar payments made to the
        ASSURED.

   M.   Any CLAIM arising from LAW ENFORCEMENT ACTIVITIES.


               Coverage Section IV Public Officials Miscellaneous Liability – Definitions

   1.   CLAIM means all notices or SUITS demanding payment of money based on, or arising out of
        the same WRONGFUL ACT, SEXUAL HARASSMENT or SEXUAL ABUSE or a series of
        related WRONGFUL ACTS, SEXUAL HARASSMENT or SEXUAL ABUSE by one or more
        ASSUREDS.

        However, as respects to EMPLOYMENT PRACTICE LIABILITY, CLAIM means: all notices or
        SUITS demanding payment of money, or charges filed with the Equal Employment Opportunity
        Commission or comparable federal, state or local administrative agency based on, or arising out of
        the same EMPLOYMENT PRACTICE VIOLATION or a series of related EMPLOYMENT
        PRACTICE VIOLATIONS by one or more ASSUREDS.

   2.   DEFENSE COSTS means the expenses incurred for the investigation and defense of a CLAIM or
        SUIT arising out of the same EMPLOYMENT PRACTICE VIOLATION, WRONGFUL ACT,
        SEXUAL HARASSMENT or SEXUAL ABUSE or a series of related EMPLOYMENT PRACTICE
        VIOLATIONS, WRONGFUL ACTS, SEXUAL HARASSMENTS or SEXUAL ABUSES by one or
        more ASSUREDS. However, the salaries, expense and administrative cost of the ASSURED or the
        ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR are not included within the meaning of
        DEFENSE COSTS.

   3.   DISCOVERY of any actual, attempted or pending alleged SEXUAL ABUSE shall exist when any of
        the NAMED ASSURED’S officials, trustees, directors, officers, partners or any person that the
        NAMED ASSURED has made responsible in an official capacity to prevent SEXUAL ABUSE has
        taken receipt, learned, or in the exercise of reasonable care should have known:

        (a) Of any lawsuit alleging SEXUAL ABUSE; or

        (b) Of any demand for money or services based upon alleged SEXUAL ABUSE; or

        (c) Of any criminal investigation or prosecution alleging SEXUAL ABUSE; or

        (d) Of any allegation by an alleged victim or by a parent or guardian of the alleged victim of
            SEXUAL ABUSE, whether the allegation is or is not accompanied by a demand for money or
            services; or

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        (e) Of any report from any other person alleging SEXUAL ABUSE, and a person or group
            designated by the NAMED ASSURED to investigate the allegation has investigated and as a
            result of the investigation has recommended that any action of any kind be taken by or on
            behalf of the NAMED ASSURED with respect either to the alleged ASSURED or the alleged
            victim; or

        (f) That the alleged ASSURED has admitted to acts of SEXUAL ABUSE.




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                     Coverage Section V Excess Workers’ Compensation and
                         Employers’ Liability f or a Qualified Self -Insurer


   Who is Insured: Under this Coverage Section, the NAMED ASSURED as stated in the Declarations. If
   the NAMED ASSURED is a partnership or joint venture, each partner or member of the joint venture is
   insured only in the capacity as employer of employees of the partnership or joint venture.


          Coverage Section V Excess Workers’ Compensation and Employers ’ Liability f o r a
                Qualified Self-Insurer SELF INSURED RETENTION and Specific Excess Limits of
                                                 Insurance

   SELF INSURED RETENTION: The ASSURED will pay all sums up to the amount stated in the
   Schedule of SELF INSURED RETENTIONS.

   Underwriters will indemnify the NAMED ASSURED for ULTIMATE NET LOSS resulting from any one
   ACCIDENT or disease for Coverage Section V Workers’ Compensation and Employers’ Liability for
   the Specific Excess Limit of Insurance stated in the Schedule of Specific Excess Limits of
   Insurance over the SELF INSURED RETENTION stated in the Schedule of SELF INSURED
   RETENTIONS. The SELF INSURED RETENTION and Specific Excess Limit of Insurance apply to
   sums paid by the NAMED INSURED as a Qualified Self Insurer of Workers’ Compensation and
   Employers’ Liability as follows:

   (1)    To one or more employees because of BODILY INJURY or death in any one ACCIDENT.

   (2)    To any one employee for BODILY INJURY or death by disease.

   The most Underwriters will indemnify the NAMED ASSURED will not change regardless of the number of
   persons or organizations who are ASSUREDS, claims made or SUITS brought against any or all persons
   or organizations who are ASSUREDS, or persons or organizations making a claim or bringing a SUIT.


                             Coverage Section V Part A Excess Workers’
                           Compensation For a Qualified Self-Insurer – Insuring
                                             Agreements

   A. Underwriters agree to indemnify the ASSURED promptly when due for those sums that the
      ASSURED shall become legally obligated to pay as a Qualified Self-Insurer under WORKERS’
      COMPENSATION LAW, subject to the terms of this Policy, this Coverage Section and the exclusions
      that follow.

         This insurance applies to BODILY INJURY by ACCIDENT or BODILY INJURY by disease including
         resulting death, provided:

         (1) The BODILY INJURY by ACCIDENT occurs during the PERIOD OF INSURANCE this Policy and
             this coverage are in force; or

         (2) The BODILY INJURY by disease is caused or aggravated by the conditions of employment by
             the ASSURED. The employee’s last day of last exposure to those conditions of that employment
             causing or aggravating such BODILY INJURY by disease must occur during the PERIOD OF
             INSURANCE this Policy and this coverage are in force.

   B.     Other STATES Excess Workers’ Compensation Extension: This coverage Extension applies in
         other STATES than the STATE of hire if an employee of the ASSURED is injured in such a STATE
         and if the work of such injured employee of the ASSURED was within the scope of such employee’s
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         employment, at the direction of the ASSURED, and was temporary and transitory in such other
         STATE provided the ASSURED is not insured or a Qualified Self-Insurer in such other STATE.

         All other terms, conditions and exclusions applicable to Coverage Section V Part A Workers’
         Compensation shall apply to this coverage Extension.

                         Coverage  Section   V    Part    A    Excess     Workers’
                          Compensation For a Qualified Self-Insurer – Exclusions

   In addition to General Policy Exclusions, this Coverage Section does not insure against:

   A.     Any claims, whether direct or consequential, or any cause of action which is covered under any
          other Coverage Section of this Policy;

   B.     Loss payable under the WORKERS’ COMPENSATION LAW of any STATE if the ASSURED is
          protected from the loss by any other insurance;

   C.     Punitive or exemplary claims because of:

          (a) BODILY INJURY to any employee;

          (b) The ASSURED’S conduct or the conduct of anyone acting for the ASSURED in investigation,
              trial or settlement, or failure to pay, or delay in payment of any W orkers’ Compensation claim;

          (c) The ASSURED’S failure to comply with any health or safety law or regulation or any
              WORKERS’ COMPENSATION LAW;

   D.     Any payments made by the ASSURED arising out of operations for which the ASSURED has
          rejected any WORKERS’ COMPENSATION LAW;

   E.     Any assessment made upon self-insurers, whether imposed by statute, regulation or otherwise.


                    Coverage Section V Part B Employers ’ Liability – Insuring Agreement

   Underwriters agree to indemnify the ASSURED promptly for DAMAGES that the ASSURED is legally
   obligated to pay as a Qualified Self-Insurer of Employers’ Liability, subject to the terms of this Policy, this
   Coverage Section and the exclusions that follow.

   This insurance applies to BODILY INJURY by ACCIDENT or disease which arises out of and in the
   course of the injured employee’s employment by the ASSURED, provided:

   (1)    The BODILY INJURY by ACCIDENT occurs during the period this Policy and this coverage are in
          force; or

   (2)    The BODILY INJURY by disease is caused or aggravated by the conditions of employment by the
          ASSURED. The employee’s last day of last exposure to those conditions of that employment
          causing or aggravating such BODILY INJURY by disease must occur during the period this Policy
          and this coverage are in force and employment by the ASSURED is necessary or incidental to work
          conducted by the ASSURED in the STATE of hire, or as covered under the Coverage Section V
          Other STATES Excess Workers’ Compensation Extension.


                         Coverage Section V P art B Employers ’ Liability – Exclusions

   In addition to General Policy Exclusions, this Coverage Section does not insure against:

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   A.   Any claims, whether direct or consequential, or for any cause of action which is covered under any
        other Coverage Section of this Policy;

   B.   Liability assumed under a contract or agreement; however, this exclusion does not apply to a
        warranty that the ASSURED’S work will be done in a workmanlike manner;

   C.   Punitive or exemplary DAMAGES;

   D.   BODILY INJURY to an employee while employed in violation of law;

   E.   DAMAGES arising out of operations for which the ASSURED or the ASSURED’S supervisory
        personnel have:

        (a) Violated or failed to comply with any WORKERS’ COMPENSATION LAW;

        (b) Rejected any WORKERS’ COMPENSATION LAW;

        (c) Intentionally caused or aggravated BODILY INJURY;

   F.   Any obligation imposed by a workers compensation, occupational disease, unemployment
        compensation, or disability benefits law, or any similar law;

   G.   BODILY INJURY occurring outside the United States of America, its territories or possessions.
        This exclusion does not apply to BODILY INJURY to a citizen or resident of the United States of
        America who is temporarily working outside of the United States of America, its territories or
        possessions for the ASSURED;

   H.   Any obligation imposed by the:

        (a) Merchant Marine Act of 1920 known as the Jones Act, 46 U.S. Code, Section 688, 1970;

        (b) Federal Employers’ Liability Act (F.E.L.A.), 45 U.S. Code, Sections 51-60, 1970;

        (c) U.S. Longshoremen’s and Harbor W orkers’ Compensation Act (U.S.L. & H. Act);

        (d) Defense Base Act, U.S. Code (1946) Title 42, Sections 1651-54, Public Law. 77th Congress,
            as amended;

        (e) Outer Continental Shelf Lands Act, U.S. Code (1946) Title 33, Sections 901-49 as extended by
            Act of August 7, 1953, Public Law 212, 83rd Congress; or Section 8171, Public Law 85-538,
            85th Congress.


                      Coverage Section V Excess Workers’ Compensation and
                    Employers’ Liability f o r a Qualified Self -Insurer – Definitions

   1.   ACCIDENT means each accident or OCCURRENCE or series of accidents or occurrences arising
        out of any one event. An ACCIDENT is deemed to end 72 hours after the event commences.
        Each subsequent 72 hours is deemed to be a separate ACCIDENT period. Disease means an
        ACCIDENT only if it results in BODILY INJURY directly caused from that ACCIDENT.

   2.   DAMAGES means those amounts which the ASSURED is obligated to pay due to BODILY
        INJURY by ACCIDENT or disease for:

        (a) Which the ASSURED is liable to a third party by reason of a claim, SUIT, or proceeding against
            the ASSURED to recover DAMAGES obtained from the third party;

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        (b) Care and loss of services of an injured employee of the ASSURED;

        (c) Consequential BODILY INJURY to a spouse, child, parent, brother or sister of the injured
            employee of the ASSURED;

        provided such DAMAGES in (a), (b), and (c) above are the direct consequence of BODILY INJURY
        that arises out of and in the course of the injured employee’s employment by the ASSURED;

        (d) BODILY INJURY to an employee of the ASSURED arising out of and in the course of
            employment, claimed against the ASSURED in a capacity other than as employer.

   3.   STATE means any STATE of the United States of America and the District of Columbia.

   4.   SUIT means a civil proceeding in which BODILY INJURY is alleged. SUIT includes:

        (a) An arbitration proceeding in which such BODILY INJURY is claimed and to which the
            ASSURED must submit, or

        (b) Any other alternative dispute resolution proceeding in which such BODILY INJURY is claimed
            and to which the ASSURED submits to with Underwriters’ consent.

   5.   WORKERS’ COMPENSATION LAW means the workers’ or workmen’s compensation law and
        occupational disease law of each STATE of hire, or as covered under Coverage Section V Other
        STATES Excess Workers’ Compensation and includes any amendments to those laws which
        are in effect during the PERIOD OF INSURANCE. It does not include provisions of any law that
        provides non-occupational disability benefits.




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                            Coverage Section VI Employee Benefits Liability

                                         This is a Claims Made Section

                   Coverage Section VI Employee Benefits Liability – Insuring Agreement

   Underwriters agree, subject to the Policy limitations, exclusions, terms and conditions to indemnify the
   ASSURED for all sums for which the ASSURED is legally obligated to pay, as more fully defined by the
   term ULTIMATE NET LOSS, by reason of a NEGLIGENT ACT, ERROR OR OMISSION committed in the
   ADMINISTRATION of the ASSURED’S EMPLOYEE BENEFIT PROGRAMS.

   This coverage applies only if a CLAIM for damages, because of a NEGLIGENT ACT, ERROR OR
   OMISSION, is first made against the ASSURED during the PERIOD OF INSURANCE. The NEGLIGENT
   ACT, ERROR OR OMISSION must have first occurred on or after Retroactive Date shown in the
   Schedule of Specific Excess Limits of Insurance, but in no event any later than the last day of the
   PERIOD OF INSURANCE. The CLAIM must be reported to Underwriters as soon as practical but in no
   event later than sixty (60) consecutive days following the expiration of the PERIOD OF INSURANCE, or
   during the EXTENDED REPORTING PERIOD applicable to this coverage, if any. All CLAIMS based on
   or arising out of one NEGLIGENT ACT, ERROR OR OMISSION shall be considered “first made” when
   the first of such CLAIMS is made to the ASSURED. A CLAIM shall not be prejudiced if the ASSURED,
   through clerical oversight or clerical mistake, fails to notify Underwriters within the time provided for under
   this Coverage Section.


            Coverage Section VI Employee Benefits Liability – Specific Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per CLAIM for Coverage Section VI Employee
   Benefits Liability is limited to and not to exceed the Specific Excess Limits as stated in the Schedule of
   Specific Excess Limits of Insurance, over the SELF INSURED RETENTION, as stated in the
   Schedule of SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any coverage under this Coverage Section, the total Aggregate Excess
   Limit of Insurance for such coverage under this Coverage Section combined during the PERIOD OF
   INSURANCE shall not exceed the Annual Aggregate limit as stated in the applicable Coverage Section of
   the Schedule of Specific Excess Limits of Insurance.


                        Coverage Section VI Employee Benefits Liability – Conditions

   1.    Basic Extended Reporting Period:

         A Basic Extended Reporting Period is automatically provided without additional charge. This period
         starts with the end of the PERIOD OF INSURANCE, and lasts for sixty (60) consecutive days.

         If, however, this Policy and this Coverage Section is immediately succeeded by similar Claims
         Made insurance coverage, with any insurer, on which the Retroactive Date is the same as or earlier
         than the Retroactive Date shown in the applicable Coverage Section of the Schedule of Specific
         Excess Limits of Insurance of this Policy, the succeeding Policy shall be deemed to be a renewal
         of this Policy, and the ASSURED shall have no right to an Extended Reporting Period from
         Underwriters.

         The Basic Extended Reporting Period does not apply to CLAIMS that are covered under any
         subsequent insurance applicable to this Coverage Section which the ASSURED purchases, or that
         would have been covered but for exhaustion of the amount of insurance applicable to such
         CLAIMS.


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   2.   Supplemental Extended Reporting Period:

        Underwriters will provide an Extended Reporting Period, as described below, if:

        (a) This Policy or this Coverage Section of this Policy is canceled or non-renewed; or

        (b) Underwriters renew or replace this Policy, or this Coverage Section of this Policy, with
            insurance that does not apply to a NEGLIGENT ACT, ERROR OR OMISSION on a Claims
            Made basis.

        A Supplemental Extended Reporting Period of one (1) year duration is available but only by
        endorsement to this Policy and for an additional premium not to exceed 100% of the annual
        premium for this Coverage Section. This supplemental period starts when the Basic Extended
        Reporting Period ends.

        The ASSURED must give Underwriters a written request for the endorsement within thirty (30)
        consecutive days after the end of the PERIOD OF INSURANCE. The Supplemental Extended
        Reporting Period will not go into effect unless the ASSURED pays the additional premium within
        thirty (30) consecutive days. This endorsement will set forth the terms consistent with the
        Coverage Section.

        Underwriters shall determine the additional premium in accordance with its applicable rules, rates
        and underwriting practices. Coverage for CLAIMS received during such Supplemental Extended
        Reporting Period is excess over any other valid and collectible insurance available under any other
        policies.

        Extended Reporting Periods do not reinstate or increase the applicable SELF INSURED
        RETENTION, the LOSS FUND, the applicable Specific Excess Limit of Insurance, or the Excess
        Loss Fund Protection.

        Extended Reporting Periods do not extend the PERIOD OF INSURANCE or change the scope of
        coverage provided within this Coverage Section. They apply to CLAIMS arising out of a
        NEGLIGENT ACT, ERROR OR OMISSION that take place before the end of the period that this
        Policy and this Coverage Section are in force. Once in effect, Extended Reporting Periods may not
        be canceled.

   3.   Reporting to Underwriters:

        For the purposes of compliance with the reporting requirements of this Coverage Section, the
        ASSURED’S reporting of a CLAIM to the ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR
        shall be considered reporting of the CLAIM to Underwriters, provided that:

        (a) The CLAIM is reported to the ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR no later
            than sixty (60) consecutive days following the expiration of the PERIOD OF INSURANCE or the
            applicable Extended Reporting Period, if any; and

        (b) The CLAIM, if not otherwise reportable to Underwriters pursuant to GENERAL POLICY
            CONDITION 7, appears on the ASSURED’S list of CLAIMS or loss run, as reported by the
            THIRD PARTY CLAIM ADMINISTRATOR to Underwriters, that includes all CLAIMS for the
            PERIOD OF INSURANCE or applicable Extended Reporting Period, if any.


                     Coverage Section VI Employee Benefits Liability – Exclusions

   In addition to General Policy Exclusions, this Coverage Section does not insure against:



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   A.   Any CLAIM for damages, whether direct or consequential, or for any cause of action which is
        covered under any other Coverage Section of the Policy, whether or not a limit is stated in the
        Schedule of Specific Excess Limits of Insurance;

   B.   Any NEGLIGENT ACT, ERROR OR OMISSION by, or at, the direction of the ASSURED that are
        dishonest, fraudulent, criminal or malicious;

   C.   BODILY INJURY, PERSONAL INJURY, or PROPERTY DAMAGE;

   D.   Any CLAIM based upon the ASSURED’S failure to comply with the federal Employee Retirement
        Income Security Act of 1974 (ERISA), including subsequent amendments or any similar federal,
        state or local law(s) or regulations;

   E.   Any CLAIM for failure of performance of a contract by any ASSURED, Insurer or Self Insurer;

   F.   Any CLAIM based upon the ASSURED’S failure to comply with any law concerning worker’s
        compensation, unemployment insurance, social security, or disability benefits;

   G.   Any CLAIM based upon failure of investments, including but not limited to, stocks, bonds, funds, to
        perform as represented by an ASSURED;

   H.   Any CLAIM based upon advice given by an ASSURED to participate or not participate in any stock
        subscription plans;

   I.   Any CLAIM arising out of actual or alleged discrimination including but not limited to discrimination
        based on race or national origin, religion or creed, age, sex, physical disability, military status, or
        employment practices whether or not any of the foregoing violated any federal, state or local
        government law(s) or regulation(s) prohibiting such discrimination.


                      Coverage Section VI Employee Benefits Liability – Definitions

   1.   ADMINISTRATION means:

        (a) Giving counsel to employees with respect to EMPLOYEE BENEFIT PROGRAMS;

        (b) Interpreting EMPLOYEE BENEFIT PROGRAMS;

        (c) Handling of records in connection with EMPLOYEE BENEFIT PROGRAMS; and

        (d) Effecting enrollment, termination, or cancellation of employees under EMPLOYEE BENEFIT
            PROGRAMS;

        Provided all such acts are authorized by the NAMED ASSURED.

   2.   CLAIM means all notices or SUITS demanding payment of money based on, or arising out of the
        same NEGLIGENT ACT, ERROR OR OMISSION or a series of related NEGLIGENT ACTS,
        ERRORS OR OMISSIONS by one or more ASSUREDS.

   3.   NEGLIGENT ACT, ERROR OR OMISSION means the failure to execute required actions, or
        mistaken actions committed in the ADMINISTRATION of the ASSURED’S EMPLOYEE BENEFIT
        PROGRAMS.

        All CLAIMS based on or arising out of the same NEGLIGENT ACT, ERROR OR OMISSION or a
        series of related NEGLIGENT ACTS, ERRORS OR OMISSIONS by one or more ASSUREDS shall
        be deemed one NEGLIGENT ACT, ERROR OR OMISSION. Only one Policy, one SELF

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        INSURED RETENTION, and one Specific Excess Limit of Insurance is applicable to any one
        NEGLIGENT ACT, ERROR OR OMISSION.




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                                        Coverage Section VII Crime

                              Coverage Section VII Crime – Insuring Agreement

   Coverage is provided for one or more of the coverage options in this Coverage Section only if a Specific
   Excess Limit of Insurance is stated in the Schedule of Specific Excess Limits of Insurance, and a
   SELF INSURED RETENTION is stated in the Schedule of SELF INSURED RETENTIONS for each
   Coverage chosen.

   Coverage in this Section is for loss or damage caused by the Perils Covered in each Coverage Section.


                     Coverage Section VII Crime – Specific Excess of Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per OCCURRENCE for Coverage Section VII –
   Crime is limited to, and not to exceed, the Specific Excess Limits as stated in the Schedule of Specific
   Excess Limits of Insurance.

   If an Annual Aggregate applies to any coverage under this Coverage Section, the total Aggregate Excess
   Limit of Insurance for such coverage under this Coverage Section combined during the PERIOD OF
   INSURANCE shall not exceed the Annual Aggregate limit as stated in the applicable Coverage Section of
   the Schedule of Specific Excess Limits of Insurance.

   In the event more than one Coverage Subsection could apply to a loss for which coverage is provided in
   this Coverage Section, only the SELF INSURED RETENTION for the Coverage Subsection that results in
   the largest ULTIMATE NET LOSS will be applied.


                           Coverage Section VII Crime – MONEY and SECURITIES

   A.    MONEY and SECURITIES Coverage: Underwriters will indemnify the NAMED ASSURED for loss
         of MONEY or SECURITIES owned by the NAMED ASSURED or for which the ASSURED is liable
         as a direct result of loss or damage caused by the Perils insured occurring during the PERIOD OF
         INSURANCE whilst inside the PREMISES or in BANKING PREMISES.

                  1. PERILS INSURED:

            (a)   THEFT
            (b)   Disappearance
            (c)   Destruction
            (d)   BURGLARY
            (e)   ROBBERY
            (f)   COMPUTER THEFT

   B.    MONEY and SECURITIES Coverage Extension: Underwriters will indemnify the NAMED
         ASSURED under this Coverage Subsection for:

         1. Damage to, a safe, vault, cash register, cash box or cash drawer located inside the PREMISES
            resulting directly from an actual or attempted THEFT of; or unlawful entry into such containers;

         2. Loss of MONEY or SECURITIES outside the PREMISES in the care and custody of a
            MESSENGER;

         3. Loss of MONEY or SECURITIES outside the PREMISES in the care and custody of an
            armored vehicle company. However, the NAMED ASSURED will be indemnified only the
            amount of loss that the NAMED ASSURED cannot recover:

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            (a)   Under the NAMED ASSURED’S contract with the armored motor vehicle company; and

            (b)   From any insurance or indemnity carried by, or for the benefit of customers of the armored
                  motor vehicles company.

   C.   Duties in the Event of a Loss: If the ASSURED has reason to believe that any loss of, or loss
        from damage to, MONEY or SECURITIES involves a violation of law, the ASSURED must notify
        the appropriate law enforcement authorities.


                     Coverage Section VII Crime – MONEY and SECURITIES Exclusions

   In addition to Coverage Section VII Crime – Exclusions, and the General Policy Exclusions, there is
   no coverage under MONEY and SECURITIES for:

   A.   Loss of MONEY or SECURITIES after they have been transferred or surrendered to a person or
        place outside the PREMISES based upon unauthorized instructions or as a result of a threat to do
        bodily harm or damage to any property;

        But, this exclusion does not apply to loss of MONEY or SECURITIES while outside the PREMISES
        or in BANKING PREMISES or in the care and custody of a MESSENGER if the ASSURED:

            (a)   Had no knowledge of any threat at the time the conveyance began; or

            (b)   Had knowledge of a threat at the time the conveyance began, but the loss was not related to
                  the threat.

        1. Loss resulting from the giving or surrendering of property in any exchange or purchase;

        2. Loss of property in any MONEY operated device unless the amount of MONEY deposited in it
           is recorded by a continuous recording instrument in the device;

        3. Loss resulting from DISHONEST ACTS of any of the NAMED ASSURED’S EMPLOYEES.


                     Coverage Section VII Crime – MONEY and SECURITIES Definitions:

   1.   BANKING PREMISES means the interior of that portion of any building occupied by a banking
        institution, similar safe depository, automatic teller machine (ATM), or similar banking device.

   2.   BURGLARY means the taking of MONEY or SECURITIES from inside the PREMISES by a person
        unlawfully entering or leaving the PREMISES as evidenced by marks of forcible entry or exit.

   3.   COMPUTER THEFT means THEFT of MONEY or SECURITIES following and directly related to
        the use of any computer to fraudulently cause a transfer of that MONEY or SECURITIES from
        inside the PREMISES or BANKING PREMISES to a person (other than a MESSENGER) outside
        those PREMISES or to a place outside those PREMISES.

   4.   DISHONEST ACTS means dishonest or fraudulent acts committed with the intent to cause the
        NAMED ASSURED to sustain loss or damage and to obtain financial benefit for the EMPLOYEE or
        for any other EMPLOYEE, person or organization.

   5.   EMPLOYEE(S) means any person:




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            (a) While in the service of the NAMED ASSURED (and for thirty (30) consecutive days after
                termination of service); and

            (b) Whom the NAMED ASSURED has the right to direct and control while performing services for
                the NAMED ASSURED.

   6.    MESSENGER means the ASSURED while having care and custody of the MONEY or
         SECURITIES outside the PREMISES.

   7.    MONEY means:

            (a) Currency, coins, and bank notes in current use and having a face value; and

            (b) Travelers checks, register checks and MONEY orders held for sale to the public.

         But MONEY does not include SECURITIES.

   8.    OCCURRENCE means an act or series of related acts involving one or more persons; or an act or
         event, or a series of related acts or events not involving any person.

   9.    PREMISES means the interior of that portion of any building that the ASSURED’S occupies in
         conducting the ASSURED’S business.

   10.   ROBBERY means the taking of MONEY or SECURITIES from the care and custody of a person by
         one who has:

            (a) Caused or threatened to cause that person bodily harm; or

            (b) Committed an obviously unlawful act witnessed by that person.

   11.   SECURITIES means negotiable and non-negotiable instruments or contracts representing either
         MONEY or other property and includes:

            (a) Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused
                value in a meter) in current use; and

            (b) Evidences of debt issued in connection with credit or charge cards, which cards are not issued
                by the ASSURED.

         But SECURITIES does not include MONEY.

   12.   THEFT means any act of stealing.


                              Coverage Section VII Crime – Forgery or Alteration

   A.    Forgery or Alteration Coverage: Underwriters will indemnify the NAMED ASSURED for loss
         involving INSTRUMENTS resulting directly from the Perils insured, occurring during the PERIOD
         OF INSURANCE.

         1. PROPERTY COVERED: INSTRUMENTS

         2. Perils Insured: Forgery or alteration of, on, or in any INSTRUMENT.

   B.    Forgery or Alteration Coverage Extension: Underwriters will indemnify the NAMED ASSURED
         under this Section for loss due to the ASSURED’S good faith acceptance of:

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        1. Any United States or Canadian post office, express company, or national or state (or Canadian)
           chartered bank money order that is not paid upon presentation to the issuer; or

        2. Counterfeit United States or Canadian paper currency;

        3. In exchange for merchandise, money or services or as part of a normal business transaction.

   C.     Duties in the Event of a Loss: If the ASSURED has reason to believe that any loss of, or loss
          from damage to PROPERTY COVERED involves a violation of law, the ASSURED must notify the
          appropriate law enforcement authorities.

   D.     Facsimile Signatures: Mechanically reproduced facsimile signatures will be treated the same as
          handwritten signatures.

   E.     Proof of Loss: The NAMED ASSURED must include with proof of loss, any covered
          INSTRUMENT involved in that loss, or, if that is not possible, an affidavit setting forth the amount
          and cause of loss.


                           Coverage Section VII Crime – Forgery or Alteration Exclusions

   A.     Loss resulting from DISHONEST ACTS of any of the NAMED ASSURED’S EMPLOYEES.


                           Coverage Section VII Crime – Forgery or Alteration Definitions

   1.     INSTRUMENTS means checks, drafts, promissory notes, or similar written promises, orders or
          directions to pay a certain sum in money that are:

          (a) Made or drawn by or drawn upon the NAMED ASSURED;

          (b) Made or drawn by one acting as the NAMED ASSURED’S agent; or that are purported to have
              been so made or drawn.

   2.     DISHONEST ACTS means dishonest or fraudulent acts committed with the intent to cause the
          NAMED ASSURED to sustain loss or damage and to obtain financial benefit for the EMPLOYEE or
          for any other EMPLOYEE, person or organization.

   3.     EMPLOYEE(S) means any person:

         (a)   While in the service of the NAMED ASSURED (and for thirty (30) consecutive days after
               termination of service); and

         (b)   Whom the NAMED ASSURED has the right to direct and control while performing services for
               the NAMED ASSURED.

   4.     OCCURRENCE means all loss caused by a person or in which that person is involved, whether the
          loss involves one or more covered INSTRUMENTS.


                                Coverage Section VII Crime – EMPLOYEE Dishonesty

   A.     EMPLOYEE Dishonesty Coverage: Underwriters will indemnify the NAMED ASSURED for the
          loss of or damage to Real or business Personal Property, including MONEY and SECURITIES, and


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        INSTRUMENTS owned or held by the NAMED ASSURED, or for which the NAMED ASSURED is
        liable, occurring during the PERIOD OF INSURANCE.

        1. PROPERTY COVERED: Real or business Personal Property, including MONEY and
           SECURITIES, and INSTRUMENTS owned or held by the NAMED ASSURED, or for which the
           NAMED ASSURED is liable.

        2. Perils Covered: Direct loss of or damage to PROPERTY COVERED resulting from
           DISHONEST ACTS committed by any of the NAMED ASSURED’S EMPLOYEES, acting alone
           or in collusion with other persons, which occur within the PERIOD OF INSURANCE.

   B.   EMPLOYEE Dishonesty Coverage Extension: Underwriters will indemnify the NAMED
        ASSURED under this Coverage Subsection for loss caused to the NAMED ASSURED through
        failure of any of the NAMED ASSURED’S EMPLOYEES, acting alone or in collusion with others
        and occurring during the PERIOD OF INSURANCE to perform faithfully his or her duties as
        prescribed by law or to account properly for all monies and property received by virtue of his or her
        position of employment when such failure has as its direct and immediate result a loss of
        PROPERTY COVERED.

   C.   Duties in the Event of a Loss: If the ASSURED has reason to believe that any loss of, or loss
        from damage to PROPERTY COVERED involves a violation of law, the ASSURED must notify the
        appropriate law enforcement authorities.

   D.   EMPLOYEE Dishonesty Supplemental Coverage: The Supplemental Coverage applies only if
        this EMPLOYEE Dishonesty Coverage renews prior dishonesty coverage and is effective on the
        expiration or termination date of the prior coverage.

        Underwriters will indemnify the ASSURED for loss that would have been covered by the prior
        insurance, except that the time to discover the loss had expired, and which would be covered by
        this Policy had it been in effect when the acts or events causing the loss or damage occurred. This
        coverage is limited to the lesser of the limits applicable to the prior insurance or the Specific
        Excess Limit of Insurance of this coverage. This Supplemental Coverage is part of, and not in
        addition to the Specific Excess Limit of Insurance for EMPLOYEE Dishonesty Coverage.

   E.   Loss Payment: The Specific Excess Limit of insurance shown is the most that will be paid for
        an OCCURRENCE even though it may occur over more than one PERIOD OF INSURANCE.


                        Coverage Section VII Crime – EMPLOYEE Dishonesty Exclusions

   In addition to Coverage Section VII Crime – Exclusions, and the General Policy Exclusions, there is
   no coverage under this Coverage Subsection EMPLOYEE Dishonesty for:

   A.   Damage where the only proof of the loss or amount of the loss is dependent upon an inventory or a
        profit and loss computation;

   B.   Any part of a loss involving any EMPLOYEE occurring after discovery of any fraudulent or
        DISHONEST ACTS committed by the EMPLOYEE whether before or after being employed by the
        ASSURED. This only includes discovery by an ASSURED not in collusion with the EMPLOYEE;

   C.   Loss that is not discovered within one (1) year after the end of the PERIOD OF INSURANCE;

   D.   Legal expenses or any indirect loss.




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                     Coverage Section VII Crime – EMPLOYEE Dishonesty Definitions:

   1.   DISHONEST ACTS means dishonest or fraudulent acts committed with the intent to cause the
        NAMED ASSURED to sustain loss or damage and to obtain financial benefit for the EMPLOYEE or
        for any other EMPLOYEE, person or organization.

   2.   EMPLOYEE(S) means any person:

        (a) While in the service of the NAMED ASSURED (and for thirty (30) consecutive days after
            termination of service); and

        (b) Whom the NAMED ASSURED has the right to direct and control while performing services for
            the NAMED ASSURED.

   3.   INSTRUMENTS means checks, drafts, promissory notes, or similar written promises, orders or
        directions to pay a certain sum in MONEY that are:

        (a) Made or drawn by or drawn upon the NAMED ASSURED;

        (b) Made or drawn by one acting as the NAMED ASSURED’S agent; or that are purported to have
            been so made or drawn.

   4.   MONEY means:

        (a) Currency, coins, and bank notes in current use and having a face value; and

        (b) Travelers checks, register checks and MONEY orders held for sale to the public.

        But MONEY does not include SECURITIES.

   5.   OCCURRENCE means all loss or damage caused by DISHONEST ACTS, whether involving one
        or more EMPLOYEES, or as the result of a single act or series of acts.

   6.   SECURITIES mean negotiable and non-negotiable INSTRUMENTS or contracts                  representing
        either MONEY or other property and includes:

        (a)   Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused
              value in a meter) in current use; and

        (b)   Evidences of debt issued in connection with credit or charge cards, which cards are not issued
              by the ASSURED.

        But SECURITIES does not include MONEY.


                                 Coverage Section VII Crime – Conditions

   Extensions in coverage do not increase, but just form part of, Underwriters’ Specific Excess Limits of
   Insurance as shown in the Schedule of Specific Excess Limits of Insurance.

   1.   No Benefit to Bailee: The Insurance afforded herein shall not inure directly or indirectly to the
        benefit of any carrier or other Bailee for hire.

   2.   Valuation:

        (a) MONEY: Face value.


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        (b) SECURITIES: actual cash value at the close of business on the day the loss was discovered.

   3.   Property other than MONEY and SECURITIES: actual cash value at the time of loss with
        deduction for depreciation. The valuation is limited to the cost to repair or replace with property of
        equivalent kind and quality, to the extent practicable.


                                 Coverage Section VII Crime – Exclusions

   In addition to General Policy Exclusions, this Coverage Section does not insure against:

   A.   Any claim for damages, whether direct or consequential, or for any cause of action which is covered
        under any other Section of the Policy, whether or not a limit is stated in the Schedule of Specific
        Excess Limits of Insurance;

   B.   Loss resulting from accounting or arithmetical errors or omissions;

   C.   Loss resulting from an ASSURED’S, or anyone acting on an ASSURED’S express or implied
        authority, being induced by any DISHONEST ACT to voluntarily part with title to or possession of
        any property;

   D.   Any loss, caused by order of any civil authority, including seizure, confiscation or destruction of
        property, regardless of other causes or events that contribute to or aggravate the loss, whether
        such causes or events act to produce the loss before, at the same time as, or after the excluded
        causes or events.




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                           Coverage Section VIII Law Enforcement Liability

                 Coverage Section VIII Law Enforcement Liability – Insuring Agreements

   A.   Law Enforcement Liability: Underwriters agree, subject to the Policy limitations, terms and
        conditions, to indemnify the ASSURED for all sums which the ASSURED is legally obligated to pay
        by reason of the liability imposed upon the ASSURED by law for damage, direct or consequential,
        and expenses, all as more fully defined by the term ULTIMATE NET LOSS, on account of
        PERSONAL INJURY or BODILY INJURY or PROPERTY DAMAGE or the loss of use thereof
        suffered or alleged to have been suffered by any person(s) or organization(s) resulting from LAW
        ENFORCEMENT ACTIVITIES, including INCIDENTAL MEDICAL MALPRACTICE and
        MOONLIGHTING arising out of an OCCURRENCE during the PERIOD OF INSURANCE.

   B.   Reimbursement of DEFENSE COSTS incurred prior to denial or declination of coverage: With
        respect only to this Coverage Section and Insuring Agreement A. Law Enforcement Liability,
        Underwriters agree, subject to all other Policy limitations, terms and conditions, that as to any claim
        or SUIT for which coverage is denied based solely upon Coverage Section VIII Law Enforcement
        Exclusions B, Underwriters will indemnify the ASSURED for all reasonable DEFENSE COSTS
        arising out of an OCCURRENCE to the extent such DEFENSE COSTS are incurred prior to the date
        on which said declination of coverage is communicated to the ASSURED.

   C.   SEXUAL HARASSMENT Liability: Underwriters agree, subject to the Policy limitations,
        exclusions, terms and conditions, to indemnify the NAMED ASSURED for all sums which the
        NAMED ASSURED is legally obligated to pay, as more fully defined by the term ULTIMATE NET
        LOSS for the liability on the part of the NAMED ASSURED, including liabilities arising from
        negligent hiring, training and supervision, arising out of an OCCURRENCE resulting from any
        actual or alleged acts by past, present or future law enforcement officials, officers, auxiliary officers,
        employees or volunteers of a law enforcement agency or department of the NAMED ASSURED or
        other person or persons of SEXUAL HARASSMENT first committed during the PERIOD OF
        INSURANCE against another person who is not an ASSURED under this Policy. This provision
        applies only to the liability of the NAMED ASSURED to pay any settlement, verdict or judgment;
        providing that the sole liability imposed on the NAMED ASSURED does not arise from any
        contractual duty to indemnify a law enforcement official, officer, auxiliary officer, employee or
        volunteer of a law enforcement agency or department of the NAMED ASSURED. This coverage
        applies only if a SUBLIMIT and SELF INSURED RETENTION for SEXUAL HARASSMENT
        Liability is stated in the Schedule of Specific Excess Limits of Insurance and the Schedule of
        SELF INSURED RETENTIONS under Coverage Section VIII Law Enforcement Liability.

        Underwriters will not make payment for any loss, OCCURRENCE, SUIT or for any DEFENSE
        COSTS for any past, present or future law enforcement officials, officers, auxiliary officers,
        employees or volunteers of a law enforcement agency or department of the NAMED ASSURED or
        other person or persons in respect of actual or alleged SEXUAL HARASSMENT; however, with
        respect only to this Coverage Section VIII Insuring Agreement C. Underwriters agree, subject to
        all other Policy limitations, terms and conditions, that as to any loss, OCCURRENCE or SUIT for
        any actual or alleged SEXUAL HARASSMENT against another person who is not an ASSURED
        under this Policy alleged to have been committed by a law enforcement official, officer, auxiliary
        officer, employee or volunteer of a law enforcement agency or department of the NAMED
        ASSURED only, Underwriters will indemnify that law enforcement official, officer, auxiliary officer,
        employee or volunteer of the NAMED ASSURED for all reasonable DEFENSE COSTS to the
        extent such DEFENSE COSTS are incurred prior to the date on which, by either agreement,
        admission, or settlement of a loss or by an adjudication, it is determined that the law enforcement
        official, officer, auxiliary officer, employee or volunteer of the NAMED ASSURED committed an act
        of SEXUAL HARASSMENT. Coverage only applies if the act of SEXUAL HARASSMENT was first
        committed during the PERIOD OF INSURANCE. Further, this coverage applies only if a SUBLIMIT
        and SELF INSURED RETENTION for SEXUAL HARASSMENT Liability is stated in the Schedule


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        of Specific Excess Limits of Insurance and the Schedule of SELF INSURED RETENTIONS
        under Coverage Section VIII LAW ENFORCEMENT ACTIVITIES.

   D.   SEXUAL ABUSE Liability: Underwriters agree, subject to the Policy limitations, exclusions, terms
        and conditions, to indemnify the NAMED ASSURED for all sums which the NAMED ASSURED is
        legally obligated to pay, as more fully defined by the term ULTIMATE NET LOSS for the liability on
        the part of the NAMED ASSURED, including liabilities arising from negligent hiring, training and
        supervision, arising out of an OCCURRENCE resulting from any actual or alleged acts by any past,
        present or future law enforcement officials, officers, auxiliary officers, employees or volunteers of a
        law enforcement agency or department of the NAMED ASSURED or other person or persons of
        SEXUAL ABUSE first committed during the PERIOD OF INSURANCE against another person who
        is not an ASSURED under this Policy. This provision applies only to the liability of the NAMED
        ASSURED to pay any settlement, verdict or judgment; providing that the sole liability imposed on
        the NAMED ASSURED does not arise from any contractual duty to indemnify a law enforcement
        official, officer, auxiliary officer, employee or volunteer of a law enforcement agency or department
        of the NAMED ASSURED. This coverage applies only if a SUBLIMIT and SELF INSURED
        RETENTION for SEXUAL ABUSE Liability is stated in the Schedule of Specific Excess Limits of
        Insurance and the Schedule of SELF INSURED RETENTIONS under Coverage Section VIII Law
        Enforcement Liability.

        Underwriters will not make payment for any loss, OCCURRENCE, SUIT or for any DEFENSE
        COSTS for past, present or future law enforcement officials, officers, auxiliary officers, employees or
        volunteers of a law enforcement agency or department of the NAMED ASSURED of the NAMED
        ASSURED or other person or persons in respect of actual or alleged SEXUAL ABUSE; however,
        with respect only to this Coverage Section VIII Insuring Agreement D, Underwriters agree,
        subject to all other Policy limitations, terms and conditions, that as to any loss, OCCURRENCE or
        SUIT for any actual or alleged SEXUAL ABUSE against another person who is not an ASSURED
        under this Policy alleged to have been committed by a law enforcement official, officer, auxiliary
        officer, employee or volunteer of a law enforcement agency or department of the NAMED
        ASSURED only, Underwriters will indemnify that law enforcement official, officer, auxiliary officer,
        employee or volunteer of the NAMED ASSURED for all reasonable DEFENSE COSTS to the extent
        such DEFENSE COSTS are incurred prior to the date on which, by either agreement, admission, or
        settlement of a loss or by an adjudication, it is determined that law enforcement official, officer,
        auxiliary officer, employee or volunteer committed of the NAMED ASSURED an act of SEXUAL
        ABUSE. Coverage only applies if the act of SEXUAL ABUSE was first committed during the
        PERIOD OF INSURANCE. Further, this coverage applies only if a SUBLIMIT and SELF INSURED
        RETENTION for SEXUAL ABUSE Liability is stated in the Schedule of Specific Excess Limits
        of Insurance and the Schedule of SELF INSURED RETENTIONS under Coverage Section VIII
        Law Enforcement Liability.

        Neither this coverage nor any subsequent coverage provided by Underwriters will apply to any
        SEXUAL ABUSE involving the same law enforcement official, officer, auxiliary officer, employee or
        volunteer of a law enforcement agency or department of the NAMED ASSURED or other person or
        persons which occurred after the DISCOVERY by any of the NAMED ASSURED’S officials,
        trustees, directors, officers or partners of any actual, attempted or pending alleged SEXUAL
        ABUSE by said perpetrator.

        Following DISCOVERY of any actual, attempted or pending alleged SEXUAL ABUSE during the
        PERIOD OF INSURANCE, the NAMED ASSURED shall give notification of such DISCOVERY to
        Underwriters as soon as practicable but no more than 120 consecutive days after the initial
        DISCOVERY, and in any event within the PERIOD OF INSURANCE or sixty (60) consecutive days
        after the expiration of the PERIOD OF INSURANCE during which the OCCURRENCE of SEXUAL
        ABUSE first took place; whichever is later. Any failure to comply with this provision for any reason
        whatsoever will result in the absolute exclusion of any resulting SEXUAL ABUSE claim or claims,
        irrespective of whether Underwriters have been prejudiced by said failure.


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            Coverage Section VIII Law Enforcement Liability – Specific Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per OCCURRENCE for Coverage Section VIII Law
   Enforcement Liability is limited to, and not to exceed, the Specific Excess Limits as stated in the
   Schedule of Specific Excess Limits of Insurance, over the SELF INSURED RETENTION, as stated in
   the Schedule of SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any coverage under this Coverage Section, the total Aggregate Excess
   Limit of Insurance for such coverage under this Coverage Section combined during the PERIOD OF
   INSURANCE shall not exceed the Annual Aggregate limit as stated in the applicable Coverage Section of
   Schedule of Specific Excess Limits of Insurance.


                        Coverage Section VIII Law Enforcement Liability – Exclusions

   In addition to General Policy Exclusions, this Coverage Section does not insure against:

   A.     Any CLAIM for damages, whether direct or consequential, or for any cause of action which is
          covered under any other Section of this Policy, whether or not a limit is stated in the Schedule of
          Specific Excess Limits of Insurance;

   B.     Any CLAIM or SUIT for BODILY INJURY, PROPERTY DAMAGE, or PERSONAL INJURY,
          including any award of attorney’s fees and costs, resulting from:

        (a) Any knowing and intentional violation of any subsection of Title 42 of the U.S. Code, including but
             not limited to 42 U.S.C § 1981 thru 42 U.S.C. §1989 and 42 U.S.C. §1997; or

        (b) Any knowing and intentional deprivation of any rights protected under the United States
             Constitution or the Constitution of any State, Territory, or Protectorate of the United States; or

        (c) Any act which is not reasonably related to the execution and/or enforcement of the law; or

        (d) Any act committed with the knowledge and intent to cause BODILY INJURY, PROPERTY
             DAMAGE, or PERSONAL INJURY, or which could reasonably be expected to cause BODILY
             INJURY, PROPERTY DAMAGE, or PERSONAL INJURY unless the act of the ASSURED was
             reasonably necessary to lawfully prevent injury to persons or damage to property.

   However, Exclusion B. shall not apply to:

              i. Any liability on the part of the NAMED ASSURED, including liabilities from negligent hiring,
                 training or supervision, arising out of an act by any other ASSURED resulting from LAW
                 ENFORCEMENT ACTIVITIES and excluded herein, but this provision applies only to the
                 liability of the NAMED ASSURED to pay any settlement, verdict or judgment; providing that
                 the sole liability imposed on the NAMED ASSURED does not arise from any contractual duty
                 to indemnify an ASSURED.

              ii. Coverage Section VIII Law Enforcement Liability – Insuring Agreement C. SEXUAL
                  HARASSMENT Liability and Coverage Section VIII Insuring Agreement D. SEXUAL
                  ABUSE LIABILITY; but only to the extent that coverage for SEXUAL HARASSMENT and
                  SEXUAL ABUSE is specifically given, and only if a SUBLIMIT for SEXUAL HARASSMENT
                  and SEXUAL ABUSE coverage is stated in the Schedule of Specific Excess Limits of
                  Insurance.

   C.     Liability arising out of the ownership, maintenance or use, including loading or unloading, of
          watercraft over 50 feet;

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   D.   Damage to or destruction of PROPERTY OF THE ASSURED;

   E.   Liability arising out of the ownership, maintenance, loading or unloading, use or operations of any
        aircraft including UNMANNED AIRCRAFT, airfields, runways, hangars, buildings or other properties
        in connection with aviation activities;

   F.   Any obligation for which the ASSURED may be held liable under any W orkers’ Compensation,
        unemployment compensation, disability benefits law, employers’ liability or under any similar law; or
        to BODILY INJURY to any employee of the ASSURED; or to any liability for indemnity or
        contribution brought by any party against the ASSURED for BODILY INJURY to any employee of
        an ASSURED;

   G.   The cost of any investigation, disciplinary or criminal proceedings against an individual ASSURED
        except that Underwriters may, at their own option and expense, associate counsel in the defense of
        any such investigation, criminal or disciplinary proceeding. Should Underwriters elect to associate
        counsel, such elections shall not constitute a waiver or estoppel of any rights Underwriters may have
        pursuant to the terms, conditions, exclusions and limitations of this Policy;

   H.   Any CLAIM arising from WRONGFUL ACTS except as provided under this Section for
        Discrimination or Violation of Civil Rights arising out of LAW ENFORCEMENT ACTIVITIES;

   I.   CLAIMS, SUITS, proceedings, demands, or actions seeking relief or redress in any form other than
        monetary damages, including defense of same; or any loss, fees, costs or expenses which the
        ASSURED may be obligated to pay to any third-party as a result of any adverse judgment for
        declaratory relief or administrative relief or injunctive relief, including CLAIMS brought under the
        federal Fair Labor Standards Act or similar state act or law;


                      Coverage Section VIII Law Enforcement Liability – Definitions

   1.   CLAIM means all notices or SUITS demanding payment of money based on, or arising out of the
        same OCCURRENCE or a series of related OCCURRENCES by one or more ASSUREDS.

   2.   DEFENSE COSTS mean the expenses incurred for the investigation and defense of a CLAIM or
        SUIT alleging BODILY INJURY, PERSONAL INJURY, PROPERTY DAMAGE, SEXUAL
        HARASSMENT or SEXUAL ABUSE resulting only from LAW ENFORCEMENT ACTIVITIES.
        However, the salaries, expense and administrative cost of the ASSURED or the ASSURED’S
        THIRD PARTY CLAIM ADMINISTRATOR are not included within the meaning of DEFENSE
        COSTS.

   3.   DISCOVERY of any actual, attempted or pending alleged SEXUAL ABUSE shall exist when any of
        the NAMED ASSURED’S officials, trustees, directors, officers, partners or any person that the
        NAMED ASSURED has made responsible in an official capacity to prevent SEXUAL ABUSE has
        taken receipt, learned, or in the exercise of reasonable care should have known:

        (a)   Of any lawsuit alleging SEXUAL ABUSE; or

        (b)   Of any demand for money or services based upon alleged SEXUAL ABUSE; or

        (c)   Of any criminal investigation or prosecution alleging SEXUAL ABUSE; or

        (d)    Of any allegation by an alleged victim or by a parent or guardian of the alleged victim of
              SEXUAL ABUSE, whether the allegation is or is not accompanied by a demand for money or
              services; or



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        (e)    Of any report from any other person alleging SEXUAL ABUSE, and a person or group
              designated by the NAMED ASSURED to investigate the allegation has investigated and as a
              result of the investigation has recommended that any action of any kind be taken by or on
              behalf of the NAMED ASSURED with respect either to the alleged ASSURED or the alleged
              victim; or

        (f)   That the alleged ASSURED has admitted to acts of SEXUAL ABUSE.

   4.   INCIDENTAL MEDICAL MALPRACTICE means BODILY INJURY or PERSONAL INJURY arising
        out of the rendering of or failure to render emergency and/or first aid medical services which shall be
        understood to include, but not limited to, the dispensing of medication and/or the administering of
        inoculations and/or blood tests and the like (i.e.: medicines/tests normally administered by a
        Healthcare Department that are preventative in nature and do not require advanced medical
        diagnosis) but where there are no overnight stays in a medical facility. However, INCIDENTAL
        MEDICAL MALPRACTICE does not include services provided by:

               (a) A hospital or emergency room facility;

               (b) A physician, medical doctor, osteopath, chiropractor, resident, extern, or intern;

               (c) A psychiatrist;

               (d) A pharmacist;

               (e) A dentist, orthodontist, or periodontist.

   5.   OCCURRENCE means an accident or a happening or event or a continuous or repeated exposure
        to conditions which results in BODILY INJURY, PROPERTY DAMAGE, PERSONAL INJURY,
        SEXUAL HARASSMENT or SEXUAL ABUSE during the PERIOD OF INSURANCE.

        All BODILY INJURIES, PERSONAL INJURIES or SEXUAL HARASSMENT or SEXUAL ABUSE
        to one or more persons and/or PROPERTY DAMAGE arising out of an accident or a happening or
        event or a continuous or repeated exposure to conditions shall be deemed one OCCURRENCE.
        Only one Policy, one SELF INSURED RETENTION, and one Specific Excess Limit of Insurance
        is applicable to any one OCCURRENCE.

   6.   MOONLIGHTING means any other employment, or extra-duty assignment that enforces the law or
        protects persons or property, approved by the NAMED ASSURED’S police department, sheriff
        agency, or other law enforcement organization.




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                                      Coverage Section IX Terrorism

                           Coverage Section IX Terrorism – Insuring Agreements

   Coverage is provided for one or more of the Coverage Subsections in this Coverage Section only if a
   corresponding Specific Excess Limit of Insurance is stated in the Schedule of Specific Excess Limits
   of Insurance, and a SELF INSURED RETENTION is stated in the Schedule of SELF INSURED
   RETENTIONS.

   Coverage in this Section is for loss or damage caused by an ACT OF TERRORISM or series of ACTS OF
   TERRORISM, as defined herein per coverage section.


                   Coverage Section IX Terrorism – Specific Excess Limits of Insurance

   Underwriters’ Specific Excess Limit of Insurance per OCCURRENCE or claim for Coverage Section
   IX Terrorism is limited to, and not to exceed, the Specific Excess Limits as stated in the Schedule of
   Specific Excess Limits of Insurance, over the SELF INSURED RETENTION, as stated in the
   Schedule of SELF INSURED RETENTIONS.

   If an Annual Aggregate applies to any Coverage Subsection under this Coverage Section, the total
   Aggregate EXCESS LIMIT OF INSURANCE for such Coverage Subsection under this Coverage Section
   combined during the PERIOD OF INSURANCE shall not exceed the Annual Aggregate limit as stated in
   the applicable Coverage Subsection of the Schedule of Specific Excess Limits of Insurance.


                            Coverage Section IX Terrorism – Property Terrorism

   Property Terrorism Coverage: Underwriters agree, subject to the Policy limitations, terms and
   conditions to indemnify the ASSURED for physical loss or physical damage by an OCCURRENCE, ACT
   OF TERRORISM or series of ACTS OF TERRORISM, as herein defined, occurring during the PERIOD
   OF INSURANCE to all Real and Personal Property, wherever located, and identified in Schedules on file
   with Underwriters (hereinafter referred to as the “Schedule”).

   This Policy also covers, within the sum insured, expenses incurred in the removal of debris of property
   covered hereunder which may be directly destroyed or damaged by an ACT OF TERRORISM or series of
   ACTS OF TERRORISM. The cost of removal of debris shall not be considered in determination of the
   valuation of the property covered.


                     Coverage Section IX – Terrorism – Property Terrorism Conditions

   1. Protection Maintenance: It is agreed that any protection provided by the ASSURED for the safety of
      the insured property shall be maintained in good order throughout the currency of this Policy and shall
      be in use at all relevant times, and that such protection shall not be withdrawn or varied to the
      detriment of the interests of Underwriters without their consent.

   2. Valuation: It is understood that, in the event of loss or damage, settlement shall be based upon the
      cost of repairing, replacing or reinstating (whichever is the least) on the same site, or nearest
      available site (whichever incurs the least cost) with material of like kind and quality without deduction
      for depreciation, subject to the following provisions: -

       (a) The repairs, replacement or reinstatement (all hereinafter referred to as “replacement”) must be
           executed with due diligence and dispatch;



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       (b) Until replacement has been effected the amount of liability under this Policy in respect of loss
           shall be limited to the ACTUAL CASH VALUE, as defined under Coverage Section I Property,
           at the time of loss;

       (c) If replacement with material of like kind and quality is restricted or prohibited by any by-laws,
           ordinance or law, any increased cost of replacement due thereto shall not be covered by this
           Policy.

       Underwriters’ liability for loss under this Policy including this Condition shall not exceed the smallest
       of the following amounts: -

            (i) The amount of the Policy applicable to the destroyed or damaged property;

            (ii) The replacement cost of the property or any part thereof identical with such property and
                 intended for the same occupancy and use;

            (iii) The amount actually and necessarily expended in replacing said property or any part thereof.

   3. Proof of Loss: The ASSURED shall render a signed and sworn proof of loss within sixty (60)
      consecutive days after the OCCURRENCE of a loss (unless such period be extended by the written
      agreement of Underwriters) stating the time, place and cause of loss, the interest of the ASSURED
      and all others in the property, the sound value thereof and the amount of loss or damage thereto.

       If Underwriters have not received such proof of loss within two (2) years of the expiry date of this
       Policy, they shall be discharged from all liability hereunder unless an extension has been specifically
       filed with Underwriters.


                       Coverage Section IX Terrorism – Property Terrorism Exclusions

   In addition to General Policy Exclusions, this Coverage subsection does not insure against:

   A. Loss or damage arising directly or indirectly from nuclear detonation, nuclear reaction, nuclear
      radiation or radioactive contamination, however such nuclear detonation, nuclear reaction, nuclear
      radiation or radioactive contamination may have been caused.

   B. Loss or damage occasioned directly or indirectly by war, invasion or warlike operations (whether war
      be declared or not), hostile acts of sovereign or government entities, civil war, rebellion, revolution,
      insurrection, civil commotion assuming the proportions of or amounting to an uprising, military or
      usurped power or martial law or confiscation by order of any Government or public authority.

   C. Loss by seizure or illegal occupation.

   D. Loss or damage caused by confiscation, requisition, detention, legal or illegal occupation, embargo,
      quarantine, or any result of any order of public or government authority which deprives the ASSURED
      of the use or value of the PROPERTY OF THE ASSURED, nor for loss or damage arising from acts
      of contraband or illegal transportation or illegal trade.

   E. Loss or damage directly or indirectly arising from or in consequence of the discharge of pollutants or
      contaminants, which pollutants and contaminants shall include but not be limited to any solid, liquid,
      gaseous or thermal irritant, contaminant of toxic or hazardous substance or any substance the
      presence, existence or release of which endangers or threatens to endanger the health, safety or
      welfare of persons or the environment.

   F. Loss or damage by chemical or biological release or exposure of any kind.



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   G. Loss or damage by attacks by electronic means (cyber) including computer hacking or t he
      introduction of any form of computer virus.

   H. Loss or damage caused by vandals or other persons acting maliciously or by way of protest or
      strikes, riots or civil commotion unless physical loss or damage is caused directly by an Act or series
      of Acts of Terrorism.

   I.   Loss or increased cost occasioned by any Public or Civil Authority’s enforcement of any ordinance or
        law regulating the reconstruction, repair or demolition of any property insured hereunder which was
        not applicable prior to the Loss.

   J.   Any consequential loss or damage caused by any other ensuing cause, except where such ensuing
        cause is directly caused by an ACT OF TERRORISM or series of ACTS OF TERRORISM, or where
        business interruption coverage is provided in addition to this Policy.

   K. Loss of use, delay or loss of markets, however caused or arising, and despite any preceding loss
      insured hereunder.

   L. Loss or damage caused by cessation, fluctuation or variation in, or insufficiency of, water, gas or
      electricity supplies and telecommunications of any type or service.

   M. Loss or increased cost as a result of threat or hoax, in the absence of physical damage due to an
      ACT OF TERRORISM or series of ACTS OF TERRORISM.

   N. Loss or damage caused by or arising out of burglary, house - breaking, theft or larceny or caused by
      any person taking part therein.

   O. Loss or damage caused to the following property:

        (a) Land or Land Values.

        (b) Power Transmission or feeder lines unless such Power Transmission or feeder lines are the
            responsibility of the ASSURED.

        (c) Aircraft or any other Aerial device, or watercraft.

        (d) Any land conveyance, including vehicles, locomotives or rolling stock, unless such land
            conveyance is declared hereon and solely whilst located at the property insured herein at the
            time of its damage.

        (e) Animals, plants and living things of all types.


                       Coverage Section IX Terrorism – Property Terrorism Definitions

   1. ACT OF TERRORISM means an act, including the use of force or violence, of any person or group(s)
      of persons, whether acting alone or on behalf of or in connection with any organisation(s), committed
      for political, religious or ideological purposes including the intention to influence any government
      and/or to put the public in fear for such purposes.

   2. OCCURRENCE shall mean any one loss and/or series of losses arising out of and directly
      occasioned by one ACT or series of ACTS OF TERRORISM for the same purpose or cause. The
      duration and extent of any one OCCURRENCE shall be limited to all losses sustained by the
      ASSURED at the property insured herein during any period of seventy-two (72) consecutive hours
      arising out of the same purpose or cause. However no such period of seventy-two (72) consecutive
      hours may extend beyond the expiration of this Policy unless the ASSURED shall first sustain direct

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       physical loss or damage by an ACT or series of ACTS OF TERRORISM prior to expiration and within
       said period of seventy-two (72) consecutive hours nor shall any period of seventy-two (72)
       consecutive hours commence prior to the attachment of this Policy.


                             Coverage Section IX Terrorism – Liability Terrorism

   This is a claims made and reported Coverage Subsection. This means that, subject to the terms and
   conditions of this Coverage Subsection, the coverage provided by this Coverage Subsection only covers
   claims first made against the ASSURED or a circumstance which could reasonably be expected to give
   rise to a claim during the period of insurance and reported to Underwriters in writing as soon as
   reasonably possible and in no event longer than sixty (60) consecutive days after the expiry of this
   Policy. CLAIMS EXPENSES that are incurred in defending any claim against the ASSURED will reduce,
   and may completely exhaust, the Limit of Liability available to pay damages. Please review the
   coverage provided by this Coverage Subsection carefully and discuss the coverage with your insurance
   agent or broker.

   Liability Terrorism Coverage: Underwriters agree, subject to the Policy limitations, terms and
   conditions to indemnify the ASSURED for any damages and CLAIMS EXPENSES which the ASSURED
   shall become legally liable to pay because of any claim or claims for BODILY INJURY and/or
   PROPERTY DAMAGE, first made against the ASSURED during the PERIOD OF INSURANCE and
   reported to Underwriters in writing no later than sixty (60) consecutive days after the expiry of this Policy,
   caused by an ACT OF TERRORISM and/or SABOTAGE occurring during the PERIOD OF INSURANCE.
   This cover is subject to the terms, conditions and exclusions stated in this Policy.

   Multiple ACTS OF TERRORISM and/or SABOTAGE which occur within a period of seventy-two (72)
   consecutive hours and which have or appear to have a related purpose or common leadership will be
   deemed to be one ACT OF TERRORISM and/or SABOTAGE.

   All claims arising out of the same or a continuing ACT OF TERRORISM and/or SABOTAGE, including
   ACTS OF TERRORISM and/or SABOTAGE which have or appear to have a related purpose or common
   leadership, within a period of seventy-two (72) hours shall be considered a single claim and deemed to
   have been made at the time the first of such claims is reported to Underwriters and shall be subject to a
   single EXCESS LIMIT OF INSURANCE.


                       Coverage Section IX Terrorism – Liability Terrorism Conditions

   1. PROOF OF LOSS: The ASSURED shall render a signed and sworn proof of loss within sixty (60)
      consecutive days after the OCCURRENCE of a loss (unless such period be extended by the written
      agreement of Underwriters) stating the time, place and cause of loss, the interest of the ASSURED
      and all others in the property, the sound value thereof and the amount of loss or damage thereto.

       If Underwriters have not received such proof of loss within two (2) years of the expiry date of this
       Policy, they shall be discharged from all liability hereunder unless an extension has been specifically
       filed with Underwriters.


                       Coverage Section IX Terrorism – Liability Terrorism Exclusions

   This Policy does not apply to any actual or alleged loss, liability, injury, CLAIM EXPENSES, cost and
   expense arising directly or indirectly:-

   A. from or as a result of nuclear detonation, nuclear reaction, nuclear radiation or radioactive
      contamination, however such nuclear detonation, nuclear reaction, nuclear radiation or radioactive
      contamination may have been caused;

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   B. from or as a result of war, invasion or warlike operations (whether war be declared or not), hostile
      acts of sovereign or government entities, civil war, rebellion, revolution, insurrection, civil commotion
      assuming the proportions of or amounting to an uprising, military or usurped power or martial law or
      confiscation by order of any Government or public authority;

   C. from or as a result of seizure or illegal occupation unless caused directly by an insured ACT OF
      TERRORISM and/or SABOTAGE;

   D. from or as a result of confiscation, requisition, detention, legal occupation, embargo, quarantine, or
      any result of any order of public or government authority which deprives the ASSURED of the use or
      value of its property, nor for loss or damage arising from acts of contraband or illegal transportation or
      illegal trade;

   E. from or as a result of the discharge of POLLUTANTS or contaminant, which POLLUTANTS and
      contaminants shall include but not be limited to any solid, liquid, gaseous or thermal irritant,
      contaminant of toxic or hazardous substance or any substance the presence, existence or release of
      which endangers or threatens to endanger the health, safety or welfare of persons or the environment
      or loss, injury or damage directly or indirectly arising from chemical or biological release or exposure
      of any kind;

   F. from or as a result of attacks using electronic means including computer hacking or the introduction of
      any form of computer virus;

   G. from or as a result of vandals or other persons acting maliciously or by way of protest or strikes, riots
      or civil commotion unless caused directly by an insured ACT OF TERRORISM and/or ACT OF
      SABOTAGE;

   H. from or as a result of consequential loss, delay or loss of markets, failure to supply goods or services,
      or failure to perform however caused or arising, and despite any preceding loss insured hereunder;

   I.   from or as a result of cessation, fluctuation or variation in, or insufficiency of, water, gas or electricity
        supplies, telecommunications or service of any type;

   J.   from or as a result of threat or hoax;

   K. from or as a result of BODILY INJURY to employees or contract workers of the ASSURED or arising
      under any workers’ compensation, unemployment compensation or disability laws, statutes, or
      regulation;

   L. from or as a result of BODILY INJURY or PROPERTY DAMAGE arising out of discrimination or
      humiliation;

   M. from or as a result of property:

        (1) owned, leased, rented or occupied by the ASSURED; or

        (2) in the care, custody or control of the ASSURED;

   N. from or as a result of fines, penalties, punitive damages, exemplary damages, or any additional
      damages resulting from the multiplication of compensatory damages;

   O. from or as a result of mental injury, anguish or shock where no BODILY INJURY has occurred to the
      claimant;



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   P. from or as a result of BODILY INJURY and/or PROPERTY DAMAGE directly or indirectly relating to
      the actual, alleged or threatened presence of asbestos in any form;

   Q. from or as a result of any claims or circumstances disclosed on the Application for this insurance;

   R. from or as a result of any design, manufacture, assembly, sale trade, distribution or promotion of any
      product; and

   S.   from or as a result of the rendering of or failure to render professional services.

   Nothing contained in the above exclusions shall extend this Policy to cover any liability which would not
   have been covered had these exclusions not been incorporated herein.


                          Coverage Section IX Terrorism – Liability Terrorism Definitions

   1.    ACT OF TERRORISM means an act, including the use of force or violence, of any person or
         group(s) of persons, whether acting alone or on behalf of or in connection with any organisation(s),
         committed for political, religious or ideological purposes including the intention to influence any
         government and/or to put the public in fear for such purposes.

   2.    ACT OF SABOTAGE means an act or series of acts of deliberate damage or destruction of property
         by secret means committed for subversive, political, religious or ideological purposes including the
         intention to influence any government and/or to put the public in fear for such purposes.

   3.    CLAIM EXPENSES means investigation, adjustment, appraisal, defense and appeal costs and
         expenses and pre and post judgment interest, paid or incurred by or on behalf of the ASSURED.
         The salaries, expenses or administrative costs of the ASSURED or its employees or any insurer
         shall not be included within the meaning of CLAIM EXPENSES.

   4.    OCCURRENCE means any one loss and/or series of losses arising out of and directly
         occasioned by one ACT or series of related ACTS OF TERRORISM and/or ACTS OF
         SABOTAGE for the same purpose or cause. The duration and extent of any one OCCURRENCE
         shall be limited to all losses directly occasioned by one ACT or series of ACTS OF TERRORISM
         and/or ACTS OF SABOTAGE arising out of the same purpose or cause during any period of
         seventy-two (72) consecutive hours commencing at the time of the first such act and within a
         radius of ten (10) miles of the location of the first such ACT OF TERRORISM and/or ACT OF
         SABOTAGE.

         However for the purposes of this Policy no period of seventy-two (72) consecutive hours shall
         commence prior to the attachment of this Policy.


                         Coverage Section IX Terrorism – Employers’ Liability Terrorism

   This is a claims made and reported Coverage Subsection. This means that, subject to the terms and
   conditions of this Coverage Subsection, the coverage provided by this Coverage Subsection only covers
   claims first made against the ASSURED or a circumstance which could reasonably be expected to give
   rise to a claim during the PERIOD OF INSURANCE and reported to Underwriters in writing as soon as
   reasonably possible and in no event longer than 90 consecutive days after the expiry of this Policy.
   CLAIMS EXPENSES that are incurred in defending any claim against the ASSURED will reduce, and
   may completely exhaust, the Limit of Liability available to pay DAMAGES.




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   Coverage: Underwriters agree, subject to the Policy limitations, terms and conditions to indemnify the
   ASSURED for any DAMAGES which the ASSURED shall become legally liable to pay as compensation
   for BODILY INJURY to an EMPLOYEE of the ASSURED (other than the perpetrator(s) of the ACT OF
   TERRORISM) during the course of their employment in the business of the ASSURED, provided such
   BODILY INJURY is caused solely and directly by an ACT OF TERRORISM occurring during the PERIOD
   OF INSURANCE at the location named in the schedule. Underwriters will also pay CLAIMS EXPENSES.

   Multiple ACTS OF TERRORISM which occur within a period of 72 consecutive hours and which have or
   appear to have a related purpose or common leadership will be deemed to be one ACT OF
   TERRORISM.

   All claims arising out of the same or a continuing ACT OF TERRORISM, including ACTS OF
   TERRORISM which have or appear to have a related purpose or common leadership, within a period of
   72 hours shall be considered a single claim and deemed to have been made at the time the first of such
   claims is reported to Underwriters and shall be subject to a single Specific Excess Limit of Insurance.


                  Coverage Section IX Terrorism – Employers’ Liability Terrorism Conditions

   1.   Proof of Loss: The ASSURED shall render a signed and sworn proof of loss within sixty (60)
        consecutive days after the occurrence of a loss (unless such period be extended by the written
        agreement of Underwriters) stating the time, place and cause of loss, the interest of the ASSURED
        and all others in the property, the sound value thereof and the amount of loss or damage thereto.

        If Underwriters have not received such proof of loss within two (2) years of the expiry date of this
        Policy, they shall be discharged from all liability hereunder unless an extension has been specifically
        filed with Underwriters.


                 Coverage Section IX Terrorism – Employers’ Liability Terrorism Exclusions

   This insurance does not cover DAMAGES or CLAIMS EXPENSES with respect to any claim directly or
   indirectly arising from, caused by or due to:

   A.    Any ACT OF TERRORISM involving the emission, discharge, dispersal, release or escape of any
         chemical or biological agent;

   B.    Any threat or hoax of an ACT OF TERRORISM;

   C.    Any ACT OF TERRORISM by electronic means including computer hacking or the introduction into
         any computer of any form of corrupting, harmful or otherwise unauthorized instructions or code.
         This exclusion shall not apply to the detonation of any explosive bomb or missile which is controlled
         by any remote device or reliant upon electronic means in its launch, guidance or firing systems;

   D.    Any POLLUTANT OR CONTAMINANT, however such POLLUTANT OR CONTAMINANT may
         have been introduced or arisen;

   E.    Vandalism and malicious mischief, strikes, labor unrest, riots or civil commotion;

   F.    War, invasion, acts of foreign enemies, hostilities (whether war be declared or not), civil war,
         rebellion, revolution, insurrection, military or usurped power;

   G.    Confiscation, nationalization, requisition or destruction of or damage to property by or under the
         order of any government or public or local authority;




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   H.    Nuclear reaction, nuclear radiation or radioactive contamination, however such nuclear reaction,
         nuclear radiation or radioactive contamination may have been caused;

   I.    Injury caused by or resulting from the ASSURED’s recklessness or deliberate misconduct;

   J.    Injury arising out of any breach of an obligation owed by the ASSURED as an employer including
         but not limited to EMPLOYEE claims of wrongful termination of employment, discrimination,
         harassment, false arrest, slander, invasion of privacy, assault or battery, or mental anguish or
         humiliation when asserted in connection with an employment related claim;

   K.    Mental injury, anguish or shock where no actual physical injury has occurred to the claimant;

   L.    Criminal, dishonest, fraudulent or malicious conduct by the ASSURED.

   This insurance does not cover fines, penalties, punitive or exemplary DAMAGES, sanctions or any
   additional DAMAGES resulting from the multiplication of compensatory DAMAGES. Nothing contained in
   the above exclusions shall extend this Policy to cover any liability which would not have been covered
   had these exclusions not been incorporated herein.


                  Coverage Section IX Terrorism – Employers’ Liability Terrorism Definitions

   1.   ACT OF TERRORISM means an act, including the use of force or violence, of any person or
        group(s) of persons, whether acting alone or on behalf of or in connection with any organisation(s),
        committed for political, religious or ideological purposes including the intention to influence any
        government and/or to put the public in fear for such purposes.

   2.   BODILY INJURY means, for this coverage only, all physical injury to a third party human being, other
        than the perpetrator(s) of the ACT OF TERRORISM, including death, sickness, disease or disability
        and all consequent mental injury, anguish or shock to such human suffering such physical injury.

   3.   CLAIMS EXPENSES means all fees, costs and expenses incurred with the written consent of
        Underwriters resulting from the investigation, adjustment, appraisal, defense or appeal of a claim,
        SUIT or proceeding relating to a claim. CLAIMS EXPENSES do not include the salaries, expenses,
        overhead or other charges by the ASSURED for any time spent in cooperating in the defense,
        settlement and investigation of any claim.

   4.   DAMAGES means a monetary judgment, monetary award or monetary settlement made with
        Underwriters written approval.

   5.   POLLUTANT OR CONTAMINANT includes but is not limited to any solid, liquid, gaseous or thermal
        irritant, contaminant or toxic or hazardous substance or any substance the presence, existence, or
        release of which endangers or threatens to endanger the health, safety or welfare of persons or the
        environment.

   6.   EMPLOYEE means the following persons working for the ASSURED for the purpose of the
        ASSURED’s business:

        (a)   Any person employed by the ASSURED under a contract of service or apprenticeship;

        (b)   Any person supplied to, hired by or borrowed by the ASSURED;

        (c)   Labor masters and persons supplied by them;

        (d)   Persons employed by labor only sub-contractors;


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       (e)   Self-employed persons and voluntary helpers;

       (f)   Any person attending under a work experience scheme; or

       (g)   A prospective EMPLOYEE who is undergoing practical work experience while being assessed
             by the insured as to his or her suitability for employment.




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     This policy is written by a surp lus lines insurer and is not subject
     to the filing or approval requirements of the New Jersey
     Department of Banking and Insurance. Such a policy may contain
     conditions, limitations, exclusions and different terms than a
     policy issued by an insurer granted a Certificate of Authority by
     the New Jersey Department of Banking and Insurance. The insurer
     has been approved by the Department as an eligible surplus lines
     insurer, but the policy is not covered by the New Jersey Insurance
     Guaranty Fund, and only a policy of medical malpractice liability
     insurance as defined in N.J.S. A. 17:30D -3d or a policy of property
     insurance covering owner-occupied dwellings of less than four
     dwelling units are covered by the New Jersey Surplus Lines
     Guaranty Fund.




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ENDORSEMENT attaching to and forming part of Policy No. PK1021618

NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18

                                                                                               Endorsement No. 1


                       COVERAGE AMENDATORY - LOSS FUND EXCLUSION


It is understood and agreed that this policy does not provide coverage under Excess LOSS FUND
Protection of the policy wording.

It is further understood and agreed that any reference made to Excess LOSS FUND Protection and to the
ASSURED’S Loss Fund within the policy wording shall be deemed to be deleted.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18



                                                                                               Endorsement No. 2



         COVERAGE SECTION II GENERAL LIABILITY – FAILURE TO SUPPLY EXCLUSION


It is understood and agreed that Coverage Section II General Liability does not apply to BODILY INJURY
or PROPERTY DAMAGE arising out of the failure of any ASSURED to adequately supply gas, oil, electricity
or steam.

This exclusion does not apply if the failure to supply results from a covered cause of loss under Coverage
Section I Property caused by Direct Physical Loss or Damage to tangible property owned or used by any
ASSURED to procure, produce, process or transmit the gas, oil, electricity or steam.


Furthermore, this exclusion shall not apply to BODILY INJURY or PROPERTY DAMAGE arising out of
the failure of any ASSURED to adequately supply water.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18




                                                                                               Endorsement No. 3


   U.S. TERRORISM RISK INSURANCE ACT OF 2002 AS AMENDED NOT PURCHASED CLAUSE


This Clause is issued in accordance with the terms and conditions of the "U.S. Terrorism Risk Insurance
Act of 2002" as amended as summarized in the disclosure notice.

It is hereby noted that the Underwriters have made available coverage for “insured losses” directly resulting
from an "act of terrorism" as defined in the "U.S. Terrorism Risk Insurance Act of 2002", as amended
(“TRIA”) and the Insured has declined or not confirmed to purchase this coverage.

This Insurance therefore affords no coverage for losses directly resulting from any "act of terrorism" as
defined in TRIA except to the extent, if any, otherwise provided by this policy.

All other terms, conditions, insured coverage and exclusions of this Insurance including applicable limits
and deductibles remain unchanged and apply in full force and effect to the coverage provided by this
Insurance.




LMA5219

12 January 2015




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18

                                                                                               Endorsement No. 4


                             NON – WAIVER OF GOVERNMENTAL IMMUNITY


It is understood and agreed that the ASSURED shall not waive, either in the adjustment of claims or in the
defense of SUITS(S) against the ASSURED, any governmental immunity, of the ASSURED, unless
Underwriters and the ASSURED mutually agree, in writing, to do so.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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NAMED ASSURED: City of Trenton, NJ

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   COVERAGE SECTION II – GENERAL LIABILITY – NURSING HOME PROFESSIONAL HEALTH
                    CARE SERVICES EXCLUSION ENDORSEMENT


Notwithstanding anything contained in Coverage Section II General Liability to the contrary, it is
understood and agreed that coverage as afforded hereunder excludes BODILY INJURY, PERSONAL
INJURY or PERSONAL INJURY arising from Nursing Home Limited Professional Health Care Services at
any Nursing Home owned, operated, leased or maintained by an ASSURED.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18

                                                                                               Endorsement No. 6


                                 CORRIDOR RETENTION ENDORSEMENT


It is understood and agreed that in the event of a loss involving Coverage Section II General Liability,
Section III AUTOMOBILE Liability, Section IV Public Officials’ Miscellaneous Liability, Section V
Excess Workers’ Compensation & Employers Liability For A Qualified Self-Insurer, Section VI
Employee Benefits Liability and Section VIII Law Enforcement Liability, the ASSURED shall pay the
first $500,000, $500,000 in the aggregate annually, for each OCCURRENCE or CLAIM excess of the SELF
INSURED RETENTION and any applicable Co-Insurance pay and MAINTENANCE DEDUCTIBLE.

It is further understood and agreed that the Underwriter’s Specific Excess Limit of Insurance per
OCCURRENCE or CLAIM is only for the difference between the Excess Limits as stated in the Schedule
of Specific Excess Limits of Insurance and the aforesaid Corridor Retention amount which is in turn
excess of the SELF INSURED RETENTION and any applicable Co-Insurance Pay and MAINTENANCE
DEDUCTIBLE.

Specific Excess Limit of Insurance per OCCURRENCE is only for the difference between the Specific
Excess Limit of Insurance for all Sections of Coverage combined as stated in the Clash Coverage and
the aforesaid Corridor Retention amount which is in turn excess of the smallest SELF INSURED
RETENTION applicable to any Section of Coverage involved in the loss.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18


                                                                                               Endorsement No. 7



     GENERAL POLICY CONDITIONS NOTIFICATION OF CLAIMS, OCCURRENCES OR SUITS


It is hereby understood and agreed that General Policy Condition 7. CLAIMS, OCCURRENCES or SUITS
is amended to read as follows:

7.    CLAIMS, OCCURRENCES or SUITS: Underwriters reserves the right to deny coverage under this
      Policy if there has not been full compliance with the following duties:

      The ASSURED shall as soon as practical notify Underwriters through the THIRD PARTY CLAIMS
      ADMINISTRATOR of any CLAIM, OCCURRENCE, or SUIT meeting the following criteria:

        (a)      The cost of which is likely to result in payment by Underwriters under this Policy;

        (b)      All claims reserved at 50% or more of the SELF INSURED RETENTION;

        (c)      All claims where there has been a settlement demand above the SELF INSURED
                 RETENTION and there is a trial, binding arbitration or binding mediation date within ninety
                 (90) days;

        (d)      Catastrophic losses (including Paraplegia, Quadriplegia, Severe Burns, Fatalities,
                 Significant Brain Injury, Amputation of Major Extremity);

        (e)      SEXUAL ABUSE claims;

        (f)      Discrimination or Violation of Civil Rights where the claim is reserved at 50% or more of
                 the SELF INSURED RETENTION or within ninety (90) days of a trial date, whichever is
                 sooner;

        (g)      Third-party claims involving LAW ENFORCEMENT ACTIVITIES;

        (h)      Act or series of ACTS OF TERRORISM;

        (i)      Any claims where there is a question as to whether there will be coverage under this Policy.

      Underwriters shall have the right, but not the obligation, to be associated with the ASSURED in,
      and/or assume charge of, the investigation, handling, defense or settlement of any claims, SUIT or
      proceedings relative to an OCCURRENCE or CLAIM where in the opinion of the Underwriters, their
      liability under this Policy is likely to be involved or when the SELF INSURED RETENTION has been
      exhausted; in which case the ASSURED and Underwriters shall co-operate to the mutual advantage
      of both. In all other circumstances, Underwriters will have the right, but not the obligation, to assume
      charge of the defense of any claim or suit relative to an OCCURRENCE or CLAIM at its own expense.



Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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ENDORSEMENT attaching to and forming part of Policy No. PK1021618

NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18

      The ASSURED shall make no commitment to pay or settle any CLAIMS, OCCURRENCES or SUITS
      where Underwriters liability under this Policy is involved without the prior written agreement of
      Underwriters. Underwriters shall not withhold agreement without just cause. Neither shall the
      ASSURED refuse any reasonable opportunity to pay or settle a claim when such refusal will result in
      Underwriters having liability under this Policy without the prior agreement of Underwriters.
      Underwriters shall not withhold agreement without just cause. If the ASSURED refuses to consent to
      settlement of any CLAIMS, OCCURRENCES or SUITS where Underwriters liability under this Policy
      is potentially involved, and settlement or compromise is recommended by Underwriters and
      acceptable to the claimant, then calculation of, and Underwriters obligation under ULTIMATE NET
      LOSS with respect to the CLAIMS, OCCURRENCES or SUITS shall be limited to the amount of
      damages or payments for which the CLAIMS, OCCURRENCES or SUITS could have been settled
      for, plus any expenses payable under ULTIMATE NET LOSS incurred until the date of the
      ASSURED’S refusal to settle or compromise the CLAIMS, OCCURRENCES or SUITS as
      recommended by Underwriters.


It is also understood and agreed that General Policy Condition 21. THIRD PARTY CLAIMS
ADMINISTRATOR is amended to read as follows:

21.   THIRD PARTY CLAIMS ADMINISTRATOR: It is a condition precedent that this Policy is issued by
      Underwriters on the express condition that:

      (a) The NAMED ASSURED must contract with, and utilize the services of, a duly qualified and
          competent THIRD PARTY CLAIMS ADMINISTRATOR, as agreed upon by Underwriters prior to
          the PERIOD OF INSURANCE; and
      (b) All CLAIMS, SUITS or OCCURRENCES for which coverage is sought under this Policy must be
          adjusted and handled by the contracted THIRD PARTY CLAIMS ADMINISTRATOR; and
      (c) The duties involved in adjusting and handling CLAIMS, SUITS or OCCURRENCES by the
          THIRD PARTY CLAIMS ADMINISTRATOR include but are not limited to, timely investigations,
          setting ground-up case reserves, documenting case reserve rationale, pursuing settlement and
          recording financials; and
      (d) All CLAIMS, SUITS or OCCURRENCES for which coverage is sought under this Policy are
          adjusted and handled by the THIRD PARTY CLAIMS ADMINISTRATOR in accordance with all
          statutory and regulatory standards, all accepted industry standards and practices and the Brit
          Global Specialty USA Third Party Claims Administrator Claims Handling Guidelines.

      Underwriters or their representative shall have the right but not the duty to conduct audits and
      inspections of the CLAIMS, SUITS or OCCURRENCES reported to the THIRD PARTY CLAIMS
      ADMINISTRATOR to better inform Underwriters of the potential liability under this Policy. The THIRD
      PARTY CLAIMS ADMINISTRATOR will cooperate should the audit or inspection be requested.


      The NAMED ASSURED, through the THIRD PARTY CLAIMS ADMINISTRATOR, may utilize the
      services of an attorney or lawyer or other specialized party to assist the THIRD PARTY CLAIMS
      ADMINISTRATOR in the disposition of its duties, and defend an ASSURED; but only provided that:


Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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ENDORSEMENT attaching to and forming part of Policy No. PK1021618

NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18

      (a) The THIRD PARTY CLAIMS ADMINISTRATOR retains control of the adjusting process,
          reserving, settlement activity and documentation of the claims financials including erosion of the
          SELF INSURED RETENTION and;
      (b) The THIRD PARTY CLAIMS ADMINISTRATOR continues to monitor the actions of these other
          parties; and
      (c) Any control of the adjusting process designated to parties other than the THIRD PARTY CLAIMS
          ADMINISTRATOR or an attorney or lawyer hired or employed by the NAMED ASSURED must
          be approved by Underwriters in writing in advance; and
      (d) Any control of the adjusting process retained by the NAMED ASSURED (i.e. “self-administering
          CLAIMS”) must be approved by Underwriters in writing in advance; and
      (e) Payment to these other parties shall be subject to all other terms and conditions of the Policy;
          specifically, but not limited to, General Policy Condition 11. Duties and General Policy
          Definition 30. ULTIMATE NET LOSS.
      (f) Further, this Policy of insurance is issued by Underwriters on the express condition that all
          CLAIMS, SUITS or OCCURRENCES, for which coverage is sought under this Policy and which
          are being defended by the THIRD PARTY CLAIMS ADMINISTRATOR or an attorney or lawyer
          hired or employed by the NAMED ASSURED, are defended by the attorney or lawyer in
          accordance with all statutory and regulatory standards; and in accordance with all accepted
          professional standards and practices.

      In the event of cancellation, expiration or revision of the agreement between the NAMED ASSURED
      and the designated THIRD PARTY CLAIM ADMINISTRATOR, the NAMED ASSURED must notify
      Underwriters in writing sixty (60) days prior to the effective date of such cancellation, expiration or
      revision, and the NAMED ASSURED and Underwriters must agree upon the specifications for the
      new THIRD PARTY CLAIMS ADMINISTRATOR or the revision of the incumbent THIRD PARTY
      CLAIMS ADMINISTRATOR’S agreement with the NAMED ASSURED.

      If the agreement between NAMED ASSURED and the THIRD PARTY CLAIM ADMINISTRATOR is
      terminated for any reason without Underwriters prior written approval, Underwriters reserve the right
      to deny coverage under this policy for any CLAIMS or OCCURRENCES reported to Underwriters
      after the termination date of the ASSURED’S agreement with the THIRD PARTY CLAIMS
      ADMINISTRATOR.

      These conditions shall survive the termination of this policy without regard to whether said termination
      is due to cancellation or natural expiration of this policy.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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ENDORSEMENT attaching to and forming part of Policy No. PK1021618

NAMED ASSURED: City of Trenton, NJ

Effective date of this endorsement: 01 March 2018

Authority Ref. No: B0356JA281N18

                                                                                               Endorsement No. 8



                     PROCEDURES FOR THIRD PARTY CLAIMS ADMINISTRATORS


As per General Policy Condition 21. THIRD PARTY CLAIMS ADMINISTRATOR, the NAMED ASSURED
must contract with, and utilize the services of, a duly qualified and competent THIRD PARTY CLAIM
ADMINISTRATOR, as agreed upon by the Underwriters prior to the PERIOD OF INSURANCE.

In the event of cancellation, expiration or revision of the agreement between the NAMED ASSURED and
CRC, the NAMED ASSURED must notify Underwriters in writing sixty (60) days prior to the effective date
of such cancellation, expiration or revision, and the NAMED ASSURED and Underwriters must agree upon
the specifications for the new THIRD PARTY CLAIMS ADMINISTRATOR or the revision of the incumbent
THIRD PARTY CLAIMS ADMINISTRATOR’S agreement with the NAMED ASSURED.

If the agreement between NAMED ASSURED and the THIRD PARTY CLAIMS ADMINISTRATOR is
terminated for any reason without Underwriters prior written approval, Underwriters reserve the right to
deny coverage under this policy for any CLAIM or OCCURRENCES reported to Underwriters after the
termination date of the ASSURED’S agreement with the THIRD PARTY CLAIMS ADMINISTRATOR.

As such, the NAMED ASSURED’S THIRD PARTY CLAIM ADMINISTRATOR is:


CRC


                                       QUARTERLY LOSS REPORTING


The NAMED ASSURED shall, by and through its THIRD PARTY CLAIMS ADMINISTRATOR provide the
Underwriters or their Representatives, no later than the 45th day after the end of each calendar quarter or
upon the Underwriters’ request, whichever is earlier, a current Loss Run listing all ground up CLAIMS,
SUITS or OCCURRENCES.                 The Underwriters may contact the THIRD PARTY CLAIMS
ADMINISTRATOR to facilitate ground up Loss Run reporting. The Underwriters may request the THIRD
PARTY CLAIMS ADMINISTRATOR assist in the transmission of such electronically. The THIRD PARTY
CLAIMS ADMINISTRATOR will cooperate provided no significant development costs are incurred in
performing electronic reporting or if the Underwriters agree to incur the development costs on behalf of the
THIRD PARTY CLAIMS ADMINISTRATOR. This reporting obligation continues until ninety (90) days after
all CLAIMS, SUITS or OCCURRENCES are handled to their conclusion.




Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
the policy to which this Endorsement is attached.
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 ENDORSEMENT attaching to and forming part of Policy No. PK1021618

 NAMED ASSURED: City of Trenton, NJ

 Effective date of this endorsement: 01 March 2018

 Authority Ref. No: B0356JA281N18

                ADDITIONAL CONDITIONS FOR ASSUREDS WITH EXCESS LOSS FUND
                                       PROTECTION


 If Excess LOSS FUND Protection is provided under this Policy, the NAMED ASSURED shall, by and
 through the THIRD PARTY CLAIMS ADMINISTRATOR provide the Underwriters or their Representatives,
 no later than the 45th day after the end of each calendar quarter or upon the Underwriters’ request,
 whichever is earlier, a current Loss Run listing all ground up CLAIMS, SUITS or OCCURRENCES and a
 corresponding LOSS FUND Report in a previously agreed format so that Underwriters may assess their
 potential exposure based on CLAIMS, SUITS or OCCURRENCES with respect to aggregate LOSS FUND
 erosion. This reporting obligation continues until ninety (90) days after all CLAIMS, SUITS or
 OCCURRENCES are handled to their conclusion. The quarterly Loss Run and LOSS FUND Report are to
 be sent to: Claims.lossruns@britinsurance.com or as directed by the Underwriters.

 Once the LOSS FUND erosion reaches 50% of the attachment point on an incurred basis, the Underwriters
 or their Representatives reserve the right to audit all CLAIMS, SUITS or OCCURRENCES with respect to
 aggregate LOSS FUND erosion. The NAMED ASSURED shall, by and through its THIRD PARTY CLAIMS
 ADMINISTRATOR cooperate and facilitate this process.

 These conditions shall survive the termination of this Policy without regard to whether said termination is
 due to cancellation or natural expiration of this Policy.




 Except as amended in this Endorsement, this insurance is subject to all coverage terms, clauses and conditions in
 the policy to which this Endorsement is attached.
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           EXHIBIT D
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

    TYSHON EDWARDS,                                )
                                                   )
                     Plaintiff,                    )   Case No. 3:20-CV-13552
                                                   )
                          v.                       )   DECLARATION OF DAVID KOURY
                                                   )
    CITY OF TRENTON, MICHAEL                       )
    TILTON, JOHNATHON CINCILLA,                    )
    NICHOLAS MAHAN, ERIC AVALOS,                   )
    ANTHONY KUBISH, and JOHN DOES 1-               )
    8,                                             )
                                                   )
                   Defendants.                     )

        I David L. Koury, Esq., being duly sworn and deposed, upon personal knowledge, state as

follows:

        1.       I am a partner of the law firm BatesCarey LLP, and I represent Certain Underwriters

at Lloyd’s, London that Subscribe to Policy No. PK1021618 (“Underwriters”) as coverage

counsel.

        2.       Policy No. PK1021618 (the “Policy”) issued to the City of Trenton, NJ has a limit

of liability for the Law Enforcement Liability Coverage Section (Section VIII) of $3,000,000 each

OCCURRENCE,1 and $6,000,000 Annual Aggregate of Liability, subject to a $500,000 SELF

INSURED RETENTION, and a $500,000 Corridor Retention pursuant to Endorsement No. 6 to

the Policy. The Policy does not impose a duty to defend on Underwriters, only a duty to indemnify.

        3.       On January 13, 2023, Underwriters issued a supplemental coverage position letter

to CRC, the City’s THIRD PARTY ADMINISTRATOR, reserving rights with respect to certain




1
        Terms in bold are defined in the Policy.
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terms and conditions of the Policy that might limit or preclude coverage for the City in relation to

the Lawsuit, including Exclusion B. of the Law Enforcement Liability Coverage Section, which

generally precludes coverage under the Policy for any “knowing and intentional violation” of

§1983. However, the January 13, 2023 letter was not a denial of coverage, as Underwriters made

clear in the letter that “any duty of Underwriters to indemnify the City for the ULTIMATE NET

LOSS, if at all, may arise only upon resolution of the litigation,” and asked that the City keep

Underwriters apprised of all developments in the Lawsuit. A true and correct copy of the January

13, 2023 letter is attached to the Certification of J. Brooks DiDonato (Doc. 70-1) as Exhibit “C”.

       4.      After Underwriters issued its January 13, 2023 coverage position letter, Mr.

DiDonato sent me an email dated February 16, 2023 wherein Mr. DiDonato stated that: “I

understand that all discussions of settlement are subject to a reservation of rights. I also understand

that there is a 500K SIR and a 500K corridor SIR, meaning there is essentially a $1,000,000 SIR

for this case.” A true and correct copy of Mr. DiDonato’s February 16, 2023, email is attached

hereto as Exhibit 1.

       5.      On July 17, 2023, on the eve of a settlement conference set by this Court for July

18, 2023, Mr. DiDonato asserted for the first time to Underwriters that the Corridor Retention (i.e.,

the “corridor SIR” as referred to by Mr. DiDonato) did not apply, and that Underwriters had

“denied coverage” and acted in “bad faith.” A true and correct copy of Mr. DiDonato’s July 17,

2023, email is attached hereto as Exhibit 2.

       6.      I attended the July 18, 2023 settlement conference before this Court on

Underwriters’ behalf, and Underwriters participated in the settlement conference in good faith in

order to attempt to negotiate a resolution of the Lawsuit. I specifically disclosed to the Court and

Mr. DiDonato that Underwriters had given me authority to contribute to a settlement if a reasonable


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agreement could be reached by the parties during the settlement conference. However, the matter

did not resolve at the July 18, 2023 settlement conference.

          7.   I continued to participate in discussions regarding potential settlement of the

Lawsuit with the City and Mr. DiDonato following the July 18, 2023 settlement conference.

Despite Mr. DiDonato’s representations, Underwriters never stated that it would not contribute

towards a settlement of the Lawsuit.          Instead, consistent with Underwriters’ previous

representations to Mr. DiDonato and the City, Underwriters took the position during those

conversations that a $500,000 SIR and a $500,000 Corridor Retention applied to the Policy, and

that Underwriters would only contribute to a settlement above any remaining portion of the

$500,000 SIR and $500,000 Corridor Retention that had not been exhausted by the City. In

response to Underwriters’ position, Mr. DiDonato kept taking the incorrect position that the

$500,000 Corridor Retention should not apply in relation to the Lawsuit, and refused to discuss

any settlement involving Underwriters that would require any further payments by the City to meet

its obligation to fund $500,000 under the Corridor Retention. Rather, Mr. DiDonato at one point

instructed Underwriters to negotiate directly with Plaintiff instead of communicating with him,

despite the fact that it was the City’s and the ASSUREDS’ duty to handle, adjust, settle and defend

the Lawsuit – not Underwriters – pursuant to Paragraph 11 of the General Policy Conditions of the

Policy.

          8.   On July 20, 2023, Mr. DiDonato sent an email to me noting that the $500,000

Corridor Retention for the Policy had “been satisfied” by the “Art All Night shooting cases.” A

true and correct copy of the July 20, 2023 email is attached to Mr. DiDonato’s Certification (Doc.

70-1) as Exhibit “D”. I explained during subsequent conversations with Mr. DiDonato after his




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July 20, 2023 email that CRC had confirmed that the $500,000 Corridor Retention had not been

exhausted, and that the Corridor Retention continued to apply with respect to the Policy.

       9.      After Underwriters were informed in a report sent by CRC to Underwriters dated

January 4, 2024, that the City intended to enter into a settlement with Plaintiff for an amount above

any remaining amount within the Policy’s $500,000 SIR, I sent an email to Mr. DiDonato dated

January 9, 2024 asking to discuss the Lawsuit, and noted in a subsequent email exchanged with

Mr. DiDonato that same day that: “there are coverage issues to be discussed and sorted out in

connection with this claim and the indemnity-only nature of the policy. I believe that you and I

speaking first offers the best chance of working something out.” A true and correct copy of my

January 9, 2024 email exchange with Mr. DiDonato is attached hereto as Exhibit 3.

       10.     The report from CRC dated January 4, 2024 confirmed the remaining SIR under

the Policy as of that date was $442,597.96.

       11.     The City appears to have entered into a settlement agreement, along with a

proposed Consent Judgment that would be presented to the Court for entry, on or around January

26, 2024.

       12.     Prior to entering into the settlement agreement, the City did not seek Underwriters’

written agreement to resolve the Lawsuit, as required under Paragraph 7 of the General Policy

Conditions to the Policy, as amended by Endorsement No. 7. The settlement agreement was

entered into by Plaintiff and the City without Underwriters’ consent.

       13.     Underwriters was also not asked to consent to the City assigning any rights to

Plaintiff under the Policy, as required for any assignment to bind Underwriters under Paragraph 3

of the General Policy Conditions to the Policy.




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        I declare under penalty of perjury under the laws of the United States of America and the

State of Illinois that the foregoing is true and correct.

        Executed this 26th day of February, 2024, in Chicago, Illinois.

                                                By:     /s/David L. Koury




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Rohrer, Adrian T.

Subject:                           Tyshon Edwardsv COT




From: Brooks DiDonato <bdidonato@parkermccay.com>
Sent: Thursday, February 16, 2023 3:10 PM
To: Koury, David L. <dkoury@BatesCarey.com>
Cc: Wesley Bridges <wbridges@trentonnj.org>; Jose Abo <JAbo@crctpa.com>; Rashaan S. Williams
<rswilliams@trentonnj.org>; Charles Simmons <csimmons@simmonslaw-llc.com>; Marc Board
<Marc.Board@rsml.co.uk>; Elizabeth Frink <ejames@trentonnj.org>; Loretta Shaw <lshaw@parkermccay.com>
Subject: RE: Tyshon Edwardsv COT

David,

I understand that all discussions of settlement are subject to a reservation of rights.
I also understand that there is a 500K SIR and a 500K corridor SIR, meaning there is essentially a $1,000,000 SIR for this
case.
I also understand that as pre the policy language and common practice, the company will count all attorney’s fees and
costs against the SIR, thereby “eroding it”.

The highlighted section below is what I need clarification on.
The Magistrate’s “number” for settlement purposes is $850,000, which is below what the demand currently is (1.2MM).
I am going to determine what the total fees and costs incurred by the City to date are (Elizabeth, help).
I will let you know what that number is.

What I will then need to know is what the Carrier’s position is with respect to “contributing” towards satisfaction of the
remaining SIR or towards settlement directly.
Assuming that the cold that kept me home the last day and a half does not worsen again I will be available all day
tomorrow (Friday) to discuss.
We need to get down to the nitty gritty and find out if this case can be settled and to do that I need to know exactly
what role, if any, the carrier is willing to play in that.

Elizabeth, please get me a total for all fees and costs paid by the city to counsel.
Charles please let me know what, if anything, you have that is billed, but not yet paid.
Loretta please let me know what we have in terms of billed, unbilled and actually paid.

Thank you,




Brooks DiDonato, Esquire
Shareholder
Defense Litigation

PARKER McCAY P.A.

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O: 856-985-4047
C: 856-296-1143
bdidonato@parkermccay.com

From: Koury, David L. <dkoury@BatesCarey.com>
Sent: Wednesday, February 15, 2023 9:20 PM
To: Brooks DiDonato <bdidonato@parkermccay.com>
Cc: Wesley Bridges <wbridges@trentonnj.org>; Jose Abo <JAbo@crctpa.com>; Rashaan S. Williams
<rswilliams@trentonnj.org>; Charles Simmons <csimmons@simmonslaw-llc.com>; Marc Board
<Marc.Board@rsml.co.uk>
Subject: RE: Tyshon Edwardsv COT




*** External Email – This email has come from outside of Parker McCay. Think before you click on
links, open attachments, or reply! ***

Privileged and Confidential Settlement Communication
Subject to FRE 408 and any Other Applicable Privileges

Hi Brooks,

As you note, we sent two letters out on January 13, 2023. A supplemental coverage position letter and a “settlement”
letter. With respect to the coverage position letter, Underwriters note that they do not believe they owe a duty to defend or
indemnify based on the current allegations, pursuant to the application of the Policy provisions outlined in the
letter. Moreover, even if there were a duty to indemnify, the Policy’s $500,000 SIR and $500,000 corridor retention (we
note that the corridor retention only applies to a covered claim, and in this case, would not off-set a global settlement)
would both have to be satisfied before Underwriters would agree to contribute anything.

With respect to the separate “settlement” letter, Underwriters note that, despite there not being a covered claim at present,
Underwriters are still willing to work with the City on resolving the matter, so long as the coverage issues are taken into
account. As noted in the letter, Underwriters are willing to consider defense fees incurred to date counting towards the
erosion of the Policy’s $500,000 SIR. Underwriters are also willing to count a certain percentage of a settlement amount
up to $1,000,000, towards the erosion of the remaining SIR.

Please let us know if you have any further questions or wish to set up a call to discuss.

Regards,
Dave

David L. Koury | Partner
BatesCarey LLP | 191 N. Wacker, Suite 2400, Chicago, IL 60606
Direct 312.762.3226 | dkoury@batescarey.com | batescarey.com




From: Brooks DiDonato <bdidonato@parkermccay.com>
Sent: Wednesday, February 15, 2023 1:16 PM
To: Koury, David L. <dkoury@BatesCarey.com>
Cc: Wesley Bridges <wbridges@trentonnj.org>; Jose Abo <JAbo@crctpa.com>; Rashaan S. Williams
<rswilliams@trentonnj.org>; Charles Simmons <csimmons@simmonslaw-llc.com>; Marc Board
<Marc.Board@rsml.co.uk>
Subject: Tyshon Edwardsv COT

David,

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A while back the City’s TPA received two letters from your client re coverage in the above matter that were sent nearly
simultaneously. Strangely, one copied only me while the other copied a number of people. One of the letters indicated
the carrier would not expend any sums until and unless COT expended the entirety of a $1,000,000 SIR, comprised of the
base SIR and a Corridor SIR each of which was $500,000. The other letter suggested there was only a single $500,000
that your client was willing to reduce by $250,000 due to some difference in opinion as to whether the SIR (up to 1MM)
had been satisfied.

Can you supply some clarification as to the excess carrier’s position here?
Settlement is being pushed by both the court and counsel and until we resolve this issue we cannot move forward.

I will look forward to hearing from you.

Thanks,




Brooks DiDonato, Esquire
Shareholder
Defense Litigation



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C: 856-296-1143
bdidonato@parkermccay.com
PARKER McCAY P.A.
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Rohrer, Adrian T.


From: J. Brooks DiDonato <bdidonato@parkermccay.com>
Sent: Monday, July 17, 2023 10:40 AM
To: Koury, David L. <dkoury@BatesCarey.com>
Cc: Wesley Bridges <wbridges@trentonnj.org>
Subject: Tyshon Edwards

David,

You had also requested some time ago that I provide you with our position on coverage.

I would say that there are several issues that might well apply to create a need for the excess carrier to contribute to a
settlement in a significant fashion if it to satisfy its duty to act in Good Faith towards its insured (Trenton and its
employees).

First, I have real questions as to whether the “corridor SIR” referenced in the policy is identified and defined in such a
way as to put the insured on notice of its existence and explain exactly how it functions.

Second, the excess carrier’s position on coverage has been inconsistent and confusing in this matter.
For instance, a letter was at one point sent which essentially denied any coverage under the policy despite the fact that
there is clearly coverage.
It cited the alleged intentional actions of the officers, despite the fact that such allegations are a part of virtually every
1983 case and the exact reason the coverage was taken out in the first place.
That same day it sent another letter that partly refuted that exact stance and was inherently inconsistent in saying the
corridor SIR did not apply as it only applied to covered claims, but then said that the underlying SIR did apply and laid
out a proposed method of applying it here.
A construction that was convoluted, confusing and wholly inconsistent with both the earlier letter sent that day and
itself.

So, our position is that the carrier has acted in bad faith from the inception of the claim and taken every opportunity to
come up with multiple inconsistent reasons why it should not pay the claim or some portion thereof.
IF we have to bring a coverage claim we will aggressively pursue discovery on these issues, not just with respect to this
claim, but all of its claims and claims handling practices.
I am sure these same issues have come up in the past and it is the carrier’s duty to make sure the policy is clear and
unambiguous and that it acts consistent with same.

So our position it is that pursuant to your client’s own admission, the corridor SIR does not apply, and also because the
language re same is both buried in the policy and extremely confusing.
Further, while the base level SIR does apply, it is reduced dollar for dollar by both the funds that were spent in defending
the case and then applies once the remainder is exhausted, which would mean it works as I had previously pointed out
to you (in the settling at 850 number) previously laid out to you.

Thank you,




J. Brooks DiDonato, Esquire (He/Him/His)


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                                CERTIFICATE OF SERVICE

       I, Brian H. Leinhauser, Esquire, hereby certify that on this 26th day of February, 2024, a

copy of the foregoing was served upon the following via ECF notification:

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                             Attorney for Defendant, Michael Tilton

                                 J. Brooks Didonato, Esquire
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                 Attorney for Defendants Cincilla, Mahan, Avalos and Kubish
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                                          MacMAIN LEINHAUSER PC

Date: February 26, 2024             By:   /s/ Brian H. Leinhauser
                                          Brian H. Leinhauser
                                          Attorney I.D. No. 038102006
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